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                                                                                  Exhibit A

                   CHIPOTLE SETTLEMENT CLAIM FORM
This Claim Form should be filled out online or submitted by mail if you used a payment card to make a
purchase at a Chipotle Mexican Grill (“Chipotle”) or Pizzeria Locale restaurant during the time period
specified for each restaurant on the Settlement website, and you had out-of-pocket expenses, fraudulent
charges, lost time spent dealing with fraudulent charges or card replacement issues, or unreimbursed
extraordinary monetary losses as a result of the Chipotle Security Incident. You may get a check if you fill
out this Claim Form, if the Settlement is approved, and if you are found to be eligible for a payment.

The Settlement Notice describes your legal rights and options. To obtain the Settlement Notice and find
more information regarding your legal rights and options, please visit the official Settlement website,
www.cmgcardsettlement.com, or call toll-free 1-844-979-7302.

If you wish to submit a claim for a settlement payment electronically, you may go online to the Settlement
Website, www.cmgcardsettlement.com, and follow the instructions on the “Submit a Claim” page.

If you wish to submit a claim for a settlement payment via standard mail, you need to provide the
information requested below and mail this Claim Form to Gordon, et al. v. Chipotle Mexican Grill, RG/2
Claims Administration LLC, PO Box 59479 Philadelphia, PA 19102-9479, postmarked by __________,
2019. Please print clearly in blue or black ink.

1. CLASS MEMBER INFORMATION

Required Information:

First: _______________________________ M: ____________________ Last: _________________________

Address 1: ________________________________________________________________________________

Address 2: ________________________________________________________________________________

City: _______________________________ State: __________________ ZIP: _________________________

Country: __________________________________________________________________________________

Phone: ___________________________________________________________________________________

Optional Information:

Email: ____________________________________________________________________________________

2. PAYMENT ELIGIBILITY INFORMATION

To prepare for this section of the Claim Form, please review the Settlement Notice and Sections 2.1 through 2.3
of the Settlement Agreement (available for download at www.cmgcardsettlement.com) for more information on
who is eligible for a payment and the nature of the expenses or losses that can be claimed.
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To help us determine if you are entitled to a settlement payment, please provide as much information as possible.

A. Verification of Class Membership

You are only eligible to file a claim if you used a credit or debit card at a Chipotle or Pizzeria Locale restaurant
during the time of the Chipotle Security Incident. The affected dates vary by restaurant and you are only eligible
to submit a claim if you used a credit or debit card at a Chipotle store during that location’s exposure window.
Go to the Settlement Website, www.cmgcardsettlement.com, or click here to see a list of locations and each
restaurant’s affected time period. Payments made online were not affected.

By submitting a claim and signing the certification below, you are verifying that you used a credit or debit card
at a Chipotle or Pizzeria Locale restaurant during the time specified for each restaurant.

In addition, to allow the Settlement Administrator to confirm your membership in the Class, you must provide
either:

(1) the first four and last four digits of the number associated with the credit or debit card you claim to have used
at an affected Chipotle restaurant,

or

(2) a document or documents reflecting your use of a payment card at an affected Chipotle restaurant during the
Security Incident, which could include, for example, a receipt from the Chipotle restaurant reflecting payment by
a payment card, a payment card statement or bill, notification from a bank or financial institution stating that the
payment card was compromised during the Security Incident.

Thus, please EITHER:

        (1)    In the boxes provided below, please provide the first four and last four digits of the card number
               for each credit or debit card that you used at a Chipotle restaurant during the time specified for
               each restaurant on the Settlement Website. For each credit or debit card number, provide the
               location of the Chipotle restaurant where you used the credit or debit card and the date(s) of the
               transaction(s).

        FIRST FOUR DIGITS
        LAST FOUR DIGITS [SETTLEMENT ADMINISTRATOR TO ADD BOXES]

                                                            OR

        (2)    Attach and identify the documentation that reflects your use of a payment card at an affected
               Chipotle restaurant during the Security Incident. Please note that the documentation must reflect
               the use of a payment card, the location of the restaurant, and the date of the transaction.

        UPLOAD DOCUMENT [SETTLEMENT ADMINISTRATOR TO ADD]



                                       Chipotle Settlement Claim Form
                     Questions? Call 1-844-979-7302 or visit www.cmgcardsettlement.com
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B. Out-Of-Pocket Expenses

Check the box for each category of out-of-pocket expenses, fraudulent charges, or lost time that you incurred as
a result of the Chipotle Security Incident. Please be sure to fill in the total amount you are claiming for each
category and attach the required documentation as described in bold type (if you are asked to provide account
statements as part of required proof for any part of your claim, you may redact unrelated transactions and all but
the first four and last four digits of any account number, if you wish). Please round total amounts to the nearest
dollar.

       I. Ordinary Expenses Resulting from the Chipotle Security Incident

       □ Fees or other charges from your bank or credit card company due to fraudulent activity on your card
       incurred between March 24, 2017 and the Claims Deadline due to the Chipotle Security Incident.

                DATE                            DESCRIPTION                       AMOUNT



               Examples: Overdraft fees, over-the-limit fees, late fees, or charges due to insufficient funds or
               interest.

               [UPLOAD DOCUMENTS] Required: A copy of a bank of credit card statement or other
               proof of claimed fees or charges (you may redact unrelated transactions and all but the first
               four and last four digits of any account number).

       □ Fees or other charges relating to the reissuance of your credit or debit card incurred between March 24,
       2017 and the Claims Deadline due to the Chipotle Security Incident.

                DATE                            DESCRIPTION                       AMOUNT



               Examples: Fees that your bank charged you because you requested a new credit or debit card.

               [UPLOAD DOCUMENTS]Required: Attach a copy of a bank or credit card statement or
               other receipt showing these fees (you may redact unrelated transactions and all but the first
               four and last four digits of any account number).

       □ Fees relating to your account being frozen or unavailable incurred between March 24, 2017 and the
       Claims Deadline due to the Chipotle Security Incident.

                DATE                            DESCRIPTION                       AMOUNT




                                       Chipotle Settlement Claim Form
                     Questions? Call 1-844-979-7302 or visit www.cmgcardsettlement.com
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          Examples: You were charged interest by a payday lender due to card cancellation or due to over-
          limit situation. You had to pay a fee for a money order or other form of alternative payment
          because you could not use your debit or credit card.

          [UPLOAD DOCUMENTS]Required: Attach a copy of receipts, bank statements, credit card
          statements, or other proof that you had to pay these fees (you may redact unrelated
          transactions and all but the first four and last four digits of any account number).

   □ Other incidental telephone, internet, or postage expenses directly related to the Chipotle Security
   Incident incurred between March 24, 2017 and the Claims Deadline due to the Chipotle Security Incident.

           DATE                            DESCRIPTION                      AMOUNT



          Examples: Long distance phone charges, cell phone charges (only if charged by the minute), or
          data charges (only if charged based on the amount of data used).

          [UPLOAD DOCUMENTS]Required: Attach a copy of the bill from your telephone
          company, mobile phone company, or internet service provider that shows the charges (you
          may redact unrelated transactions and all but the first four and last four digits of any account
          number).

   □ Credit Reports or credit monitoring charges purchased between March 24, 2017 and the Claims
   Deadline due to the Chipotle Security Incident.

       To obtain reimbursement under this category, you must attest to the following:

          □ I purchased credit reports between March 24, 2017 and the Claims Deadline, primarily due to
          the Security Incident and not for other purposes.

           DATE                            COST


                 Examples: The cost of a credit report(s) that you purchased after hearing about the
                 Security Incident.

          [UPLOAD DOCUMENT]Required: Attach a copy of a receipt or other proof of purchase
          for each product purchased (you may redact unrelated transactions). If you made the
          purchase prior to April 25, 2017, you must also identify a fraudulent charge associated with
          the Chipotle Security Incident (i.e., made to an affected account after March 24, 2017 but
          prior to your purchase) that prompted you to make the purchase.



                                  Chipotle Settlement Claim Form
                Questions? Call 1-844-979-7302 or visit www.cmgcardsettlement.com
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   □ Between one (1) and four (4) hours of documented time spent dealing with replacement card issues or
   in reversing fraudulent charges between March 24, 2017 and the Claims Deadline that occurred as a result
   of the Chipotle Security Incident (round to the nearest hour and check only one box).

          □ 1 Hour               □ 2 Hours              □ 3 Hours              □ 4 Hours

          Examples: You spent at least one (1) full hour calling customer service lines, writing letters or
          emails, or on the internet in order to get fraudulent charges reversed or in updating automatic
          payment programs because your card number changed. Please note that the time that it takes to
          fill out this Claim Form is not reimbursable and should not be included in the total number of hours
          claimed.

          Required: If time was spent on the telephone or online, in the space below, describe what you
          did, or attach a copy of any letters or emails that you wrote. Examples: If the time was spent
          trying to reverse fraudulent charges, describe what you did. If the time was spent updating
          accounts due to your card being reissued, identify the other accounts that had to be updated.
          ______________________________________________________________________________
          ______________________________________________________________________________
          ______________________________________________________________________________
          ______________________________________________________________________________

   II. Reimbursed Fraudulent Charges

   □ Did you also have fraudulent charges to a credit or debit card account that were reversed or repaid? If
   so, in addition to your out-of-pocket expenses, you are eligible to claim a $25 cash payment for each debit
   or credit card on which fraudulent charges were made and reversed or repaid, to compensate for lost time
   associated with seeking reimbursement for the fraud. (See Section 2.1 of the Settlement Agreement.)

           FIRST FOUR AND LAST FOUR DATE CHARGES
           DIGITS OF CARD           REVERSED (ONLY 1
                                    PER CARD
                                    REQUIRED)


          [UPLOAD DOCUMENTS]Required: For each card, provide a card statement or other
          documentation showing (1) one or more fraudulent charges were posted to your account that
          you believe were caused by the Chipotle Security Incident, and (2) the charges were later
          reversed or reimbursed by the bank or credit card company (you may redact unrelated
          transactions and all but the first four and last four digits of any account number).

   III. Extraordinary Expenses




                                  Chipotle Settlement Claim Form
                Questions? Call 1-844-979-7302 or visit www.cmgcardsettlement.com
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   If you have expenses related to the Security Incident that are more than the value or different than the type
   of ordinary expenses covered in the categories in Sections II and II above, you may be entitled to
   compensation for your extraordinary expenses. To obtain reimbursement under this category, you must
   attest to the following:

   □ I incurred out-of-pocket unreimbursed expenses that occurred more likely than not as a result of the
   Security Incident during the time period from March 24, 2017 through the end of the Claims Deadline
   other than those expenses covered by one or more of the categories above, and I made reasonable efforts
   to avoid, or seek reimbursement for the loss, including exhausting all available credit monitoring insurance
   and identity theft insurance.

   □ Unreimbursed fraudulent charges incurred between March 24, 2017 and the Claims Deadline due to the
   Chipotle Security Incident.

            DATE                            DESCRIPTION                        AMOUNT



          Examples: Fraudulent charges that were made on your credit or debit card account and that were
          not reversed or repaid even though you reported them to your bank or credit card company. Note:
          most banks are required to reimburse customer in full for fraudulent charges on payment cards
          that they issue.

          [UPLOAD DOCUMENTS]Required: The bank statement or other documentation reflecting
          the fraudulent charges, as well as documentation reflecting the fact that the charge was
          fraudulent (you may redact unrelated transactions and all but the first four and last four
          digits of any account number). If you do not have anything in writing reflecting the fact that
          the charge was fraudulent (e.g., communications with your bank or a police report), please
          identify the approximate date that you reported the fraudulent charge, to whom you
          reported it, and the response.

          Date reported:
          ______________________________________________________________________________

          Description of the person(s) to whom you reported the fraud:
          ______________________________________________________________________________
          ______________________________________________________________________________

          □ Check this box to confirm that you have exhausted all applicable insurance policies, including
          credit monitoring insurance and identity theft insurance, and that you have no insurance coverage
          for these fraudulent charges.

   □ Other unreimbursed out-of-pocket expenses that were incurred between March 24, 2017 and the Claims
   Deadline as a result of the Chipotle Security Incident that are not accounted for in your response above.



                                  Chipotle Settlement Claim Form
                Questions? Call 1-844-979-7302 or visit www.cmgcardsettlement.com
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                   DATE                         DESCRIPTION                       AMOUNT



               Examples: This category includes any other unreimbursed expenses or charges that are not
               otherwise accounted for in your answers to the questions above, including any expenses or charges
               that you believe were the result of an act of identity theft. This category also includes documented
               time spent dealing with replacement card issues or in reversing fraudulent charges between March
               24, 2017 and the Claims Deadline that you incurred in excess of five hours as a result of the
               Chipotle Security Incident, compensated at the same rate and in the same manner as described
               above, although you will need to prove that you spent the time on issues related to the security
               incident through documentation.

               [UPLOAD DOCUMENTS]Required: Describe the expense, why you believe that it is related
               to the Chipotle Security Incident, and provide as much detail as possible about the date you
               incurred the expense(s) and the company or person to whom you had to pay it. Please
               provide copies of any receipts, police reports, or other documentation supporting your claim.
               For claims of reimbursement for lost time in excess of five hours, you must provide actual
               documentation reflecting the amount of time you spent dealing with replacement card issues
               or in reversing fraudulent charges sufficient to prove how much time was spent, on what,
               and that the time was spent on issues related to the Chipotle Security Incident. The
               Settlement Administrator may contact you for additional information before processing
               your claim.
               ______________________________________________________________________________
               ______________________________________________________________________________
               ______________________________________________________________________________
               ______________________________________________________________________________

               □ Check this box to confirm that you have exhausted all credit monitoring insurance and identity
               theft insurance you might have for these out-of-pocket expenses before submitting this Claim
               Form.

C. Certification

I declare under penalty of perjury under the laws of the United States and the State of _____________________
that the information supplied in this Claim Form by the undersigned is true and correct to the best of my
recollection, and that this form was executed on the date set forth below.

I understand that I may be asked to provide supplemental information by the Settlement Administrator or Claims
Referee before my claim will be considered complete and valid.

Print Name: ______________________________________________________________________________

Signature: ______________________________________________________________________________



                                       Chipotle Settlement Claim Form
                     Questions? Call 1-844-979-7302 or visit www.cmgcardsettlement.com
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Date: _____________________________________________________________________________________

D. Submission Instructions

Once you’ve completed all applicable sections, please mail this Claim Form and all required supporting
documentation to the address provided below, postmarked by _______________, 2019.

                                 Gordon, et al. v. Chipotle Mexican Grill
                                RG/2 CLAIMS ADMINISTRATION LLC
                                             PO Box 59479
                                     Philadelphia, PA 19102-9479




                                      Chipotle Settlement Claim Form
                    Questions? Call 1-844-979-7302 or visit www.cmgcardsettlement.com
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                                                                                          Exhibit B
                     UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLORADO


              If you made a point-of-sale purchase at an
                  affected Chipotle or Pizzeria Locale
               restaurant using a credit, debit, or other
                payment card, you may be eligible for a
               payment from a class action settlement.
                 A court authorized this notice. This is not a solicitation from a lawyer.
     A Settlement has been reached with Chipotle Mexican Grill, Inc. (“Chipotle”) in a class action
      lawsuit about a data security incident that occurred between March 24, 2017 and April 18, 2017.
     From on or about March 24, 2017 to April 18, 2017, certain Chipotle restaurants, as well as
      Pizzeria Locale restaurants which are owned by Chipotle, were the target of a cyber-attack in
      which criminals accessed its computer systems (the “Security Incident”). The Security Incident
      potentially resulted in unauthorized access to customer payment card data, including payment
      card number, expiration date, and sometimes name. Subsequently, this lawsuit was filed
      asserting claims against Chipotle relating to the Security Incident.
     The Settlement includes all persons residing in the United States who used a credit, debit or
      other payment card to make a point-of-sale purchase at an affected Chipotle or Pizzeria Locale
      restaurant while payment card data at the store was at risk. The specific dates during which data
      was at risk vary on a store-by-store basis. This information is included in the spreadsheet attached
      to this notice as Appendix A and is also available on the settlement website.
     The Settlement provides payments to people who submit valid claims for out-of-pocket
      expenses and charges that were incurred and plausibly arose from the Security Incident, and for
      other extraordinary unreimbursed monetary losses.
         Your legal rights are affected even if you do nothing. Read this Notice carefully.

                       YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT
   Submit a Claim               The only way to get a payment.

                                Get no payment. The only option that allows you to sue Chipotle
   Ask to be Excluded           over the claims resolved by this Settlement.

   Object                       Write to the Court about why you do not like the Settlement.

   Do Nothing                   Get no payment. Give up rights.

        These rights and options – and the deadlines to exercise them – are explained in this
         notice.
        The Court in charge of this case still has to decide whether to grant final approval of the
         Settlement. Payments will only be made after the Court grants final approval of the
         Settlement and after any appeals are resolved.

            Questions? Call 1-XXX-XXX-XXXX or visit www.cmgcardsettlement.com
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                                              WHAT THIS NOTICE CONTAINS

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   2. What is this lawsuit about?
   3. Why is this lawsuit a class action?
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                Questions? Call 1-XXX-XXX-XXXX or visit www.cmgcardsettlement.com
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                                      BASIC INFORMATION
   1. Why was this Notice issued?

   The Court authorized this notice because you have a right to know about the proposed Settlement
   in this class action lawsuit and about all of your options before the Court decides whether to give
   “final approval” to the Settlement. This notice explains the legal rights and options that you may
   exercise before the Court decides whether to approve the Settlement.
   Judge Christine M. Arguello of the United States District Court for the District of Colorado is
   overseeing this case. The case is known as Gordon, et al. v. Chipotle Mexican Grill, Inc., Case
   No. 1:17-cv-01415-CMA. The persons who sued are called the Plaintiffs. Chipotle is called the
   Defendant.

   2. What is this lawsuit about?

   The lawsuit claims that Chipotle was responsible for the Security Incident that occurred and
   asserts claims such as: breach of implied contract and violation of the Arizona, California and
   Illinois consumer protection statutes. The lawsuit seeks compensation for people who had out-
   of-pocket expenses, fraudulent charges, lost time spent dealing with fraudulent charges or card
   replacement issues, or unreimbursed extraordinary monetary losses as a result of the Security
   Incident.
   Chipotle denies all of the Plaintiffs’ claims and says it did not do anything wrong.

   3. Why is this lawsuit a class action?

   In a class action, one or more people called “Representative Plaintiffs” sue on behalf of all
   people who have similar claims. All of these people together are the “Class” or “Class
   Members.” In this case, the Representative Plaintiffs are Todd Gordon, Marc and Kristen
   Mercer, Michelle Fowler, Greg Lawson and Judy Conard. One court resolves the issues for all
   Class Members, except for those who exclude themselves from the Class.

   4. Why is there a Settlement?

   By agreeing to settle, both sides avoid the cost and risk of a trial, and people who submit valid
   claims will get compensation. The Representative Plaintiffs and their attorneys believe the
   Settlement is fair, reasonable, and adequate and, thus, best for the Class and its members. The
   Settlement does not mean that Chipotle did anything wrong.

                                WHO IS IN THE SETTLEMENT?
   5. How do I know if I am included in the Settlement?

   You are included in the Settlement Class if you reside in the United States and used a credit,
   debit or other payment card to make an in-store point-of-sale purchase (online payments were
   not affected) at an affected Chipotle or Pizzeria Locale restaurant while payment card data at the
   store was at risk, and you had out-of-pocket expenses, fraudulent charges, lost time spent dealing
   with fraudulent charges or card replacement issues, or unreimbursed extraordinary monetary

            Questions? Call 1-XXX-XXX-XXXX or visit www.cmgcardsettlement.com
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   losses as a result of the Chipotle Security Incident. The time frame of the incident is generally
   from March 24, 2017 through April 18, 2017, although the specific dates during which data was at
   risk vary on a store-by-store basis. To determine when your store was at risk and whether you are
   potentially entitled to submit a claim, please see the spreadsheet attached to this notice as Appendix
   A or look up your store on the settlement website.
   Specifically excluded from the Settlement Class are: (i) Chipotle and its officers and directors;
   (ii) all Settlement Class Members who timely and validly request exclusion from the Settlement
   Class; (iii) the Judge assigned to evaluate the fairness of this settlement; (iv) the attorneys
   representing the Parties in the Litigation; (v) banks and other entities that issued payment cards
   which were utilized at Chipotle during the Security Incident; and (vi) any other Person found by
   a court of competent jurisdiction to be guilty under criminal law of initiating, causing, aiding, or
   abetting the criminal activity occurrence of the Security Incident or who pleads nolo contendere
   (a no-contest plea, while not technically a guilty plea, has the same immediate effect as a guilty
   plea and is often offered as part of a plea bargain) to any such charge.

   6. What if I am not sure whether I am included in the Settlement?

   If you are not sure whether you are included in the Settlement, you may call 1-XXX-XXX-
   XXXX with questions or visit www.cmgcardsettlement.com. You may also write with questions
   to Chipotle Claims Administrator, PO Box XXXX, City, State zip code. Please do not contact
   the Court with questions.

                                 THE SETTLEMENT BENEFITS
   7. What does the Settlement provide?

   The Settlement will provide payments to people who submit valid claims.
   There are two types of payments that are available: (1) Expense Reimbursement (Question 8)
   and (2) Extraordinary Expense Reimbursement (Question 9). You may submit a claim for either
   or both types of payments. You must also provide proof of your class membership in the form of
   either the first four and last four digits of the number associated with the credit or debit card you
   claim to have used at an affected Chipotle restaurant or a document or documents reflecting your
   use of a payment card at an affected Chipotle restaurant during the Security Incident, which
   could include, for example, a receipt from the Chipotle restaurant reflecting payment by a
   payment card, a payment card statement or bill, notification from a bank or financial institution
   stating that the payment card was compromised during the Security Incident. In order to claim
   each type of payment, you must provide related documentation with the Claim Form.

   8. What payments are available for Expense Reimbursement?

   Class Members are eligible to receive reimbursement of up to $250 (in total) for the following
   categories of out-pocket expenses resulting from the Security Incident:
         unreimbursed bank fees;
         unreimbursed card reissuance fees;
         unreimbursed overdraft fees;


             Questions? Call 1-XXX-XXX-XXXX or visit www.cmgcardsettlement.com
                                             4
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         unreimbursed charges related to unavailability of funds;
         unreimbursed late fees;
         unreimbursed over-limit fees;
         long distance telephone charges;
         cell minutes (if charged by minute);
         internet usage charges and text messages;
         unreimbursed charges from banks or credit card companies;
         postage;
         interest on payday loans due to card cancelation or due to over-limit situation;
         costs of credit report(s);
         costs of credit monitoring and identity theft protection;
         reimbursement of up to four (4) hours of documented lost time (at $20 per hour) spent
          dealing with replacement card issues or in reversing fraudulent charges (only if at least
          one full hour was spent and if it can be documented with reasonable specificity);
         and an additional $25 payment for each credit or debit card on which documented
          fraudulent charges were incurred that were later reimbursed.

   9. What payments are available for Extraordinary Expense Reimbursement?

   Class Members who had other extraordinary unreimbursed monetary losses because of
   information compromised as part of the Security Incident are eligible to make a claim for
   reimbursement of up to $10,000. As part of the claim, the Class Member must show that: (1) it
   is an actual, documented, and unreimbursed monetary loss; (2) the loss was more likely than not
   caused by the Security Incident; (3) the loss occurred during the time period from March 24,
   2017 through and including the end of the Claims Deadline; (4) the loss is not already covered
   by one or more of the categories in Question 8; and (5) a reasonable effort was made to avoid or
   seek reimbursement for the loss (including exhaustion of all available credit monitoring
   insurance and identity theft insurance).
   More details are provided in the Settlement Agreement, which is available at www.
   cmgcardsettlement.com.

                                   HOW TO GET BENEFITS
   10. How do I get benefits?

   To ask for a payment, you must complete and submit a Claim Form. Claim Forms are available
   at www.cmgcardsettlement.com, or you may request one by mail by calling 1-XXX-XXX-
   XXXX. Read the instructions carefully, fill out the Claim Form, and mail it postmarked no later
   than Month Day, 2019 to:
                                   Chipotle Claims Administrator
                                         PO Box XXXXX
                                        City, State zip code



            Questions? Call 1-XXX-XXX-XXXX or visit www.cmgcardsettlement.com
                                            5
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   11. How will claims be decided?

   The Claims Administrator will initially decide whether the information provided on a Claim
   Form is complete and valid. The Claims Administrator may require additional information from
   any claimant. If the required information is not provided timely, the claim will be considered
   invalid and will not be paid.
   If the claim is complete and the Claims Administrator denies the claim entirely or partially, the
   claimant will be provided an opportunity to have their claim reviewed by an impartial Claim
   Referee who has been appointed by the Court.

                            REMAINING IN THE SETTLEMENT
   12. Do I need to do anything to remain in the Settlement?

   You do not have to do anything to remain in the Settlement, but if you want a payment you must
   submit a Claim Form postmarked by Month Day, 2019.

   13. What am I giving up as part of the Settlement?

   If the Settlement becomes final, you will give up your right to sue Chipotle for the claims being
   resolved by this Settlement. The specific claims you are giving up against Chipotle are described
   in Section 1.19 of the Settlement Agreement. You will be “releasing” Chipotle and all related
   people or entities as described in Section 6 of the Settlement Agreement. The Settlement
   Agreement is available at www.cmgcardsettlement.com.
   The Settlement Agreement describes the released claims with specific descriptions, so read it
   carefully. If you have any questions you can talk to the law firms listed in Question 17 for free
   or you can, of course, talk to your own lawyer at your own expense if you have questions about
   what this means.

                  EXCLUDING YOURSELF FROM THE SETTLEMENT
   If you do not want a payment from this Settlement, but you want to keep the right to sue Chipotle
   about issues in this case, then you must take steps to get out of the Settlement Class. This is
   called excluding yourself from – or is sometimes referred to as “opting out” of – the Settlement
   Class.

   14. If I exclude myself, can I get a payment from this Settlement?

   No. If you exclude yourself, you will not be entitled to any benefits of the Settlement, but you
   will not be bound by any judgment in this case.

   15. If I do not exclude myself, can I sue Chipotle for the same thing later?

   No. Unless you exclude yourself, you give up any right to sue Chipotle for the claims that this
   Settlement resolves. You must exclude yourself from the Settlement Class to start your own
   lawsuit or to be part of any different lawsuit relating to the claims in this case. If you exclude
   yourself, do not submit a Claim Form to ask for a payment.

            Questions? Call 1-XXX-XXX-XXXX or visit www.cmgcardsettlement.com
                                            6
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   16. How do I exclude myself from the Settlement?

   To exclude yourself, send a letter that says you want to be excluded from the Settlement in
   Gordon, et al. v. Chipotle Mexican Grill, Inc., Case No. 1:17-cv-01415-CMA. Include your
   name, address, and signature. You must mail your Exclusion Request postmarked by Month
   Day, 2019, to:


                                    Chipotle Settlement Exclusions
                                          PO Box XXXXX
                                         City, State zip code

                           THE LAWYERS REPRESENTING YOU
   17. Do I have a lawyer in this case?
   Yes. The Court appointed the following lawyers as “Class Counsel”: Benjamin F. Johns of
   Chimicles Schwartz Kriner & Donaldson-Smith LLP, 361 W. Lancaster Avenue, Haverford,
   Pennsylvania 19041; Tina Wolfson of Ahdoot & Wolfson, 10728 Lindbrook Drive, Los Angeles,
   California 90024; and Jean Martin of Morgan & Morgan, P.A., 2018 Eastwood Road, Suite 225,
   Wilmington, North Carolina 28403. You will not be charged for these lawyers. If you want to
   be represented by your own lawyer, you may hire one at your own expense.
   18. How will the lawyers be paid?

   Class Counsel will request the Court’s approval of an award for attorneys’ fees and reasonable
   costs and expenses of $1,200,000. Class Counsel will also request approval of an incentive
   award of $2,500 for each of the Representative Plaintiffs. Any amount that the Court awards for
   attorneys’ fees, costs, expenses, and an incentive award will be paid separately by Chipotle and
   will not reduce the amount of payments to Class Members who submit valid claims.

                            OBJECTING TO THE SETTLEMENT
   You can tell the Court that you do not agree with the Settlement or some part of it.

   19. How do I tell the Court that I do not like the Settlement?

   You can object to the Settlement if you do not like it or some part of it. The Court will consider
   your views. To do so, you must file a written objection in this case, Gordon, et al. v. Chipotle
   Mexican Grill, Inc., Case No. 1:17-cv-01415-CMA, with the Clerk of the Court at the address
   below.
   Your objection must include all of the following: (i) your full name, address, telephone number,
   and e-mail address (if any); (ii) information identifying you as a Settlement Class Member,
   including proof that you are a member of the Settlement Class, which is described in response to
   question number 7; (iii) a written statement of all grounds for the objection, accompanied by any
   legal support for the objection that you believe is applicable; (iv) the identity of all counsel
   representing you, if any, in connection with your objection; (v) the identity of all counsel
   representing you who will appear at the Final Fairness Hearing; (vi) a list of all persons who will

            Questions? Call 1-XXX-XXX-XXXX or visit www.cmgcardsettlement.com
                                            7
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   be called to testify at the Final Fairness Hearing in support of the objection; (vii) a statement
   confirming whether you intend to personally appear and/or testify at the Final Fairness Hearing;
   (viii) your signature and the signature of your duly authorized attorney or other duly authorized
   representative (along with documentation setting forth such representation); (ix) a list, by case
   name, court, and docket number, of all other cases in which you (directly or through counsel)
   have filed an objection to any proposed class action settlement within the last 3 years; (x) a list,
   by case name, court, and docket number, of all other cases in which your counsel (on behalf of
   any person or entity) has filed an objection to any proposed class action settlement within the last
   3 years; and (xi) a list, by case name, court, and docket number, of all other cases in which you
   have been a named plaintiff in any class action or served as a lead plaintiff or representative
   plaintiff.
   To be timely, your objection must be postmarked to the Clerk of the Court for the United States
   District Court for District of Colorado no later than Month Day, 2019. In addition, you must
   mail a copy of your objection to both Class Counsel and Defense Counsel, postmarked no later
   than Month Day, 2019:
   COURT                             CLASS COUNSEL                         DEFENSE COUNSEL
   Office of the Clerk               Benjamin F. Johns                     Paul G. Karlsgodt
   United States District Court      Chimicles Schwartz Kriner &           Baker & Hostetler LLP
   District of Colorado              Donaldson-Smith LLP                   1801 California Street
   Alfred A. Arraj Courthouse        361 W. Lancaster Avenue               Suite 4400
   901 19th Street                   Haverford, Pennsylvania 19041         Denver, CO 80202
   Denver, CO 80294

   20. What is the difference between objecting and asking to be excluded?

   Objecting is telling the Court that you do not like the Settlement and why you do not think it
   should be approved. You can object only if you do not exclude yourself from the Class.
   Excluding yourself is telling the Court that you do not want to be part of the Class. If you
   exclude yourself, you have no basis to object because the case no longer affects you.

                            THE COURT’S FAIRNESS HEARING
   The Court will hold a hearing to decide whether to grant final approval of the Settlement.

   21. When and where will the Court decide whether to approve the Settlement?
   The Court will hold a Fairness Hearing at __:__ _.m. on Month Day, 2019, at the United States
   District Court for the District of Colorado located at the Alfred A. Arraj Courthouse, 901 19th
   Street, Denver, CO 80294. The hearing may be moved to a different date or time without
   additional notice, so it is a good idea to check www.cmgcardsettlement.com or call 1-XXX-
   XXX-XXXX. At this hearing, the Court will consider whether the Settlement is fair, reasonable,
   and adequate. If there are timely objections, the Court will consider them and will listen to
   people who have asked to speak at the hearing if such a request has been properly made. The
   Court will also rule on the request for an award of attorneys’ fees and reasonable costs and
   expenses, as well as the request for an incentive award for the Representative Plaintiffs. After


            Questions? Call 1-XXX-XXX-XXXX or visit www.cmgcardsettlement.com
                                            8
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   the hearing, the Court will decide whether to approve the Settlement. We do not know how long
   these decisions will take.
   22. Do I have to attend the hearing?

   No. Class Counsel will present the Settlement Agreement to the Court. You or your own lawyer
   are welcome to attend at your expense, but you are not required to do so. If you send an
   objection, you do not have to come to the Court to talk about it. As long as you filed your
   written objection on time with the Court and mailed it according to the instructions provided in
   Question 19, the Court will consider it.

   23. May I speak at the hearing?

   You may ask the Court for permission to speak at the Fairness Hearing. To do so, you must file
   an objection according to the instructions in Question 19, including all the information required
   by items (v), (vi), and (vii). Your Objection must be filed with the Clerk of the Court for the
   United States District Court for District of Colorado no later than Month Day, 2019. In
   addition, you must mail a copy of your objection to both Class Counsel and Defense Counsel
   listed in Question 19, postmarked no later than Month Day, 2019.


                                     IF YOU DO NOTHING
   24. What happens if I do nothing?

   If you do nothing, you will get no benefits from this Settlement. Unless you exclude yourself,
   after the Settlement is granted final approval and the judgment becomes final, you will not be
   able to start a lawsuit, continue with a lawsuit, or be part of any other lawsuit against Chipotle
   about the legal issues in this case, ever again.

                              GETTING MORE INFORMATION
   25. How do I get more information?

   This Notice summarizes the proposed Settlement. More details are in a Settlement Agreement.
   You can get a copy of the Settlement Agreement at www.cmgcardsettlement.com. You may also
   write with questions to Chipotle Claims Administrator, PO Box XXXXX, City, State Zip. You
   can also get a Claim Form at the website, or by calling the toll-free number, 1-XXX-XXX-
   XXXX.




            Questions? Call 1-XXX-XXX-XXXX or visit www.cmgcardsettlement.com
                                            9
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                                                                              Exhibit C
  1    Benjamin F. Johns (pro hac vice)
       CHIMICLES SCHWARTZ KRINER &
  2    DONALDSON-SMITH LLP
       361 W. Lancaster Avenue
  3    Haverford, Pennsylvania 19041
       Tel: (610) 642-8500
  4    bfj@chimicles.com
  5    Tina Wolfson (pro hac vice)
       AHDOOT & WOLFSON, PC
  6    10728 Lindbrook Drive
       Los Angeles, California 90024
  7    Telephone: (310) 474-9111
       Facsimile: (310) 474-8585
  8    twolfson@ahdootwolfson.com
  9    Jean Sutton Martin (pro hac vice)
       MORGAN & MORGAN, P.A.
 10    2018 Eastwood Road, Suite 225
       Wilmington, North Carolina 28403
 11    Tel: (813) 559-4908
       jeanmartin@forthepeople.com
 12

 13    Attorneys for Plaintiff
 14
                                 IN THE UNITED STATES DISTRICT COURT
 15                                 FOR THE DISTRICT OF COLORADO
 16

 17    TODD GORDON, MARC and KRISTEN                CASE NO.: 1:17-cv-01415-CMA-SKC
       MERCER, h/w, MICHELLE FOWLER,
 18    GREG LAWSON, and JUDY CONARD,
       on behalf of themselves and all others       DECLARATION OF DOMINIQUE
 19    similarly situated,                          FITE
 20    Plaintiffs,                                  Judge: Hon. Christine M. Arguello
 21    vs.
 22    CHIPOTLE MEXICAN GRILL, INC.,
 23    Defendant.
 24

 25

 26

 27

 28

       DECLARATION OF DOMINIQUE L. FITE
       CASE NO. 1:17-cv-01415-CMA-SKC
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  1
       I, DOMINIQUE FITE, declare as follows:
  2
               1.      I am over 21 years of age and am not a party to this action. This declaration
  3
       is based on my personal knowledge, information provided by the staff of RG/2 Claims
  4
       Administration, LLC ("RG/2"), and information provided by RG/2's media partners, Élan
  5
       Legal Media, LLC (Élan). If called as a witness, I could and would testify competently to
  6
       the facts stated herein.
  7
               2.      I am a Vice-President at RG/2, which has been retained as the Settlement
  8
       Administrator responsible for administering the Notice Plan ("Notice Plan") and the claims
  9
       administration processes for the above-captioned action. RG/2 is a leader in class action
 10
       settlement administration that provides settlement administration services and notice plans
 11
       for class actions involving consumer rights, securities, product liability, environmental,
 12
       employment, and discrimination. I have experience in all areas of class action settlement
 13
       administration including notification planning including direct notice by mail and email,
 14
       print publication notice, and digital publication notice methodologies.
 15
               3.      A copy of RG/2's firm background and capabilities is attached hereto as
 16
       Exhibit A. I designed the Media Notice Plan for the settlement in the above- captioned
 17
       action ("Settlement") in concert with Élan and I am responsible for directing RG/2's
 18
       execution of the Notice Plan.
 19
               4.      This Declaration describes (a) the methodology used to create the proposed
 20
       Notice Plan; (b) the proposed Notice Plan; (c) the internet banner notice; (d) the internet
 21
       notice targeted using keyword search terms; (e) the print publication notice; (f) the
 22
       Settlement website; and (g) the toll-free helpline.
 23
                                                  OVERVIEW
 24
               5.      The Notice Plan developed by RG/2 and Élan was designed to reach 80% of
 25
       the Class consistent with other effective court-approved notice programs, and the Federal
 26
       Judicial Center’s (FJC) Judges’ Class Action Notice and Claims Process Checklist and Plain
 27
       Language guide.
 28
       DECLARATION OF DOMINIQUE L. FITE
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  1
               6.       The Notice plan solely utilizes a digital media publication plan since
  2
       Defendants do not possess individual contact information for potential class members. RG/2
  3
       will, however, mail the Long Form Notice and Claim Form to individuals whom request the
  4
       document on the settlement website or via the toll-free hotline.
  5
                                                     METHODOLOGY
  6
               7.       Working with Élan, RG/2 designed a Notice Plan that utilizes internet banner
  7
       advertising, social media sponsored posts, paid search placements, and print publication
  8
       notice to reach potential Class Members in the Settlement. In designing the Notice Plan, we
  9
       took account of the consumer data showing that individuals in the demographic consistent
 10
       with those who frequent Chipotle Mexican Grill spend significant amounts of time seeking
 11
       and consuming information from digital sources on the internet. Accordingly, we will
 12
       utilize available methods of reaching and exposing Class Members to the Notice that are
 13
       available to marketers and advertisers in the digital, online marketplace.
 14
               8.       The proposed Notice Plan uses methods that have been and are currently
 15
       used by the nation's largest digital marketing, advertising, and media departments to
 16
       target and place billions of dollars in advertising. These methods include the sophisticated
 17
       targeting capabilities of digital marketing technologies to meet and reach Class Members at
 18
       the websites they visit most frequently.
 19
               9.       To verify the Notice Plan’s effectiveness, GfK MediaMark Research &
 20
       Intelligence, LLC (“MRI”) data1 was studied among adults who frequent Chipotle Mexican
 21

 22    1
         GfK MRI research shows the total Chipotle monthly customer adult population at 20.6 million and Chipotle
       ‘medium- heavy’ use customer population at 19.6 million. For purposes of this administration, we were told by
 23    Counsel to assume that approximately 10 million individuals were possibly subjected to the data breach at question in
       this litigation. GfK MRI is a nationally accredited research firm that provides consumer demographics, product and
 24    brand usage, and audience/exposure in all forms of advertising media. MRI measures the usage of nearly 6,000 product
       and service brands across 550 categories, along with readership of hundreds of magazines and newspapers, internet
 25    usage, television viewership, national and local radio listening, yellow page usage, and out-of-home exposure. Based
       on a yearly face-to-face interview of 26,000 consumers in their homes, MRI’s Survey of the American Consumer™
 26    is the primary source of audience data for the U.S. consumer magazine industry and the most comprehensive and
       reliable source of multi-media audience data available. Random selection of households reduces bias and allows MRI
 27    to extrapolate data on a few thousand consumers to represent several hundred million Americans, according to the
       GfK Group. The Doublebase is comprised of four waves of surveys (approximately 52,000 consumers). This data
 28
       DECLARATION OF DOMINIQUE L. FITE
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  1
       Grill and other similar restaurant chains.
  2
                                              PROPOSED NOTICE PLAN
  3
                10.      The objective of the proposed Notice Plan is to provide notice of the
  4
       proposed Settlement to members of the Proposed Class ("Class Members" or "Class") that
  5
       satisfies the requirements of Rule 23 of the Federal Rules of Civil Procedure.
  6
                11.      I understand that the Class includes all persons residing in the United
  7
       States who used a payment card to make a purchase at an affected Chipotle or Pizzeria
  8
       Locale point-of-sale device during the Security Incident, which as described in the definition
  9
       of Security Incident occurred during the time frames and at the stores set forth in Exhibit F
 10
       to the Settlement Agreement.
 11
                12.      Based upon our research into the sources identified in this declaration and
 12
       those identified in the declaration from Ms. Fillmore, the population of affected persons is
 13
       approximately 10 million persons.
 14
                13.      The research suggests that a digital media publication notice campaign
 15
       would result in an effective and efficient approach to reaching the target audience.
 16
                14.      We have designed the Notice Plan that includes the following elements:
 17
                         (a)      Programmatic Display Banner Ads;
 18
                         (b)      Google Display Network Ads;
 19
                         (c)      Facebook Display Ads;
 20
                         (d)      Google Keyword Search;
 21
                         (e)      A press release containing the contents of the Summary Notice released
 22
       nationally through PRweb.
 23
                         (g)      A dedicated settlement website through which Class Members can obtain
 24
       detailed information about the Settlement, access the Class Notice and case documents, and file a
 25
       claim; and
 26

 27    can be reconfigured in a variety of ways, including weighting the total adult U.S. population. An indexing feature for
       the metrics provides easy-to-spot-insights.
 28
       DECLARATION OF DOMINIQUE L. FITE
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  1
                      (h)     A toll-free telephone number that Class Members can obtain additional
  2
       information about the Settlement and request a copy of the Long Form Notice and Claim Form.
  3
              15.     The digital media publication notice components of the Notice Plan
  4
       c onstitute a multi-channel, digital campaign designed to obtain approximately 40 million
  5
       individual notice impressions directed to the target audience and achieve an estimated 80%
  6
       reach at an estimated 3.2x frequency.
  7
              16.     At the conclusion of the notice campaign, RG/2 will provide a final
  8
       declaration verifying implementation of the Notice Plan and provide the final notice
  9
       impression delivery results.
 10
                            INTERNET AND SOCIAL MEDIA BANNER NOTICE
 11
              17.     To reach as many of Class Members as possible the internet banner notice
 12
       campaign will place banner notices with a link to the Settlement Website. Banner notices
 13
       will appear on internet/social media platforms, optimized to reach the target audience. To
 14
       that end, the internet banner notices will run on websites and social media platforms
 15
       targeting the class’s demographics. The two platforms are:
 16
                     Google Display Network – viewable internet banner ad impressions targeting
 17                   websites that are indexed according to topics related to: Chipotle, Qdoba, Pizzeria
                      Locale, and similar restaurant chains
 18
                     Facebook, Instagram, Facebook messenger, Instant articles
 19
              18.     The performance of the internet banner ad placements on the selected
 20
       platforms will be continually evaluated during the claims period to determine those
 21
       placements that are producing the best results in terms of qualified visits to the Settlement
 22
       website. Accordingly, placements on underperforming platforms will be reduced and
 23
       placements on high- performing websites will be increased in order to increase the
 24
       efficiency and effectiveness of the web-based notice tactics.
 25
              19.     Jessica Fillmore’s Declaration, attached as Exhibit B, provides more detailed
 26
       information about the technologies and methods that we will use to implement and track
 27

 28
       DECLARATION OF DOMINIQUE L. FITE
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  1
       this component of the Notice Plan.
  2
                                   USING KEYWORD SEARCH TERMS
  3
              20.     The proposed Notice Plan will also include notice text ads targeted to display
  4
       in response to the entry of specific keywords associated with Chipotle Mexican Grill on the
  5
       Google a search engine website. All keyword search notice advertisements will link to the
  6
       Settlement website.
  7
                                          SETTLEMENT WEBSITE
  8
              21.     Prior to the launch of the direct and web-based media campaign, RG/2 will
  9
       update the current case website established for the purposes of disseminating the Notice of
 10
       Class Certification with the contents of the Court-approved Settlement Notices and Claim
 11
       Form. The website will be hosted at www.cmgcardsettlement.com.
 12
              22.     RG/2 will work with counsel to update the case website to finalize the
 13
       content to for the website and the claims portal. The website will provide Class Members
 14
       with general information about the Settlement, answers to frequently asked questions,
 15
       important dates and deadline information, a summary of Settlement benefits, the ability to
 16
       file an online claim form, the ability to file an online opt-out request, a means by which to
 17
       download copies of certain Settlement documents (including the Long Form and Short Form
 18
       Notices, Downloadable Claim Form, Settlement Agreement, and Preliminary Approval
 19
       Order), and contact information for the Claims Administrator.
 20
                                            TOLL-FREE HOTLINE
 21
              23.     Prior to the launch of the notice campaign, RG/2 will make available a toll-
 22
       free number to assist potential Class Members and any other persons seeking information
 23
       about the Settlement.
 24
              24.     The toll-free helpline will include a voice response system that allows callers
 25
       to listen to general information about the Settlement, listen to responses to frequently asked
 26
       questions ("FAQs"), or request a paper version of the Long Form Notice and Claim Form.
 27
              25.     RG/2 will work with Counsel to finalize responses to the FAQs that will
 28
       DECLARATION OF DOMINIQUE L. FITE
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  1
       incorporate the information contained in the Court-approved Class Notice that will provide
  2
       accurate answers to anticipated questions about the Settlement.
  3
                                    MEDIA NOTICE PLAN SUMMARY
  4
              26.     The digital publication notice components of the Media Notice Plan
  5
       constitute a multi-channel, digital campaign designed to obtain over 19.6 million individual
  6
       notice impressions directed to the target audience through digital banner notices, and online
  7
       search notice advertisements. The media notice plan will achieve an estimated 80% reach
  8
       (meaning that 80% of the class members will receive the notice) at an estimated 3.2x
  9
       frequency (meaning that each such person will be shown the notice an average of at least
 10
       two times).
 11
                                                CAFA NOTICE
 12
              27.     RG/2 will provide notice to governmental officials as required by the Class
 13
       Action Fairness Act, 28 U.S.C. § 1715.
 14
                        PROCESSING CLAIMS, OPT-OUTS AND OBJECTIONS
 15
              28.     RG/2 will process all claims and opt-out requests, whether received online
 16
       or in paper format, and will report to the Court no later than 14 days prior to the final
 17
       approval hearing. If RG/2 receives any objections to the settlement, it will forward them to
 18
       counsel for the parties. If the settlement receives final approval, RG/2 will determine claim
 19
       validity, distribute the settlement funds to claimants in accordance with the settlement
 20
       agreement and provide the parties a post-distribution accounting to be filed with the Court.
 21
                                                  EXHIBITS
 22
              29.     Attached hereto are true and correct copies of the following exhibits:
 23
                      (a)    Exhibit A: Corporate Resume for RG/2 Claims Administration LLC
 24
                      (b)    Exhibit B: Declaration of Jessica Fillmore of Élan Legal Media, LLC.
 25
                      (c)    Exhibit C: CV for Jessica Fillmore and Élan Legal Media, LLC.
 26

 27

 28
       DECLARATION OF DOMINIQUE L. FITE
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  1
                I declare under penalty of perjury under the laws of the United States that the foregoing is
  2
         true     and   correct   and    was   executed    in    San   Diego,   CA    on    June 4,   2019.
  3

  4

  5                                                             _________________________________
                                                                Dominique Fite
  6

  7

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       DECLARATION OF DOMINIQUE L. FITE
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                          EXHIBIT A
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   CORPORATE RESUME

   Formed more than 20 years ago by a team of seasoned class action attorneys, financial analysts
   and certified public accountants with decades of experience handling damage analysis and
   complex claims, RG/2 Claims Administration LLC (RG/2) offers a complete range of high-
   quality and cost-effective notice, legal claims and class action settlement administration services
   as well as investment management and tax reporting services. RG/2 manages the administration
   of settlements running the spectrum of size, value, complexity, sophistication, and practice area,
   including but not limited to antitrust, consumer, data breach, employment, government, including
   ERISA, TCPA, FACTA, FDCPA, FLSA, mass tort, privacy and civil rights, and securities.
   RG/2 delivers the bench-strength, capabilities and resources of a national firm with the personal
   touch, responsiveness and agility of a boutique practice. Since 2000, RG/2 has administered class
   action settlements involving in excess of $1.4 billion in class action settlement and Fair Fund
   proceeds.

   RG/2 PERSONNEL

   The RG/2 team is a talented multi-disciplinary group of professionals who provide
   a comprehensive range of services throughout the administration process. Our principals
   have hands-on experience in both class action practice and settlement administration. The
   depth of experience of our current personnel can be measured both by their years administering
   settlement at RG/2, and by their prior related endeavors, such as claims administration,
   litigation, banking and technology consulting, and certified public accounting. RG/2’s combined
   access to resources and financial institutions allow our team to deliver superior value-added
   service in all aspects of settlement administration

   FRAUD DETECTION & PREVENTION

   RG/2’s fraud detection and prevention processes are designed to protect our clients by
   proactively thwarting the unethical type of activities prevalent in today’s technological
   environment. Throughout the administration process, RG/2 employs a variety of fraud protection
   controls to identify falsified and duplicative claims, and conducts standard audit reporting
   procedures and spot reviews that examine the information in a variety of ways. Furthermore,
   before authorizing the issuance of a check to a claimant, RG/2 reviews and compares the
   settlement database against the “watch list” of known potential fraudulent filers that we
   developed and maintain. RG/2 also works closely with federal, state, and local law enforcement
   agencies for prevention of payment to fraudulent claimants.



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   ONSITE & DATA SECURITY

   RG/2 recognizes the importance of keeping both its staff and sensitive information safe
   and secure. Building security includes active alarm systems, locked exterior doors, interior key-
   entry doors to server rooms and rooms holding highly confidential documents, and a monitored
   public entrance where visitors are required to sign in by showing identification at which time
   they are provided a visitor badge and escorted to the designated elevator by security.

   RG/2 is routinely tasked with housing and protecting sensitive and confidential data, including
   social security numbers, health records, PII, as well as financial data such as bank account
   information and credit and debit card numbers. As a result, data security is a critical priority. We
   are committed to ensuring the safety of our client’s data from unauthorized use, access,
   disclosure, theft, manipulation, reproduction or possible security breach, during the tenure of our
   relationship. Due to the ever growing threat of viruses and data intruders, RG/2 utilizes an in
   depth methodology of best-in-class security to address any serious threats including perimeter,
   application, as well as endpoint protection. All firewalls are configured with business driven
   logic, locking down unnecessary ports and services. All software systems are updated on a
   monthly basis, addressing any security vulnerabilities, performance and functionality issues. Our
   Information Security Program has been tested and continually passed intensive security reviews
   by the most demanding organizations in a variety of industries including, but not limited to,
   financial and professional services, software and technology manufacturing, retail, energy and
   utility organizations, government entities, healthcare providers and leading financial institutions.

   QUALITY CONTROL PROCEDURES

   An integral component of the services RG/2 provides is quality assurance. RG/2 maintains
   all claimant identifying information in the strictest confidence by the use of strong internal
   controls, protocols, and proprietary technology. RG/2 has never experienced any breach or
   leak of confidential class member identifying information or other sensitive class member
   information. Documentation received in response to the notice is carefully reviewed, evaluated,
   and properly stored. RG/2 maintains a Record Retention and Destruction Policy (hereafter
   “Records Policy”) which generally requires it to maintain, store, and make available, in an
   indexed and readily retrievable form, all records and documentation associated with a particular
   matter for a period, generally seven years, following the distribution of any fund. The Records
   Policy also allows for the time period and the triggering event to be adjusted to
   appropriate client and court requirements, such as retention for six years from the transfer of
   any remaining funds to the SEC or the closing of the account from which the funds were
   disbursed, whichever is earlier. RG/2 will be able to accommodate this retention and destruction
   arrangement and smoothly implement it into its operating procedures.



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   SYSTEMS

   RG/2 developed and maintains CLEVerPay®, a revolutionary proprietary database application.
   CLEVerPay® allows us to provide efficient, cost-effective services to our clients, while
   protecting the security of confidential information. Our system is stalwart enough to house
   massive amounts of data, yet nimble enough to allow for a customized client portal that provides
   several different levels of access and security clearance for our clients to interact with the data on
   demand. Our IT Group, including an experienced web design team, enables RG/2 to employ
   technologies used to enhance accuracy, efficiency and interaction throughout the administration
   process.

   INSURANCE COVERAGE

   It is RG/2’s practice to carry specific insurance equal to its current liabilities calculated on the
   risk regarding the current case load. This strategy enables RG/2 to flexibly contain costs and not
   charge our clients exorbitant rates for non-existent risks. In order to provide the most efficient
   and cost-effective services while ensuring sufficient insurance coverage for each matter handled
   by RG/2, we will, should it be necessary, obtain additional case-specific riders for large scale
   matters such as this matter. We will carry the appropriate insurance for the appropriate time
   period to ensure that any potential risk to a settlement or fund of large size is covered. Specific
   coverage amount is available upon request from Counsel.

   NOTABLE CASES
   RG/2 has extensive experience providing notice and administration services in large, complex,
   and unique matters across a broad spectrum of practice areas. Below is a small sampling of our
   relevant experience:

         Parsons v. Brighthouse Networks, LLC: In a highly complex $3. 7 million ttie-in antitrust
          class action settlement involving approximately 5.4 million class members, RG/2
          assimilated, de-duplicated and imported a multitude of overlapping files containing class
          member data into our proprietary database, CLEVerPay®. CLEVerPay® was able to filter
          and sort the complex data, eliminating any irrelevant information and duplicated entries
          and validate claims from current and former customers of the defendant. RG/2 developed
          and implemented a website and claims portal that allowed claimants to enter their
          account number and easily execute their claim form. RG/2 worked with counsel and the
          defendant to ensure that the website allowed class members easy access to their customer
          profiles and identified all options for any non-monetary recovery that was delivered
          easily and timely.




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         AzHHA (In re Johnson v. Arizona Hospital and Healthcare Association): RG/2 was
          retained by counsel in this historically compounded $22.4 million wage-suppression
          employment/antitrust class action settlement involving approximately 30,000 class
          members, who were employed over a 10-year class period by 43 different employers.
          RG/2 reviewed and assimilated payroll data from all 43 defendants, collected required
          data points, analyzed supporting documents, computed damages, created individual
          damage profiles based upon specific unique criteria, distributed two rounds of settlement
          payments and prepared and filed employment tax returns and distributed wage tax
          reporting forms involving multiple taxing jurisdictions.

         In re Cast Iron Soil Pipe and Fittings Antitrust Litigation: RG/2 recently administered
          this price fixing settlement which consisted of a class of cast iron soil pipe and fittings
          purchasers from numerous defendants during the class period. RG/2 mailed noticed
          caused publication and designed and maintained the settlement website. RG/2 reviewed
          and process claims, sending deficiency notices to cure claims. In addition to
          disseminating settlement proceeds to class members, RG/2 performed audits on selected
          claims and reviewed various documentation provided by class members to verify the
          amounts claimed and the eligibility of products purchased.

         SEC v. Veritas Software Corporation: RG/2 worked with the Securities and Exchange
          Commission (“SEC”) to successfully leverage both its experience and the claims data it
          collected in the private action to offer significant efficiencies to the SEC in the
          distribution of the $30,000,000 Fair Fund established by judgment in SEC v. Veritas
          Software Corp. The efficiencies offered by RG/2’s distribution plan in the SEC v. Veritas
          Software Corp. Fair Fund saved at least $1,000,000 in administrative expenses.

         McDowell et al. v. Philadelphia Housing Authority: RG/2 administered this $2.65 million
          settlement concerning the failure to factor rising gas prices into tenant gas utility
          reimbursements. RG/2 processed claims, determined beneficial owners, and issued
          payments via check and/or set-off to PHA obligations to claimants who resided in PHA
          scattered site housing during the period 1999 through 2012. RG/2’s efforts resulted in a
          response rate of 55%.

         In Re: Smith Barney Transfer Agent Litigation: RG/2 recently administered a decade-old
          $5 million securities class action settlement involving 17 individual mutual funds,
          representing 71 individual ticker symbols and 131 individual CUSIPS. The plan of
          allocation was highly complex and involved incremental damages based upon holding in
          particular funds over a period of time, even if such funds were only held in an affected
          fund for a single day during the class period. After identifying over 154,800 class
          members, RG/2 developed a deciphering and synchronization system that efficiently
          processed data provided by bank and broker nominees representing over 64,000
          individual claims, each representing monthly holdings in each of the mutual funds. RG/2
          also worked with Counsel and a Court-appointed damage expert to effectuate a revised
          plan of allocation to maximum relief to valid claimants.


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         Doe No.1, etal. v. Johns Hopkins, et al.: RG/2 was engaged by counsel on a $190 million
          class action settlement involving at least 15,000 women who were victims of a breach of
          privacy by their physician. In order to adjudicate these most sensitive claims, RG/2
          retained and managed a team of experienced trauma specialists to review claims
          submissions and conduct confidential interviews of each class member to assess the
          lasting psychological impact and compute damages resulting from the breach. RG/2 also
          assisted in the design and management of an additional formal appeals process to handle
          objections presented by class members.

         Melgar v. Zicam LLC et al.: In this $16 million settlement consisting of a nationwide
          class of purchasers of nine different products, RG/2 employed a multi-faceted notice
          approach comprised of both direct email and postcard notice and a media plan in an effort
          to reach an estimated 12.5 million class members. While this administration is ongoing,
          we have received and processed over 100,000 claims to date.

         Fejzulai et al. v. Sam’s West Inc. et al.: RG/2 is currently serving as the administrator for
          this $6 million settlement in which Sam’s Club refused to honor its refund guarantee on
          certain fresh product items. Administration tasks included notifying an estimated 70
          million class members, processing claims, and issuing gift cards to eligible claimants.

         In Re: American Honda Motor Company, Inc. Dealership Relations Litigation: RG/2
          served as the administrator in this $460 million RICO settlement which, due to the large
          number of entities that asserted beneficial claimant ownership as successors and
          transferees, required an extensive review and determination of claimant eligibility based
          upon divorce, estate, bankruptcy, purchase, and other transfer and succession related
          records.




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                          EXHIBIT B
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 14

 15    Attorneys for Plaintiff

 16
                                 IN THE UNITED STATES DISTRICT COURT
 17                                 FOR THE DISTRICT OF COLORADO
 18
 19
       TODD GORDON, MARC and KRISTEN                   CASE NO.: 1:17-cv-01415-CMA-SKC
 20    MERCER, h/w, MICHELLE FOWLER, GREG
       LAWSON, and JUDY CONARD, on behalf of
 21    themselves and all others similarly situated,   DECLARATION OF JESSICA
 22                                                    FILLMORE
       Plaintiffs,
 23                                                    Judge: Hon. Christine M. Arguello
       vs.
 24
       CHIPOTLE MEXICAN GRILL, INC.,
 25

 26    Defendant.

 27

 28

       DECLARATION OF JESSICA FILLMORE
       CASE NO. 1:17-cv-01415-CMA-SKC
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  1
       I, JESSICA FILLMORE, declare as follows:
  2

  3           1.     I am over 21 years of age and am not a party to this action. I have personal
  4
       knowledge of the facts stated herein and, if called as a witness, could and would testify
  5
       competently thereto.
  6

  7           2.     I am Co-Founder and Manager of Élan Legal Media, LLC (Élan), formerly

  8    FRWD Legal. (“FRWD”), a digital marketing firm based in Minneapolis, Minnesota. My
  9
       firm has been asked by RG/2 Claims Administration, LLC (“RG/2”) to partner in the design
 10
       and execution of the Notice Program for the settlement in the above-captioned action (the
 11

 12    “Settlement”).

 13           3.     I have deep experience in digital marketing and marketing research. In the
 14
       past five years I have focused exclusively on digital media. My work has involved
 15
       designing, executing, and validating digital media advertising and communications
 16

 17    campaigns.    The technologies and tools described herein are well-accepted, leading

 18    practices in the digital advertising world and are directly transferable and applicable to the
 19
       execution of an effective class action notice plan.
 20
                                SUMMARY OF NOTICE PROGRAM
 21

 22           4.     Élan and RG/2 constructed the Notice Plan to be consistent with, and to take

 23    advantage of, how individuals consume media and locate information today. Specifically,
 24
       we are leveraging digital components including mobile and desktop programmatic display
 25
       banner ads, Facebook ads, and google keyword search. Leveraging how today’s consumer
 26

 27    accesses media enables us to construct a more robust, action-oriented notification plan. In

 28
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  1    addition, as we constructed the Notice Plan, we focused on demographic information about
  2
       the purchasers of the products involved in this Settlement. This information enables us to
  3
       better target our Notice Plan and reach potential Settlement Class Members. Specifically,
  4

  5    our Notice efforts will focus on targeting the estimated 19.6 million consumers in the

  6    United States who are frequent customers of Chipotle Mexican Grill (“Chipotle”). This
  7
       audience was selected based on demographic information, and media consumption, as
  8
       stated above, as well as through tools provided by Gfk MRI, eMarketer, Facebook,
  9

 10    comScore, and Google to be representative of the estimated 10 million members of the

 11    Class who dined at Chipotle.
 12
              5.      Between the display, mobile, social media, and keyword search components
 13
       of the Notice Program, our tools indicate we will produce sufficient individual digital and
 14

 15    print notice impressions targeted to approximately 19.6 million persons representing the

 16    target audience to produce an estimated reach of 80% of the target audience including the
 17
       class or more at a projected 3.2x frequency.
 18
        DEFINITION OF TARGET: AUDIENCE TARGETING AND VERIFICATION
 19

 20           6.      The Settlement Class means all persons residing in the United States who used a

 21    payment card to make a purchase at an affected Chipotle or Pizzeria Locale point-of-sale device

 22    during the Security Incident as set forth in Exhibit F to the Settlement Agreement
 23
                                       MEDIA NOTICE TARGET AUDIENCE
 24
              7.      Knowing the characteristics, interests, and habits of a target group aids in the
 25

 26    media selection process. Demographic highlights of Chipotle consumers include the

 27    following: 53.33% women and 46.67% men; greatest index amongst adults ages 18-34,
 28
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  1    more likely to be Caucasian, more likely have an annual household income of $150,000 -
  2
       $200,000, 47.66% of audience have at least one child in their household and 45.53% have
  3
       a post-graduate degree.
  4

  5              8.      We have the ability to target individuals according to different demographic

  6    and psychographic (lifestyle and interest) characteristics. This is done by focusing our
  7
       notification advertising on specific websites (domains) which index highly against our core
  8
       target audience. This notification plan is focused primarily on adults in the United States
  9

 10    who consume media via desktop, and mobile web, mobile application, keyword search

 11    results, and social media. This mix of media was planned, and specific media placements
 12
       were selected, by leveraging industry-leading digital tools such as comScore, Facebook
 13
       and Google. Using these tools, Élan selected hundreds of websites on which our audience
 14

 15    visits at a rate greater than the typical Internet-using population. These custom lists are a

 16    best practice in consumer advertising and will further strengthen our ability to provide
 17
       notice to Settlement Class Members in the Notice Program. In this case, control of the
 18
       website domains that display the Notice, and the location where the Notice banners will
 19

 20    appear on those websites, provides a higher likelihood of successfully exposing Settlement

 21    Class Members to the Notice.
 22
                 9.      In addition to selecting specific websites, we are leveraging Facebook
 23
       Interest Targeting1 which provides the opportunity to reach Settlement Class Members
 24

 25    based on information they have added to their Facebook timelines. This considers

 26

 27
       1
           Facebook, https://www.facebook.com/help/131834970288134/.
 28
       DECLARATION OF JESSICA FILLMORE
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  1    information such as the Facebook pages they like, apps they use, and other information
  2
       they have added to their timelines. Additionally, we can specifically target individuals
  3
       whom liked Chipotle on Facebook or published a post about Chipotle during the relevant
  4

  5    class period.

  6           10.      In addition to selected websites and social media interest targeting, we are
  7
       leveraging search engine results page advertisements, displayed as “sponsored links”
  8
       across search engines.
  9

 10           11.      These digital channels provide an additional opportunity to reach the target

 11    audience with engaging content and drive potential Class Members to the Settlement
 12
       Website to receive further information and/or to file an online claim.
 13
                                       INTERNET BANNER ADS
 14

 15           12.      The notice program will also utilize a programmatic approach to purchasing

 16    internet media advertisements, which will enable the Notice Plan to target potential Class
 17
       Members with tailored communications.            Purchasing display and mobile inventory
 18
       programmatically provides the highest reach for internet publication, allows for multiple
 19

 20    targeting layers, and causes banner advertisements to be systematically shown to persons

 21    most likely to be Class Members.
 22
              13.      Search terms, relevant to Chipotle and fast casual dining, will be incorporated
 23
       into the campaign parameters to drive relevant traffic. The digital media plan will also
 24

 25    focus on competitor products, targeting users who are currently browsing or have recently

 26    browsed content in categories such as “QDOBA” or “Lunch near me”, which will also help
 27
       qualify impressions to ensure messaging is served to the most relevant audience. A focus
 28
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  1    will be placed on purchase data targeting Chipotle specifically. The purpose of such
  2
       targeting is to ensure that likely Class Members are exposed to the notice documents while
  3
       simultaneously minimizing the chance that notice is misdirected to individuals who are
  4

  5    unlikely to be members of the class.

  6                                   CONNECTION TO THE NOTICE WEBSITE
  7
                14.      All digital communication in the form of web banners, keyword search, and
  8
       social media will be connected to the Settlement Website. Specifically, the banner
  9

 10    advertisements will list the Settlement Website, and users who click on the banner

 11    advertisements will be routed directly to the Settlement Website, where they will find
 12
       information in greater detail and online claim filing functionality. This combination of
 13
       reaching our audience and connecting to greater detail via the Settlement Website provides
 14

 15    us with a comprehensive approach to reaching Settlement Class Members.

 16             15.      In addition, Élan will leverage Google Analytics2 (“GA”) on the Settlement
 17
       Website. By using GA, Élan can showcase reporting on the engagement of the Settlement
 18
       Class Members on our Settlement Website. Specifically, GA will measure the most highly
 19

 20    trafficked content and the total number of Settlement Class Members performing specific

 21    actions, such as the number of visitors, the number of pages viewed, the time spent, and
 22
       the number of documents downloaded by type.
 23

 24

 25

 26    2
        Google Analytics is a service offered by Google that generates detailed statistics about the visitors to a website. GA
       can track visitors from all referring websites, including search engines, display advertising, pay-per-click networks,
 27    email marketing, and other traffic sources.

 28
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  1                                     TOLL-FREE HOTLINE
  2
              16.    A toll-free hotline devoted to this case will be implemented to further apprise
  3
       Class Members of the rights and options in the Settlement. The toll-free hotline will utilize
  4

  5    an interactive voice response (“IVR”) system to provide Class Members with responses to

  6    frequently asked questions and provide important information regarding the Settlement.
  7
       This hotline will be accessible 24 hours a day, 7 days a week.
  8
                                 MEDIA NOTICE PLAN SUMMARY
  9

 10           17.    Based on my experience in designing and executing digital outreach and

 11    marketing plans, as well as industry best practices, it is my opinion that the published notice
 12
       component of the Notice Program will produce sufficient individual digital notice
 13
       impressions targeted to approximately 10 million persons representing the target audience
 14

 15    to produce an estimated reach of 80% of the target audience, or more, at a projected 3.2x

 16    frequency.
 17
       I declare under penalty of perjury, that the foregoing is true and correct to the best of my
 18
       knowledge. Executed this 6th day of June, 2019 in Minneapolis, Minnesota.
 19

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 21                                                       ______________________________
                                                          Jessica Fillmore
 22                                                       Élan Legal Media.
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       DECLARATION OF JESSICA FILLMORE
       CASE NO. 1:17-cv-01415-CMA-SKC
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                          EXHIBIT C
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 Élan Legal Media
 Élan Legal Media (“E.L.M.”), formerly FRWD Co., is a digital marketing firm based in
 Minneapolis, Minnesota. Our team has more than 20 years of experience in the
 creation and implementation of marketing, public relations, and digital media notice
 campaigns. E.L.M. has partnered with class action claims administrators, law firms,
 and Fortune 500 brands to create tailored media plans and campaigns to reach
 individuals impacted by class and mass actions nationwide. Federal and state courts
 have recognized and approved our work in the design of class action notice programs
 that satisfy all due process standards.

 As part of E.L.M.’s execution of multimedia campaigns, we have planned, designed,
 built, placed, and reported on tens of thousands of individual web-based creative
 assets such as banner ads, websites, mobile applications, keyword search ads,
 Facebook landing pages, and other forms of content development. Our areas of
 special expertise and focus include local (city and state level) and national advertising
 focused on achieving specific reach and frequency targets. Over the past six years,
 E.L.M. has completed more than 800 individual digital media campaigns focused on a
 specific locale (geo-footprint), combined with audience targeting and very specific
 reach and frequency goals. We have done so for brands including Cheerios, Wheaties,
 Yoplait, Covergirl, Olay, Charmin, and Colgate.

 Below, please find a case list of just a few matters handled by our co-founder and
 notice expert, Jessica Fillmore:
 •     AZEK Building Products, Inc. Marketing and Sales Practices Litigation
 •     Christine Cumming vs. BetterBody Food & Nutrition LLC
 •     Timothy Haight v. Bluestem Brands Inc.
 •     James Boswell, et al. vs. Costco Wholesale Corporation
 •     Krakauer v. DISH Network, LLC
 •     Michael Taylor vs. Dynamic Pet Products, LLC,
 •     The Honest Company Inc. Marketing and Sales Practices Litigation
 •     Motor Fuel Temperature Sales Practices Litigation
 •     Frito-Lay North America, INC. All Natural Litigation
 •     Stephanie Leiner v. Johnson & Johnson Consumer Companies Inc.
 •     Alexander Vuckovic Vs. KT Health Holdings, LLC and KT Health, LLC
 •     Mark A. Stolzenburg vs. Biewer Lumber, LLC
 •     Learjet, Inc., et al. v. ONEOK Inc., et al.
 •     Heartland Regional Medical Center, et al. v. ONEOK Inc., et al.
 •     Joshua Rawa, et al. v. Monsanto Company, et al.
 •     NewPage Wisconsin System Inc. v. CMS Energy Resource Management Co., et al.
 •     Michael Villa v. San Francisco Forty Niners Ltd., et al.
 •     Kopin v. Orbit Baby Inc. and The ERGO Baby Carrier Inc.
 •     Anne Elkind and Sharon Rosen v. Revlon Consumer Products Corp.
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                                                                                  Exhibit D
                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:17-cv-01415-CMA-SKC

   TODD GORDON, MARC and KRISTEN
   MERCER, h/w, MICHELLE FOWLER,
   GREG LAWSON, and JUDY CONARD,
   individually and on behalf of all others
   similarly situated,

           Plaintiffs,

      v.

   CHIPOTLE MEXICAN GRILL, INC.,

           Defendant.


     [PROPOSED] ORDER CONDITIONALLY CERTIFYING A SETTLEMENT CLASS,
     GRANTING PRELIMINARY APPROVAL OF THE CLASS ACTION SETTLEMENT,
     APPROVING THE FORM AND MANNER OF NOTICE, AND SCHEDULING FINAL
                           APPROVAL HEARING

           This cause is before the Court on Plaintiffs’ Unopposed Motion for Preliminary

   Approval of the Class Action Settlement (the “Motion”). The Court, having considered

   the Motion, the supporting memorandum of law, the Parties’ Settlement Agreement

   dated June 10, 2019 (the “Settlement Agreement”), the proposed forms of notice to

   the Settlement Class, the pleadings and other papers filed in this Action, and the

   statements of counsel and the parties, has determined that the proposed Settlement

   satisfies the criteria for preliminary approval, the proposed Settlement Class is

   preliminarily certified, and the proposed Notice Plan is approved. Accordingly, good

   cause appearing in the record, Plaintiffs’ Motion is GRANTED.

           IT IS HEREBY ORDERED as follows:




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                      Preliminary Approval of Settlement Agreement

          1.     Unless otherwise defined herein, all terms that are capitalized herein shall

   have the meanings ascribed to those terms in the Settlement Agreement.

          2.     This Court has jurisdiction over the Litigation, Plaintiffs, all Settlement

   Class Members, Defendant Chipotle Mexican Grill, Inc. (“Chipotle” or “Defendant”), and

   any party to any agreement that is part of or related to the Settlement.

          3.     The Court finds that the proposed Settlement with Chipotle set forth in the

   Settlement Agreement is fair, reasonable, and adequate, otherwise meets the criteria

   for approval, and warrants issuance of notice to the Settlement Class. Accordingly, the

   proposed Settlement is preliminarily approved.

                     Provisional Certification of the Settlement Class

          4.     Solely for purposes of the Settlement, the Court conditionally certifies the

   following class pursuant to FED. R. CIV. P. 23(a) and (b)(3) (“Settlement Class”):

          All persons residing in the United States who used a payment card to
          make a purchase at an affected Chipotle or Pizzeria Locale in-store point-
          of-sale device during the Security Incident, which as described in the
          definition of Security Incident occurred during the time frames and at the
          stores set forth in Exhibit F to the Settlement Agreement and Appendix A
          to the Publication Notice

   Excluded from the Settlement Class are (i) Chipotle and its officers and directors; (ii) all

   Settlement Class Members who timely and validly request exclusion from the

   Settlement Class; (iii) the Judge assigned to evaluate the fairness of this settlement; (iv)

   the attorneys representing the Parties in the Litigation; (v) banks and other entities that

   issued payment cards which were utilized at Chipotle during the Security Incident; and

   (vi) any other Person found by a court of competent jurisdiction to be guilty under




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   criminal law of initiating, causing, aiding or abetting the criminal activity occurrence of

   the Security Incident or who pleads nolo contendere to any such charge.

          5.      Subject to final approval of the Settlement, the Court finds and concludes

   for settlement purposes only that the prerequisites to a class action, set forth in FED. R.

   CIV. P. 23(a) and (b), are satisfied in that:

          (a)     the Settlement Class is so numerous that joinder of all members is

                  impracticable;

          (b)     there are questions of law or fact common to the Settlement Class;

          (c)     Plaintiffs and Class Counsel (each defined below) fairly and adequately

                  represent the Settlement Class;

          (d)     the claims of Plaintiffs are typical of those of Settlement Class Members;

          (e)     common issues predominate over any individual issues affecting the

                  members of the Settlement Class;

          (f)     Plaintiffs fairly and adequately protect and represent the interests of all

                  members of the Settlement Class, and Plaintiffs’ interests are aligned with

                  the interests of all other members of the Settlement Class; and

          (g)     settlement of the Actions on a class action basis is superior to other

                  means of resolving this matter.

          6.      The Court appoints Benjamin F. Johns of Chimicles Schwartz Kriner &

   Donaldson-Smith LLP, Tina Wolfson of Ahdoot & Wolfson, PC, and Jean Sutton Martin

   of Morgan & Morgan as Class Counsel, having determined that the requirements of

   Rule 23(g) of the Federal Rules of Civil Procedure are fully satisfied by this

   appointment.




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          7.     The Court hereby appoints Plaintiffs Todd Gordon, Marc Mercer, Kristen

   Mercer, Michelle Fowler, Judy Conard, and Greg Lawson to serve as Class

   Representatives for settlement purposes only on behalf of the Settlement Class.

                            Notice to Settlement Class Members

          8.     The Court approves the Notices of Pendency and Proposed Settlement of

   Class Action (the “Settlement Notices”), and finds that the dissemination of the Notices

   substantially in the manner and form set forth in the Notice Plan attached to the Motion

   complies fully with the requirements of the Federal Rule of Civil Procedure 23 and due

   process of law, and is the best notice practicable under the circumstances. Non-material

   modifications to the Settlement Notices may be made without further order of the Court.

          9.     The notice procedures described in the Notice Plan attached to the Motion

   are hereby found to be the best means of providing notice under the circumstances, are

   reasonably calculated to apprise Settlement Class Members of the pendency of the

   action, the terms of the proposed Settlement, and their rights under the proposed

   Settlement, including but not limited to their rights to object to or exclude themselves

   from the proposed Settlement, and, when completed, shall constitute due and sufficient

   notice of the proposed Settlement Agreement and the Final Approval Hearing to all

   persons affected by and/or entitled to participate in the Settlement Agreement, in full

   compliance with the notice requirements of Rule 23 of the Federal Rules of Civil

   Procedure and due process of law.

          10.    The Claims Administrator is directed to carry out the Notice Plan, which

   shall be completed in the manner set forth in the Settlement Agreement. No later than

   thirty (30) days from the date of this Order preliminarily approving the Settlement, the




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   Claims Administrator shall initiate the Notice Plan, which shall be completed in the

   manner set forth in the Settlement Agreement.

          11.    All costs incurred in disseminating and otherwise in connection with the

   Settlement Notices shall be paid by Defendant pursuant to the Settlement Agreement.

          12.    The claim form attached to the Settlement Agreement satisfies the

   requirements of due process and of Rule 23(e) of the Federal Rules of Civil Procedure

   and thus is approved for dissemination to the Settlement Class. The claim form shall be

   made available to the Settlement Class as set forth on the Notice Plan and shall be

   made available to any potential Class member that requests one.

     Responses by Class Members and the Scheduling of a Final Approval Hearing

          13.    Settlement Class Members may opt-out (the “Opt-Out Deadline”) or object

   up to 120 days from the date on which the Notice Program commences.

          14.    Any member of the Settlement Class that wishes to be excluded (“opt

   out”) from the Settlement Class must send a written Request for Exclusion to Class

   Counsel and Counsel for Chipotle to the designated Post Office box established by the

   Claims Administrator on or before the close of the Opt-Out Deadline. Members of the

   Settlement Class may not exclude themselves by filing Requests for Exclusion as a

   group or class, but must in each instance individually and personally execute a Request

   for Exclusion. All Settlement Class Members that exclude themselves from the

   Settlement Class will not be eligible to receive any benefits under the Settlement, will

   not be bound by any further orders or judgments entered for or against the Settlement

   Class, and will preserve their ability to independently pursue any claims they may have

   against Defendant.




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          15.    Any member of the Settlement Class that does not properly and timely

   request exclusion from the Settlement Class shall, upon entry of the Order and Final

   Judgment, be bound by all the terms and provisions of the Settlement Agreement and

   Release, whether or not such Class member objected to the Settlement and whether or

   not such Class member received consideration under the Settlement Agreement.

          16.    A hearing on the Settlement (the “Final Approval Hearing”) shall be held

   before this Court on _____________________________, 2019 at

   __________________, Courtroom ___ of the Alfred A. Arraj United States Courthouse,

   901 19th Street, Denver, Colorado.

          17.    At the Final Approval Hearing, the Court will consider (a) the fairness,

   reasonableness, and adequacy of the proposed class settlement and whether the

   settlement should be granted final approval by the Court; (b) dismissal with prejudice of

   the Action; (c) entry of an order including the Release; (d) entry of the Final Approval

   Order; and (e) entry of final judgment in this Action. Class Counsel’s application for

   award of attorney’s fees and costs, and request for the Court to award a service award

   to the named plaintiffs, shall also be heard at the time of the hearing.

          18.    The date and time of the Final Approval Hearing shall be subject to

   adjournment by the Court without further notice to the members of the Settlement Class,

   other than that which may be posted by the Court. Should the Court adjourn the date for

   the Final Approval Hearing, that shall not alter the deadlines for mailing and publication

   of notice, the Opt-Out deadline, or the deadlines for submissions of settlement

   objections, claims, and notices of intention to appear at the Final Approval Hearing

   unless those dates are explicitly changed by subsequent Order.




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          19.    Any person or entity who or which does not elect to be excluded from the

   Settlement Class may, but need not, enter an appearance through his, her, or its own

   attorney. Settlement Class Members that do not timely object or opt out and that do not

   have an attorney enter an appearance on their behalf will be represented by Class

   Counsel.

          20.    Any person or entity who or which does not elect to be excluded from the

   Settlement Class may object to the proposed Settlement. Any Class member may

   object to, inter alia, (a) the proposed Settlement, (b) entry of Final Approval Order and

   the judgment approving the Settlement, (c) Class Counsel’s application for fees and

   expenses, or (d) service award requests, by serving a written objection upon Class

   Counsel, Chipotle’s counsel, and the Court.

          21.    Any Class member making the objection (an “Objector”) must sign the

   objection personally or through Objector’s counsel. An objection shall include all

   information required by the Settlement Agreement, including the Objector’s name,

   address and telephone number of the objector, proof of class membership, and a

   detailed statement of each objection asserted, including the grounds for objection

   together with any documents such person wishes to be considered in support of the

   objection. The objection must also contain a detailed list of any other objections by the

   Objector and/or by the attorney representing the Objector to any class action

   settlement(s) submitted to any state or federal court in the United States in the previous

   five (5) years.

          22.    If an Objector intends to appear at the hearing, personally or through

   counsel, the Objector must include with the objection a notice of the Objector’s intent to




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   appear at the hearing. If counsel is appearing on behalf of more than one Settlement

   Class member, counsel must identify each such Settlement Class member and each

   Settlement Class member must have complied with the requirements of this Order. No

   objector may appear at the hearing unless the objector indicates an intent to appear.

          23.    Objections, along with any notices of intent to appear and any supporting

   documents, must be filed with the Clerk of the Court no later than one hundred twenty

   (120) days from the date on which the Notice Program commences. These documents

   must be filed with the Clerk of the Court electronically or at the following address:

                          U.S. District Court for the District of Colorado
                                   Office of the Clerk of Court
                     Alfred A. Arraj United States Courthouse, Room A105
                                          901 19th Street
                                        Denver, CO 80294

          23.    Only Settlement Class Members that have filed and served valid and

   timely notices of objection shall be entitled to be heard at the Final Approval Hearing.

   Any Settlement Class member that does not timely file and serve an objection in writing

   in accordance with the procedure set forth in the Class Notice and mandated in this

   Order shall be deemed to have waived any objection to (a) the Settlement; (b) the

   Release; (c) entry of Final Approval Order or any judgment; (d) Class Counsel’s

   application for fees, costs, and expenses; or (e) service award requests for the named

   Plaintiffs, whether by appeal, collateral attack, or otherwise.

          24.    Settlement Class Members need not appear at the hearing or take any

   other action to indicate their approval.

          25.    Upon entry of the Order and Final Judgment all members of the

   Settlement Class that have not personally and timely requested to be excluded from the




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   Settlement Class will be enjoined from proceeding against Defendant with respect to all

   of the Released Claims.

          26.   Chipotle shall prepare and send, at Chipotle’s expense, all notices that are

   required by the Class Action Fairness Act of 2005 (“CAFA”) as specified in 28 U.S.C. §

   1715. Class Counsel and Counsel for Chipotle shall cooperate promptly and fully in the

   preparation of such notices, including providing Chipotle with any and all information in

   their possession necessary for the preparation of these notices. Chipotle shall provide

   courtesy copies of the notices to Class Counsel for the purpose of implementing the

   settlement. Defendant shall provide notice to Class Counsel and the Court of

   compliance with the CAFA requirements within ten (10) days of providing notice to

   Attorneys General under CAFA.

          27.   The schedule by which the events referenced above should occur is as

   follows:

    Event                                        Date

    Chipotle Provides CAFA Notice required       Within 10 days after the filing of Plaintiffs’
    by 28 U.S.C. § 1715(b)                       Motion for Preliminary Approval of the
                                                 Class Action Settlement
    Chipotle Provides Notice to Class            Within 10 days of providing notice to
    Counsel and the Court of Compliance          Attorneys General under CAFA
    with CAFA Requirements
    Class Notice Program Commences               Within 30 days after entry of this
                                                 Preliminary Approval Order

    Compliance with CAFA Waiting Period          90 days after the Appropriate
    under 28 U.S.C. § 1715(d)                    Governmental Officials are Served with
                                                 CAFA Notice

    Motion for Attorney's Fees,                  At Least 14 days before the Objection
    Reimbursement of Costs and Expenses,         Deadline
    and Service Awards to be Filed by Class
    Counsel




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    Postmark Deadline for requests for           120 days after Commencement of Notice
    Exclusion (Opt-Out) or Objections            Program

    Postmark/Filing Deadline for Filing          120 days after Commencement of Notice
    Claims                                       Program

    Motion for Final Approval to be Filed        At Least 21 days before the Final
    by Class Counsel                             Approval Hearing

    Final Approval Hearing                       Approximately 150 days after
                                                 Commencement of Notice Program, or
                                                 _______________


                              Administration of the Settlement

          28.    The Court hereby appoints the claims administrator proposed by the

   parties, RG/2 Claims Administration, LLC (the “Claims Administrator”). Responsibilities

   of the Claims Administrator shall include: (a) establishing a post office box for purposes

   of communicating with Settlement Class Members; (b) disseminating notice to the

   Class; (c) developing a web site to enable Settlement Class Members to access

   documents; (d) accepting and maintaining documents sent from Settlement Class

   Members relating to claims administration; (e) determining validity of Claims in

   accordance with the Settlement Agreement; and (f) distributing settlement checks to

   Settlement Class Members. Pursuant to the Settlement Agreement, Defendant shall pay

   all related costs and expenses associated with the notice, claims, and settlement

   administration. These payments to the Claims Administrator shall be made separate

   and apart from the relief being made available to Settlement Class Members under the

   Settlement.

       29.       The Court hereby appoints the Claims Referee proposed by the parties,

   Bennett G. Picker of the law firm Stradley Ronon Stevens & Young, LLP (the “Claims




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   Referee”). The Claims Referee shall be responsible for deciding certain claims that

   may be rejected by the Claims Administrator, upon request of the Settlement Class

   Member submitting such Claims, as described in the Settlement Agreement.

                     Claims Process and Distribution and Allocation Plan

       30.       The parties have created a process for assessing and determining the

   validity and value of claims and a payment methodology to Settlement Class Members

   who submit a timely, valid claim form. The Court preliminarily approves the plan for

   remuneration described in Section 2.3 of the Settlement Agreement, and directs that the

   Claims Administrator effectuate the distribution of settlement consideration according to

   the terms of the Settlement Agreement, should the Settlement be finally approved. The

   Court further orders that Bank of America Merchant Services (“BAMS”) release all

   information, including any payment card data needed, to the Claims Administrator

   necessary for the Claims Administrator to assess and determine the validity of claims.

       31.       Settlement Class Members who qualify for and wish to submit a claim

   form shall do so in accordance with the requirements and procedures specified in the

   notice and the Claim Form. If final Judgment is entered, all Settlement Class Members

   who qualify for any benefit under the Settlement but fail to submit a claim in accordance

   with the requirements and procedures specified in the notice and the Claim Form shall

   be forever barred from receiving any such benefit, but will in all other respects be

   subject to and bound by the provisions in the Settlement Agreement, the releases

   included in that Agreement, and the final Judgment.




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                                      Additional Provisions

          32.    In the event the Settlement Agreement and the proposed settlement are

   terminated in accordance with the applicable provisions of the Settlement Agreement,

   the Settlement Agreement, the proposed Settlement, and all related proceedings shall,

   except as expressly provided to the contrary in the Settlement Agreement, become null

   and void, shall have no further force and effect, and Settlement Class Members shall

   retain all of their current rights to assert any and all claims against Defendant and any

   other released party, and the Defendant and any other released parties shall retain any

   and all of their current defenses and arguments thereto (including but not limited to

   arguments that the requirements of FED. R. CIV. P. 23(a) and (b)(3) are not satisfied for

   purposes of continued litigation). These Actions shall thereupon revert forthwith to their

   respective procedural and substantive status prior to the date of execution of the

   Settlement Agreement and shall proceed as if the Settlement Agreement and all other

   related orders and papers had not been executed.

          33.    Neither this Order nor the Settlement Agreement nor any other settlement-

   related document nor anything contained herein or therein or contemplated hereby or

   thereby nor any proceedings undertaken in accordance with the terms set forth in the

   Settlement Agreement or herein or in any other settlement-related document, shall

   constitute, be construed as or be deemed to be evidence of or an admission or

   concession by Chipotle as to the validity of any claim that has been or could have been

   asserted against it or as to any liability by it as to any matter set forth in this Order, or as

   to the propriety of class certification for any purposes other than for purposes of the

   current proposed settlement.




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          34.    Except as necessary to effectuate this Order, all proceedings and

   deadlines in this matter are stayed and suspended pending the Final Approval Hearing

   and issuance of the final Judgment, or until further order of this Court.

          35.    The Court reserves the right to adjourn or continue the Final Approval
   Hearing and related deadlines without further written notice to the Class. If the Court
   alters any of those dates or times, the revised dates and times shall be posted on the
   website maintained by the Claims Administrator.


   Dated: _____________________
                                                    Hon. Christine M. Arguello
                                                    United States District Judge




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                          IN THE UNITED STATES DISTRICT COURT
                                                                                  Exhibit E
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:17-cv-01415-CMA-SKC

   TODD GORDON, MARC and KRISTEN
   MERCER, h/w, MICHELLE FOWLER,
   GREG LAWSON, and JUDY CONARD,
   individually and on behalf of all others
   similarly situated,

            Plaintiffs,

      v.

   CHIPOTLE MEXICAN GRILL, INC.,

            Defendant.

                     [PROPOSED] ORDER GRANTING FINAL APPROVAL
                    OF THE CLASS ACTION SETTLEMENT AND JUDGMENT

            Before the Court is Plaintiffs’ unopposed motion requesting that the Court enter an

   Order granting Final Approval of the Class Action Settlement involving Plaintiffs Todd

   Gordon, Marc Mercer, Kristen Mercer, Michelle Fowler, Judy Conard and Greg Lawson

   (hereinafter “Plaintiffs”) and Defendant Chipotle Mexican Grill, Inc. (hereinafter

   “Defendant”), as fair, reasonable and adequate, awarding attorneys’ fees and costs to

   Class Counsel as outlined herein, and awarding service awards to Plaintiffs as detailed

   below.

            Having reviewed and considered the Settlement Agreement and the motions for

   final approval of the settlement, an award of attorneys’ fees and costs, and service awards

   to the Plaintiffs, and having conducted a final approval hearing, the Court makes the

   findings and grants the relief set forth below approving the settlement upon the terms and

   conditions set forth in this Order.
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          WHEREAS, on ___________________, the Court entered a Preliminary Approval

   Order which among other things: (a) conditionally certified this matter as a class action,

   including defining the class and class claims, appointing Plaintiffs as Class

   Representatives, and appointing Proposed Counsel as Class Counsel; (b) preliminarily

   approved the Settlement Agreement; (c) approved the form and manner of Notice to the

   Settlement Class; (d) set deadlines for opt-outs and objections; (e) approved and

   appointed the claims administrator; and (f) set the date for the Final Fairness Hearing;

          WHEREAS, on          ___________________[DATE],           pursuant to the notice

   requirements set forth in the Settlement Agreement and in the Preliminary Approval

   Order, the Settlement Class was notified of the terms of the proposed Settlement

   Agreement, of the right of Settlement Class Members to opt-out, and the right of

   Settlement Class Members to object to the Settlement Agreement and to be heard at a

   Final Fairness Hearing;

          WHEREAS, on ___________________[DATE], the Court held a Final Fairness

   Hearing to determine, inter alia: (1) whether the terms and conditions of the Settlement

   Agreement are fair, reasonable, and adequate for the release of the claims contemplated

   by the Settlement Agreement; and (2) whether judgment should be entered dismissing

   this action with prejudice. Prior to the Final Fairness Hearing, a declaration of compliance

   with the provisions of the Settlement Agreement and Preliminary Approval Order relating

   to notice was filed with the Court as required by the Preliminary Approval Order.

   Therefore, the Court is satisfied that Settlement Class Members were properly notified of

   their right to appear at the final approval hearing in support of or in opposition to the

   proposed Settlement Agreement, the award of attorneys’ fees and costs to Class

   Counsel, and the payment of Service Awards to the Representative Plaintiffs;


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          WHEREAS, the Court not being required to conduct a trial on the merits of the

   case or determine with certainty the factual and legal issues in dispute when determining

   whether to approve a proposed class action settlement; and

          WHEREAS, the Court being required under Federal Rule of Civil Procedure 23(e)

   to make the findings and conclusions hereinafter set forth for the limited purpose of

   determining whether the settlement should be approved as being fair, reasonable,

   adequate and in the best interests of the Settlement Class;

          Having given an opportunity to be heard to all requesting persons in accordance

   with the Preliminary Approval Order, having heard the presentation of Class Counsel and

   counsel for Chipotle, having reviewed all of the submissions presented with respect to the

   proposed Settlement Agreement, having determined that the Settlement Agreement is

   fair, adequate, and reasonable, having considered the application made by Class

   Counsel for attorneys’ fees and costs and expenses, and the application for Service

   Awards to the Representative Plaintiffs, and having reviewed the materials in support

   thereof, and good cause appearing:

          IT IS ORDERED that:

          1.     The Court has jurisdiction over the subject matter of this action and over all

   claims raised therein and all Parties thereto, including the Settlement Class.

          2.     The Settlement involves allegations in Plaintiffs’ Class Action Complaint

   and Jury Demand against Defendant for failure to implement or maintain adequate data

   security measures for customer information, including Card Information, directly and

   proximately caused injuries to Plaintiffs and the Class.




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          3.     The settlement does not constitute an admission of liability by Defendant,

   and the Court expressly does not make any finding of liability or wrongdoing by

   Defendant.

          4.     Unless otherwise noted, words spelled in this Order with initial capital letters

   have the same meaning as set forth in the Settlement Agreement.

          5.     The Court, having reviewed the terms of the Settlement Agreement

   submitted by the parties pursuant to Federal Rule of Civil Procedure 23(e)(2), grants final

   approval of the Settlement Agreement and for purposes of the Settlement Agreement and

   this Final Approval Order and Judgment only, the Court hereby finally certifies the

   following Settlement Class:

          All persons residing in the United States who used a payment card to
          make a purchase at an affected Chipotle or Pizzeria Locale in-store point-
          of-sale device during the Security Incident, which as described in the
          definition of Security Incident occurred during the time frames and at the
          stores set forth in Exhibit F to the Settlement Agreement and Appendix A
          to the Publication Notice.

   Excluded from the Settlement Class are (i) Chipotle and its officers and directors; (ii) all

   Settlement Class Members who timely and validly request exclusion from the Settlement

   Class; (iii) the Judge assigned to evaluate the fairness of this settlement; (iv) the attorneys

   representing the Parties in the Litigation; (v) banks and other entities that issued payment

   cards which were utilized at Chipotle during the Security Incident; and (vi) any other

   Person found by a court of competent jurisdiction to be guilty under criminal law of

   initiating, causing, aiding or abetting the criminal activity occurrence of the Security

   Incident or who pleads nolo contendere to any such charge.

          6.     The Settlement was entered into in good faith following arm’s length

   negotiations and is non-collusive. The Settlement is in the best interests of the Settlement

   Class and is therefore approved. The Court finds that the Parties faced significant risks,

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   expenses, delays and uncertainties, including as to the outcome, including on appeal, of

   continued litigation of this complex matter, which further supports the Court’s finding that

   the Settlement Agreement is fair, reasonable, adequate and in the best interests of the

   Settlement Class Members. The Court finds that the uncertainties of continued litigation

   in both the trial and appellate courts, as well as the expense associated with it, weigh in

   favor of approval of the settlement reflected in the Settlement Agreement.

          7.     The Settlement Agreement provides, in part, and subject to a more detailed

   description of the settlement terms in that Agreement, for:

                 A.     Defendant to institute a Settlement Claims Process as outlined in the
                        Settlement Agreement whereby Class Members can submit claims
                        that will be evaluated by a Claims Administrator mutually agreed
                        upon by Class Counsel and Defendant.

                 B.     Defendant to pay all costs of Claims Administration and Settlement
                        Administration, including the cost of Claims Administrator, instituting
                        notice, processing and administering claims, and preparing and
                        mailing checks.

                 C.     Defendant to pay, subject to the approval and award of the Court,
                        the reasonable attorneys’ fees of Class Counsel and service awards
                        to the Class Representatives.

   The Court readopts and incorporates herein by reference its preliminary conclusions as

   to the satisfaction of Federal Rule of Civil Procedure 23(a) and (b)(3) set forth in the

   Preliminary Approval Order and notes again that because this certification of the

   Settlement Class is in connection with the Settlement Agreement rather than litigation,

   the Court need not address any issues of manageability that may be presented by

   certification of the class proposed in the Settlement Agreement.

          8.     The terms of the Settlement Agreement are fair, adequate, and reasonable

   and are hereby approved, adopted, and incorporated by the Court. Notice of the terms

   of the Settlement, the rights of Class Members under the Settlement, Final Approval



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   Hearing, the application for counsel fees and costs and expenses, and the proposed

   service award payments to the Class Representative have been provided to Settlement

   Class Members as directed by this Court’s Orders, and proof of Notice has been filed with

   the Court.

            9.    The Court finds that such Notice as therein ordered, was the best possible

   notice practicable under the circumstances and constitutes valid, due, and sufficient

   notice to all Settlement Class Members in compliance with the requirements of Federal

   Rule of Civil Procedure 23(c)(2)(B).

            10.   The Court finds that Chipotle has fully complied with the notice requirements

   of the Class Action Fairness Act of 2005, 28 U.S.C. § 1715.

            11.   As of the Opt-Out deadline, ____ potential Settlement Class Members have

   requested to be excluded from the Settlement. Their names are set forth in Exhibit A to

   this Order. Those persons are not bound by this Order, as set forth in the Settlement

   Order.

            12.   The Court has considered all the documents filed in support of the

   settlement, and has fully considered all matters raised, all exhibits and affidavits filed, all

   evidence received at the final hearing, all other papers and documents comprising the

   record herein, and all oral arguments presented to the Court.

            13.   The parties, their respective attorneys, and the Claims Administrator are

   hereby directed to consummate the settlement in accordance with this Order and the

   terms of the Settlement Agreement.

            14.   Pursuant   to   the   Settlement    Agreement,      Defendant,    the   Claims

   Administrator, and Class Counsel shall implement the settlement in the manner and time

   frame as set forth therein.


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         15.    Within the time period set forth in the Settlement Agreement, the relief

   provided for in the Settlement Agreement shall be made available to the various

   Settlement Class Members submitting valid Claim Forms, pursuant to the terms and

   conditions of the Settlement Agreement.

         16.    Pursuant to and as further described in the Settlement Agreement, Plaintiffs

   and the Settlement Class Members release claims as follows:

         any and all claims and causes of action that were or could have been
         brought in the Litigation based on, relating to, concerning or arising out of
         the Security Incident and alleged theft of payment card data or other
         personal information or the allegations, facts, or circumstances described
         in the Litigation including, without limitation, any violations of the Colorado,
         Arizona, Missouri, Illinois, and similar state consumer protection statutes;
         any violation of the California Customer Records Act, California Unfair
         Competition Law, California Consumers Legal Remedies Act; negligence;
         negligence per se; breach of contract; breach of implied contract; breach of
         fiduciary duty; breach of confidence; invasion of privacy; misrepresentation
         (whether fraudulent, negligent or innocent); unjust enrichment; bailment;
         wantonness; failure to provide adequate notice pursuant to any breach
         notification statute or common law duty; and including, but not limited to,
         any and all claims for damages, injunctive relief, disgorgement, declaratory
         relief, equitable relief, attorneys’ fees and expenses, pre-judgment interest,
         credit monitoring services, the creation of a fund for future damages,
         statutory damages, punitive damages, special damages, exemplary
         damages, restitution, the appointment of a receiver, and any other form of
         relief that either has been asserted, or could have been asserted, by any
         Settlement Class Member against any of the Released Persons based on,
         relating to, concerning or arising out of the Security Incident and alleged
         theft of payment card data or other personal information or the allegations,
         facts, or circumstances described in the Litigation.

   Released Claims shall not include the right of any Settlement Class Member or any of the

   Released Persons to enforce the terms of the settlement contained in this Settlement

   Agreement, and shall not include the claims of Settlement Class Members who have

   timely excluded themselves from the Settlement Class.

         17.    Pursuant to the Settlement Agreement, and in recognition of their efforts on

   behalf of the Settlement Class, the Court approves payments to Plaintiffs in the total


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   amount of $2,500 each as a service award for their efforts on behalf of the Settlement

   Class. Class Counsel shall make such payment in accordance with the terms of the

   Settlement Agreement.

            18.   The Court has appointed Benjamin F. Johns of Chimicles Schwartz Kriner

   & Donaldson-Smith LLP, Tina Wolfson of Ahdoot & Wolfson, PC, and Jean Sutton Martin

   of Morgan & Morgan as Class Counsel.

            19.   The Court, after careful review of the time entries and rates requested by

   Class Counsel, and after applying the appropriate standards required by relevant case

   law, hereby grants Class Counsel’s application for attorneys’ fees and costs in the amount

   of $1,200,000.00, and grants the request for service awards to each of the Representative

   Plaintiffs in the amount of $2,500. Payment shall be made pursuant to the terms of the

   Settlement Agreement.

            20.   This Order resolves all claims against all parties in this action and is a final

   order.

            21.   The matter is hereby dismissed with prejudice and without costs except that

   the Court reserves jurisdiction over the consummation and enforcement of the settlement,

   without affecting the finality of this Final Approval Order and Judgment.



   Dated: _____________________
                                                      Hon. Christine M. Arguello
                                                      United States District Judge




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                                                                                                   Exhibit F
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                                                   List of Affected Chipotle Stores

 State                City                              Street Address                  Zip Code   Affected Time Period
AL       Auburn               346 W Magnolia Ave                                      36832        3/26/2017 - 4/18/2017
AL       Birmingham           4719 Highway 280 South                                  35243        3/26/2017 - 4/18/2017
AL       Birmingham           3220 Morrow Road, ste 100                               35235        4/11/2017 - 4/18/2017
AL       Birmingham           300 20th Street South                                   35233        3/27/2017 - 4/18/2017
AL       Hoover               1759 Montgomery Highway South                           35244        3/28/2017 - 4/18/2017
AL       Huntsville           5900 University Drive                                   35806        3/26/2017 - 4/18/2017
AL       Mobile               3871 Airport Blvd.                                      36608         3/26/2017 - 4/8/2017
AL       Montgomery           2560 Berryhill Road, Unit C                             36117         4/2/2017 - 4/18/2017
AL       Opelika              2125 Interstate Drive                                   36801        3/27/2017 - 4/18/2017
AL       Prattville           2566 Cobbs Ford Rd                                      36066         3/27/2017 - 4/8/2017
AL       Tuscaloosa           1800 McFarland Blvd. East, Ste 608                      35404        3/25/2017 - 4/18/2017
AL       Tuscaloosa           1203 Univ Blvd                                          35401         4/2/2017 - 4/18/2017
AL       Vestavia Hills       1031 Montgomery Highway, Suite 111                      35216        3/27/2017 - 4/18/2017
AR       Bentonville          2400 SE Walton Blvd                                     72712        3/26/2017 - 4/18/2017
AR       Conway               915 East Oak Street                                     72032        3/27/2017 - 4/18/2017
AR       Fayetteville         550 W. Dickson Street                                   72701        3/26/2017 - 4/18/2017
AR       Fayetteville         3379 N. College Ave., Suite 8                           72703        3/27/2017 - 4/18/2017
AR       Little Rock          11525 Cantrell Road, Bld 1000                           72212        3/26/2017 - 4/18/2017
AR       Little Rock          100 S. University Ave.                                  72205        3/26/2017 - 4/18/2017
AZ       Avondale             9925 West McDowell Road                                 85323        3/25/2017 - 4/18/2017
AZ       Buckeye              944 S. Watson Rd., suite 101                            85326        3/25/2017 - 4/18/2017
AZ       Casa Grande          1775 E. Florence Blvd, Suite 101                        85222        3/25/2017 - 4/18/2017
AZ       Chandler             890 N 54th Street, #5                                   85226        3/25/2017 - 4/18/2017
AZ       Chandler             3395 W Chandler Blvd, Suite 1*                          85226        3/25/2017 - 4/18/2017
AZ       Chandler             2895 Alma School Road, Suite 1                          85286        3/25/2017 - 4/18/2017
AZ       Flagstaff            1111 S. Plaza Way                                       86001        3/25/2017 - 4/18/2017
AZ       Gilbert              3757 South Gilbert Road, Ste 110                        85297        3/25/2017 - 4/18/2017
AZ       Gilbert              2224 E. Williams Field Rd., #109                        85295        3/25/2017 - 4/13/2017
AZ       Gilbert              1546 N. Cooper Road                                     85233        3/25/2017 - 4/18/2017
AZ       Gilbert              1084 S. Gilbert Rd., #104                               85296        3/25/2017 - 4/18/2017
AZ       Glendale             9410 W. Hanna Lane, A-101                               85305        3/25/2017 - 4/18/2017
AZ       Glendale             7700 W. Arrowhead Towne Center Dr., #2067               85308        3/25/2017 - 4/18/2017
AZ       Glendale             5880 W THUNDERBIRD RD SUITE 2                           85306        3/25/2017 - 4/18/2017
AZ       Glendale             5849 W. Northern Ave., Suite 500                        85301        3/25/2017 - 4/18/2017
AZ       Glendale             20004 North 67th Ave., #500                             85308        3/25/2017 - 4/18/2017
AZ       Goodyear             1560 North Litchfield Road                              85338        3/25/2017 - 4/18/2017
AZ       Kingman              3455 Stockton Hill Rd.                                  86401        4/11/2017 - 4/18/2017
AZ       Lake Havasu City     55 S Lake Havasu Ave Ste M                              86403        3/25/2017 - 4/18/2017
AZ       Laveen               5130 W. Baseline Rd., 105                               85339        3/25/2017 - 4/18/2017



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                                                    List of Affected Chipotle Stores

 State               City                               Street Address                   Zip Code   Affected Time Period
AZ       Marana               5940 W. Arizona Pavillions Drive, 110                    85743        3/27/2017 - 4/18/2017
AZ       Maricopa             21423 N. John Wayne Pkwy, Ste 105                        85138        3/27/2017 - 4/18/2017
AZ       Mesa                 6602 E Superstition Springs Blvd.                        85206        3/25/2017 - 4/18/2017
AZ       Mesa                 4984 South Power Road, Suite 107                         85212        3/25/2017 - 4/18/2017
AZ       Mesa                 3440 E Baseline Rd, Unit 104                             85204        3/25/2017 - 4/18/2017
AZ       Mesa                 2849 N Power Rd #101                                     85215        4/11/2017 - 4/18/2017
AZ       Mesa                 1955 S Signal Butte Rd, Ste 101-102                      85209        3/25/2017 - 4/18/2017
AZ       Mesa                 1335 S. Alma School Rd, Suite 105                        85210        4/11/2017 - 4/18/2017
AZ       Oro Valley           10604 N. Oracle Rd, Ste 101                              85704        4/11/2017 - 4/18/2017
AZ       Peoria               9940 W. Happy Valley Road, Suite 100                     85383        3/25/2017 - 4/18/2017
AZ       Peoria               16680 N. 83rd Avenue, Suite 101                          85382        3/25/2017 - 4/18/2017
AZ       Phoenix              7427 W Thomas Rd                                         85033        3/25/2017 - 4/18/2017
AZ       Phoenix              52 E Camelback Road Suite 200                            85012        3/27/2017 - 4/18/2017
AZ       Phoenix              4622 E. Cactus Road                                      85032        3/25/2017 - 4/18/2017
AZ       Phoenix              4423 E Thomas Rd, Ste B                                  85018        3/27/2017 - 4/18/2017
AZ       Phoenix              425 E. Bell Road, Ste 140                                85023        3/25/2017 - 4/18/2017
AZ       Phoenix              4111 East Chandler Blvd                                  85048        4/11/2017 - 4/18/2017
AZ       Phoenix              3125 EAST INDIAN SCHOOL ROAD, SUITE 101                  85016        3/27/2017 - 4/18/2017
AZ       Phoenix              3039 W Peoria Ave, Ste C105                              85029        3/25/2017 - 4/18/2017
AZ       Phoenix              3009 W. Aqua Fria Freeway, Ste #1                        85027        3/25/2017 - 4/18/2017
AZ       Phoenix              2470 West Happy Valley Rd., Suite 1181                   85085        3/25/2017 - 4/18/2017
AZ       Phoenix              2415 E. Baseline Rd.^                                    85042        3/25/2017 - 4/13/2017
AZ       Phoenix              21001 N Tatum Blvd., Ste. 18-1100                        85050        3/27/2017 - 4/18/2017
AZ       Phoenix              16635 N. Tatum Blvd, Ste 100                             85032        3/27/2017 - 4/18/2017
AZ       Phoenix              1660 E Camelback Rd, Ste 185                             85014        3/25/2017 - 4/18/2017
AZ       Phoenix              1515 N 7th Ave Suite 120                                 85003         3/25/2017 - 4/8/2017
AZ       Phoenix              11 W Washington St, Suite 140                            85003        3/25/2017 - 4/18/2017
AZ       Prescott             351 N Montezuma St                                       86301        4/11/2017 - 4/18/2017
AZ       Prescott Valley      5791 E. State Route 69, Ste 100                          86314        3/27/2017 - 4/18/2017
AZ       Queen Creek          21172 South Ellsworth Loop Rd. Ste 114                   85142        3/25/2017 - 4/18/2017
AZ       Scottsdale           9301 E Shea Blvd., #F102                                 85260        3/25/2017 - 4/18/2017
AZ       Scottsdale           9010 E Indian Bend Rd                                    85260        3/25/2017 - 4/18/2017
AZ       Scottsdale           8320 N HAYDEN #E108-109                                  85258        3/25/2017 - 4/18/2017
AZ       Scottsdale           7014 East Camelback Road, Ste 580                        85251        3/27/2017 - 4/18/2017
AZ       Scottsdale           4513 N. Scottsdale Road, Suite 108                       85251        3/25/2017 - 4/18/2017
AZ       Scottsdale           2805 N Scottsdale Road                                   85257        4/11/2017 - 4/18/2017
AZ       Scottsdale           20851 N. Scottsdale Rd., Suite 101, Building D           85255        3/25/2017 - 4/18/2017
AZ       Scottsdale           15425 N. Scottsdale Road #160                            85254        3/25/2017 - 4/18/2017
AZ       Scottsdale           15035 E. Thompson Peak Pkwy., Suite 1                    85260        3/25/2017 - 4/12/2017



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                                                   List of Affected Chipotle Stores

 State                City                               Street Address                 Zip Code   Affected Time Period
AZ       Scottsdale            11015 N Scottsdale Rd., Ste 100                        85254        3/27/2017 - 4/18/2017
AZ       Sedona                361 Forest Road, Ste B                                 86336        3/27/2017 - 4/18/2017
AZ       Sierra Vista          480 N Hwy 90, Suite A6                                 85635        3/25/2017 - 4/18/2017
AZ       Surprise              13869 W. Bell Road Suite 107                           85374        3/25/2017 - 4/18/2017
AZ       Tempe                 815 East Baseline Road                                 85283        3/24/2017 - 4/18/2017
AZ       Tempe                 2020 East Elliot Road, Ste 102                         85283        3/27/2017 - 4/18/2017
AZ       Tempe                 2000 E. Rio Salado Pkwy, Suite C                       85281        3/25/2017 - 4/18/2017
AZ       Tempe                 1038 South Mill Avenue                                 85281        3/25/2017 - 4/18/2017
AZ       Tucson                9484 E. 22nd Street, Suite 130                         85710        3/25/2017 - 4/18/2017
AZ       Tucson                905 East University Blvd., #149                        85719        3/25/2017 - 4/18/2017
AZ       Tucson                7555 N. La Cholla Blvd.                                85741        3/25/2017 - 4/18/2017
AZ       Tucson                6501 E Grant Rd, Ste 141                               85715        3/27/2017 - 4/18/2017
AZ       Tucson                635 W. Ina Road                                        85704        3/24/2017 - 4/18/2017
AZ       Tucson                5870 East Broadway, Ste 3001                           85711        3/25/2017 - 4/18/2017
AZ       Tucson                4774 EAST GRANT RD                                     85712        3/25/2017 - 4/18/2017
AZ       Tucson                4500 North Oracle Road, Suite FC10                     85705        3/25/2017 - 4/18/2017
AZ       Tucson                3055 N. Campbell Avenue, #183                          85711         3/25/2017 - 4/8/2017
AZ       Tucson                235 West Wetmore Road, #101*                           85705        3/25/2017 - 4/18/2017
AZ       Yuma                  1525 S. Yuma Palms Pkwy, Ste 101                       85365        3/25/2017 - 4/18/2017
CA       Alameda               2610 Fifth Street, Ste A                               94501        3/25/2017 - 4/18/2017
CA       Alameda               2314 South Shore Center Drive, #450                    94501        3/25/2017 - 4/18/2017
CA       Alhambra              2121 W. Main Street, Ste. 210                          91801        3/25/2017 - 4/18/2017
CA       Anaheim               927 S. Euclid Street, Suite B                          92802        3/25/2017 - 4/18/2017
CA       Anaheim               8182 E. SANTA ANA CANYON RD STE. 195                   92808        3/25/2017 - 4/18/2017
CA       Anaheim               2002 E. Lincoln Avenue                                 92806        3/27/2017 - 4/18/2017
CA       Apple Valley          19179 Bear Valley Road, Suite E                        92308        3/25/2017 - 4/18/2017
CA       Arcadia               400 S. Baldwin Avenue, #FC-9                           91007        3/25/2017 - 4/18/2017
CA       Arroyo Grande         1229 E Grand Ave, Suite 101                            93420        3/27/2017 - 4/18/2017
CA       Auburn                2845 Bell Road                                         95603        3/27/2017 - 4/18/2017
CA       Azusa                 860 East Alosta Ave, Suite B3                          91702        3/25/2017 - 4/18/2017
CA       Bakersfield           5321 Gosford Rd #105                                   93313        3/25/2017 - 4/18/2017
CA       Bakersfield           4950 STOCKDALE HIGHWAY                                 93309        3/25/2017 - 4/18/2017
CA       Bakersfield           4580 Coffee Road, Suite A                              93308        3/25/2017 - 4/18/2017
CA       Bakersfield           2701 Ming Ave, 0200                                    93304        3/27/2017 - 4/18/2017
CA       Bakersfield           10510 Stockdale Hwy.                                   93311         3/25/2017 - 4/8/2017
CA       Baldwin Hills         3939 Crenshaw Blvd., Suite A                           90008        3/25/2017 - 4/18/2017
CA       Barstow               2590 Highpoint Parkway                                 92311        3/25/2017 - 4/18/2017
CA       Bell Gardens          6821 Eastern Avenue, Unit B, Unit #B                   90201        3/27/2017 - 4/18/2017
CA       Berkeley              2311 Telegraph Ave                                     94704        3/25/2017 - 4/18/2017



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                                                     List of Affected Chipotle Stores

 State               City                               Street Address                    Zip Code   Affected Time Period
CA       Berkeley             1050 Gilman Street                                        94710        3/25/2017 - 4/18/2017
CA       Beverly Hills        475 N. Beverly Dr.                                        90210        3/25/2017 - 4/18/2017
CA       Beverly Hills        244 South Beverly Drive                                   90212        3/25/2017 - 4/18/2017
CA       Brea                 477 S Associated Rd, Suite D                              92821        4/11/2017 - 4/18/2017
CA       Brea                 1065 Brea Mall, 2160                                      92821        3/25/2017 - 4/18/2017
CA       Brentwood            5401 Lone Tree Way, Suite 100                             94513        3/25/2017 - 4/18/2017
CA       Buellton             205 E Highway 246, Unit 2                                 93427        4/11/2017 - 4/18/2017
CA       Buena Park           5976 Orangethorpe Ave.                                    90620        3/25/2017 - 4/18/2017
CA       Burbank              135 E Palm Ave, Space A2                                  91502        3/25/2017 - 4/18/2017
CA       Calabasas            26791 Agoura Road, Suite D1                               91302        3/27/2017 - 4/18/2017
CA       Camarillo            660 East Ventura Blvd, Ste 500                            93010        3/27/2017 - 4/18/2017
CA       Campbell             1815 S. Bascom Ave, Suite 1                               95008        3/25/2017 - 4/18/2017
CA       Canoga Park          6600 Topanga Canyon Blvd.                                 91303        3/25/2017 - 4/18/2017
CA       Capitola             1955 41st Avenue                                          95010         3/27/2017 - 4/8/2017
CA       Carlsbad             3416 Via Mercato, 110                                     92009         3/25/2017 - 4/8/2017
CA       Carlsbad             2505 Palomar Airport Road, Bldg 4, Ste 100^               92011        3/27/2017 - 4/13/2017
CA       Carson               20420 S. Avalon Blvd., Suite A, A                         90746        3/27/2017 - 4/18/2017
CA       Castro Valley        3369 CASTRO VALLEY BLVD                                   94546        3/27/2017 - 4/18/2017
CA       Cerritos             459 Los Cerritos Mall                                     90703         3/27/2017 - 4/8/2017
CA       Cerritos             12560 Artesia Blvd.                                       90703        3/25/2017 - 4/18/2017
CA       Chatsworth           9175 De Soto Ave.                                         91311        3/25/2017 - 4/18/2017
CA       Chico                620 Mangrove Avenue                                       95926        3/25/2017 - 4/18/2017
CA       Chico                1960 E. 20th Street, Suite 100                            95928        3/27/2017 - 4/18/2017
CA       Chino                12188 Central Ave                                         91710        3/25/2017 - 4/18/2017
CA       Chino Hills          13920 City Center Dr., Suite 4005                         91709        3/25/2017 - 4/18/2017
CA       Chula Vista          720 Otay Lakes Rd                                         91910        3/25/2017 - 4/18/2017
CA       Chula Vista          569 H Street                                              91910        3/25/2017 - 4/18/2017
CA       Chula Vista          2290 Otay Lakes Rd., Suite 102                            91915        3/27/2017 - 4/18/2017
CA       Citrus Heights       5851 Sunrise Blvd.                                        95610        3/25/2017 - 4/18/2017
CA       City Of Industry     17427 Colima Road                                         91748        3/25/2017 - 4/18/2017
CA       Clovis               1840 Herndon Ave, Suite 101                               93619        3/27/2017 - 4/18/2017
CA       Clovis               1210 Shaw Avenue, Suite PB1                               93612        3/25/2017 - 4/18/2017
CA       Colma                990 Serramonte Boulevard, Suite D                         94014        3/25/2017 - 4/18/2017
CA       Compton              1759 S. Alameda St., Ste 104                              90220        3/27/2017 - 4/18/2017
CA       Concord              785 Oak Grove Road, E1                                    94518        3/25/2017 - 4/18/2017
CA       Corona               2560 Tuscany Road, 102                                    92881        3/27/2017 - 4/18/2017
CA       Corona               1160 E. Ontario Ave., Unit 101                            92881        3/25/2017 - 4/18/2017
CA       Costa Mesa           2300 Harbor Blvd. Ste. L-1                                92627        3/25/2017 - 4/18/2017
CA       Culver City          9512 Culver Blvd.                                         90232        3/25/2017 - 4/18/2017



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                                                     List of Affected Chipotle Stores

 State               City                              Street Address                     Zip Code   Affected Time Period
CA       Culver City          6150 West Slauson Ave., 106                               90230        3/27/2017 - 4/18/2017
CA       Culver City          6000 Sepulveda Blvd., Suite 3236                          90230        3/27/2017 - 4/18/2017
CA       Culver City          4114 Sepulveda Blvd., Suite G                             90230        3/25/2017 - 4/18/2017
CA       Cupertino            20688 Homestead Rd                                        95014        3/27/2017 - 4/18/2017
CA       Cupertino            10385 S. De Anza Blvd.                                    95014        3/25/2017 - 4/18/2017
CA       Cypress              6859 Katella Ave                                          90630        3/25/2017 - 4/18/2017
CA       Daly City            213 Westlake Center                                       94015        3/25/2017 - 4/18/2017
CA       Danville             33 Railroad Avenue                                        94526        3/25/2017 - 4/18/2017
CA       Davis                227 E STREET                                              95617        3/25/2017 - 4/18/2017
CA       Del Mar              2710 Via De La Valle #B290                                92014        3/25/2017 - 4/18/2017
CA       Downey               8890 Apollo Way, Suite A                                  90242        3/27/2017 - 4/18/2017
CA       Downey               8512 Firestone Blvd.                                      90241        3/28/2017 - 4/18/2017
CA       Dublin               7020 Amador Plaza Road                                    94568        3/27/2017 - 4/18/2017
CA       Dublin               5240 Dublin Blvd, Ste S2J                                 94568        3/27/2017 - 4/18/2017
CA       El Cajon             225 Jamacha Road, Ste 105                                 92019        3/27/2017 - 4/18/2017
CA       El Cajon             12098 Fury Lane                                           92019        3/27/2017 - 4/18/2017
CA       El Cerrito           9901 San Pablo Avenue                                     94530        3/25/2017 - 4/18/2017
CA       El Monte             10761 Valley Blvd., Suite C                               91732        3/27/2017 - 4/18/2017
CA       El Segundo           307 N. Sepulveda Blvd., Suite B                           90245        3/25/2017 - 4/18/2017
CA       Elk Grove            7440 Laguna Blvd. #124                                    95758        3/24/2017 - 4/18/2017
CA       Encinitas            268 North El Camino Real                                  92024        3/25/2017 - 4/18/2017
CA       Encino               16350-A Ventura Blvd.                                     91436        3/25/2017 - 4/18/2017
CA       Escondido            1282 - A Auto Parkway                                     92029        3/25/2017 - 4/13/2017
CA       Escondido            1201 E Valley Pkwy                                        92027        3/25/2017 - 4/18/2017
CA       Fair Oaks            5223 Hazel Avenue                                         95628        3/27/2017 - 4/18/2017
CA       Fairfield            1586 Gateway Blvd. Ste. B                                 94533        3/25/2017 - 4/18/2017
CA       Fallbrook            1117 S. Mission Road                                      92028        3/27/2017 - 4/18/2017
CA       Folsom               2379 Iron Point Road Ste B                                95630        3/25/2017 - 4/18/2017
CA       Folsom               1001 E Bidwell Suite 106                                  95630        3/25/2017 - 4/18/2017
CA       Fontana              16595 Sierra Lakes Parkway, Suite #100                    92336        4/11/2017 - 4/18/2017
CA       Fontana              10515 Sierra Ave, D                                       92337        3/27/2017 - 4/18/2017
CA       Foothill Ranch       26552 Town Center Drive                                   92610        3/25/2017 - 4/18/2017
CA       Fountain Valley      18951 Brookhurst                                          92708        3/24/2017 - 4/18/2017
CA       Fremont              5565 Automall Pkwy                                        94538        3/25/2017 - 4/18/2017
CA       Fremont              44029 Osgood Road, 106                                    94539        3/27/2017 - 4/18/2017
CA       Fremont              2760 Mowry Avenue*                                        94538        3/25/2017 - 4/18/2017
CA       Fresno               80 E. Nees Ave.                                           93720        3/25/2017 - 4/18/2017
CA       Fresno               521 East Shaw Avenue, 107                                 93710        3/27/2017 - 4/18/2017
CA       Fresno               5128 NORTH PALM AVE                                       93704        3/25/2017 - 4/18/2017



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 State               City                             Street Address                     Zip Code   Affected Time Period
CA       Fresno              4978 N. Cedar Ave.                                        93726        3/25/2017 - 4/18/2017
CA       Fresno              4424 West Shaw Ave.                                       93722        3/27/2017 - 4/18/2017
CA       Fullerton           501 N. State College Blvd Suite A                         92832        3/25/2017 - 4/18/2017
CA       Fullerton           101 E Orangethrope Ave, Suite A                           92832        4/11/2017 - 4/18/2017
CA       Garden Grove        9737 Champan Avenue                                       92844        3/27/2017 - 4/18/2017
CA       Gardena             1753-A W Artesia Blvd.                                    90248        3/25/2017 - 4/18/2017
CA       Gilroy              6955 Camino Arroyo, Suite 70                              95020        3/25/2017 - 4/18/2017
CA       Glendale            155 N. Brand Blvd.                                        91203        3/27/2017 - 4/18/2017
CA       Glendale            132 North Glendale Avenue                                 91206        3/25/2017 - 4/18/2017
CA       Glendale            100 West Broadway, Suite FC12                             91210        3/27/2017 - 4/18/2017
CA       Glendora            1365 E. Gladstone St., Ste. 700*                          91740        3/25/2017 - 4/18/2017
CA       Goleta              270 South Storke Rd., Suite F                             93117        3/25/2017 - 4/18/2017
CA       Granada Hills       16959 Devonshire St                                       91356        3/27/2017 - 4/18/2017
CA       Hanford             366 North 12th Avenue, Suite 113                          93230        3/27/2017 - 4/18/2017
CA       Hawthorne           5330 Rosecrans Ave.                                       90250        3/25/2017 - 4/18/2017
CA       Hemet               2465 West Florida Ave.                                    92545        3/25/2017 - 4/18/2017
CA       Hermosa Beach       1439 Pacific Coast Highway                                90254        3/25/2017 - 4/18/2017
CA       Hesperia            9770 Mariposa                                             92345        3/25/2017 - 4/18/2017
CA       Huntington Beach    7101 Yorktown Ave, Ste 109                                92648        3/27/2017 - 4/18/2017
CA       Huntington Beach    16241 Beach Blvd.                                         92647        3/25/2017 - 4/18/2017
CA       Irvine              81 Fortune Drive                                          92618        3/25/2017 - 4/18/2017
CA       Irvine              6424 Irvine Blvd.                                         92620        3/25/2017 - 4/18/2017
CA       Irvine              4255 Campus Drive, Suite A 116                            92612        3/27/2017 - 4/18/2017
CA       Irvine              3966 B Barranca Parkway                                   92606        3/25/2017 - 4/18/2017
CA       Irvine              3955 IRVINE BLVD                                          92620        3/25/2017 - 4/18/2017
CA       La Canada           895 Foothill Blvd, Ste A                                  91011        3/25/2017 - 4/18/2017
CA       La Habra            1202 S. Idaho Street, Unit A                              90631        3/25/2017 - 4/18/2017
CA       La Jolla            8657 Villa La Jolla                                       92037        3/25/2017 - 4/18/2017
CA       La Jolla            1055 Torrey Pines Road, Suite 101                         92037        3/25/2017 - 4/18/2017
CA       La Mesa             8005 FLETCHER PARKWAY                                     91942        3/25/2017 - 4/18/2017
CA       La Quinta           79-174 Highway 111, Suite 101                             92253        3/25/2017 - 4/18/2017
CA       La Verne            2298 Foothill Blvd.                                       91750        3/25/2017 - 4/18/2017
CA       Lafayette           3518 Mt. Diablo Blvd, Ste F                               94549         3/25/2017 - 4/8/2017
CA       Laguna Niguel       32391 Golden Lantern , Suite A                            92677        3/25/2017 - 4/18/2017
CA       Laguna Niguel       27221 La Paz Road, Suite H                                92656        3/25/2017 - 4/18/2017
CA       Lake Forest         23645 El Toro Road                                        92630        3/25/2017 - 4/18/2017
CA       Lake Forest         22379 EL TORO ROAD                                        92630        3/24/2017 - 4/18/2017
CA       Lakewood            5310 Lakewood Blvd.^                                      90712        3/25/2017 - 4/12/2017
CA       Lancaster           855 W. Avenue K., Suite 101^                              93534        3/25/2017 - 4/13/2017



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 State              City                               Street Address                    Zip Code   Affected Time Period
CA       Lebec                5602 Dennis McCarthy Drive, Pad 6, Suite B               93243        3/25/2017 - 4/18/2017
CA       Livermore            4691 1st Street                                          94551        3/27/2017 - 4/18/2017
CA       Livermore            3238 Livermore Outlets Drive                             94551        3/27/2017 - 4/18/2017
CA       Lodi                 2310 Tienda Drive, Ste 200                               95242        4/11/2017 - 4/18/2017
CA       Lompoc               1413 North H Street                                      93436        3/27/2017 - 4/18/2017
CA       Long Beach           6324 E Pacific Coast Hwy                                 90803        3/25/2017 - 4/18/2017
CA       Long Beach           4240 Long Beach Blvd.                                    90807        3/27/2017 - 4/18/2017
CA       Long Beach           1800 Ximeno Avenue                                       90815        3/25/2017 - 4/18/2017
CA       Los Angeles          7660 Sunset Blvd                                         90046        3/25/2017 - 4/18/2017
CA       Los Angeles          7101 Melrose Ave                                         90046        3/25/2017 - 4/18/2017
CA       Los Angeles          601 W. 7th Street                                        90017        3/25/2017 - 4/18/2017
CA       Los Angeles          5550 W. Wilshire Blvd., Space 101B                       90036        4/11/2017 - 4/18/2017
CA       Los Angeles          5201 Beverly Boulevard                                   90004        3/25/2017 - 4/18/2017
CA       Los Angeles          5047 Eagle Rock Blvd                                     90041        3/27/2017 - 4/18/2017
CA       Los Angeles          4550 W. Pico Blvd., Suite C 1301                         90019        3/25/2017 - 4/18/2017
CA       Los Angeles          3748 South Figueroa St.                                  90007        3/25/2017 - 4/18/2017
CA       Los Angeles          3183 Wilshire Blvd.                                      90005        3/25/2017 - 4/18/2017
CA       Los Angeles          18700 Ventura Blvd, Suite 130                            91356        3/25/2017 - 4/18/2017
CA       Los Angeles          1460 Vine Street                                         90028        3/25/2017 - 4/18/2017
CA       Los Angeles          11711 National Blvd.                                     90064        4/11/2017 - 4/18/2017
CA       Los Angeles          11690 San Vicente Blvd                                   90049        3/25/2017 - 4/18/2017
CA       Los Angeles          110 S. Fairfax Avenue, Suite 12A                         90036        3/24/2017 - 4/18/2017
CA       Los Angeles          1077 Broxton Ave.                                        90024        3/25/2017 - 4/18/2017
CA       Los Angeles          10250 Santa Monica Blvd.                                 90067        3/25/2017 - 4/18/2017
CA       Los Gatos            640 Blossom Hill Road                                    95032        3/25/2017 - 4/18/2017
CA       Madera               2180 W. Cleveland Ave                                    93637        3/27/2017 - 4/18/2017
CA       Malibu               3822 Cross Creek Rd., Unit 3834                          90265        3/25/2017 - 4/18/2017
CA       Manteca              1440 Hulsey Way*                                         95336        3/28/2017 - 4/18/2017
CA       Marina               140 General Stillwell Drive, Suite 106                   93933        3/27/2017 - 4/18/2017
CA       Marina Del Rey       4718 Admiralty Way                                       90292        3/25/2017 - 4/18/2017
CA       Martinez             1061 Arnold Drive                                        94553        3/25/2017 - 4/18/2017
CA       Menifee              30024 Haun Rd.                                           92584        3/25/2017 - 4/18/2017
CA       Merced               3110 R Street, Suite A                                   95348         3/25/2017 - 4/8/2017
CA       Millbrae             135 S. El Camino Real                                    94030        3/25/2017 - 4/18/2017
CA       Milpitas             246 Great Mall Drive                                     95035        3/25/2017 - 4/18/2017
CA       Mira Loma            12411 Limonite Ave., Suite 600                           91752        3/25/2017 - 4/18/2017
CA       Mira Mesa            8250-G Mira Mesa Blvd.                                   92126        3/25/2017 - 4/18/2017
CA       Mission Viejo        VC10 Shops at Mission Viejo                              92691        3/27/2017 - 4/18/2017
CA       Mission Viejo        25523 Marguerite Pkwy., Ste, A                           92691        3/25/2017 - 4/18/2017



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CA       Modesto              3401 Dale Road, Suite 650                                 95356        3/25/2017 - 4/18/2017
CA       Modesto              1801 Mchenry Avenue, Ste B                                95350        3/27/2017 - 4/18/2017
CA       Monrovia             608 West Huntington Drive*                                91016        3/25/2017 - 4/18/2017
CA       Montclair            9177B Central Ave, Suite B                                91763        3/25/2017 - 4/18/2017
CA       Montebello           545 North Montebello Blvd., Suite B                       90640        4/11/2017 - 4/18/2017
CA       Monterey             560 Munras Avenue, Suite 20                               93940        3/27/2017 - 4/18/2017
CA       Monterey             500 Del Monte Center #500                                 93940        3/25/2017 - 4/18/2017
CA       Monterey Park        2180 South Atlantic Blvd., Unit B                         91754        3/25/2017 - 4/18/2017
CA       Moreno Valley        12625 Fredrick Street*                                    92553        3/25/2017 - 4/18/2017
CA       Morgan Hill          775 Cochrane Rd., Bldg C                                  95037        3/25/2017 - 4/18/2017
CA       Mountain View        2400 Charleston Road                                      94043        3/25/2017 - 4/18/2017
CA       Mountain View        1039 A El Monte Ave                                       94040        3/28/2017 - 4/18/2017
CA       Napa                 304 Soscol Ave., Suite F.                                 94559        3/27/2017 - 4/18/2017
CA       Napa                 1715 Trancas St., Suite D                                 94558        3/25/2017 - 4/18/2017
CA       National City        404 Mile of Cars Way, Ste. 103                            91950        3/27/2017 - 4/18/2017
CA       National City        3030 Plaza Bonita Road, 2450                              91950        3/25/2017 - 4/18/2017
CA       Newark               34893 Newark Blvd.                                        94560        3/25/2017 - 4/18/2017
CA       Newport Beach        3101 Newport Boulevard                                    92663        3/25/2017 - 4/18/2017
CA       Newport Beach        1322 Bison Ave.                                           92660        3/25/2017 - 4/18/2017
CA       Norco                1409 Hamner Avenue                                        92860        3/25/2017 - 4/18/2017
CA       North Hollywood      5240 Lankershim Blvd                                      91601        3/25/2017 - 4/18/2017
CA       Northridge           9205 Reseda Blvd                                          91324        3/25/2017 - 4/18/2017
CA       Northridge           19332 Nordhoff Street                                     91324        3/25/2017 - 4/18/2017
CA       Novato               880 De Long Ave                                           94945        3/25/2017 - 4/18/2017
CA       Oakland              8460 Edgewater Drive, Suite C                             94621        3/27/2017 - 4/18/2017
CA       Oakland              3271 Lakeshore Ave                                        94610        3/25/2017 - 4/18/2017
CA       Oakland              3017 Broadway                                             94611         4/3/2017 - 4/18/2017
CA       Oceanside            495 College Blvd , Ste A&B, A & B                         92057        3/27/2017 - 4/18/2017
CA       Oceanside            4111 Oceanside Boulevard                                  92056        3/25/2017 - 4/18/2017
CA       Oceanside            2611 Vista Way                                            92054        3/25/2017 - 4/18/2017
CA       Ontario              One Mills Circle                                          91764        3/27/2017 - 4/18/2017
CA       Ontario              2200 S. Grove Ave #104                                    91761        3/27/2017 - 4/18/2017
CA       Orange               3440 East Chapman Avenue                                  92869        3/25/2017 - 4/18/2017
CA       Orange               2202 N. Tustin Street, Suite A                            92865        3/28/2017 - 4/13/2017
CA       Oxnard               369 W. Esplanade Dr                                       93036        3/25/2017 - 4/18/2017
CA       Pacific Palisades    15207 Sunset Blvd.                                        90272        3/27/2017 - 4/18/2017
CA       Palm Desert          72-333 Hwy. 111, Suite A                                  92260        3/25/2017 - 4/18/2017
CA       Palm Springs         2465 East Palm Canyon Dr., Bldg 11, Suite 1110            92264        3/25/2017 - 4/18/2017
CA       Palmdale             1125 Rancho Vista, Unit B                                 93551        3/25/2017 - 4/18/2017



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 State               City                                  Street Address                    Zip Code   Affected Time Period
CA       Palo Alto                2675 El Camino Real                                      94306        3/25/2017 - 4/13/2017
CA       Palo Alto                180 El Camino Real #15A                                  94304        3/25/2017 - 4/18/2017
CA       Panorama City            7940 Van Nuys Blvd., 2A                                  91402        3/25/2017 - 4/18/2017
CA       Paramount                15754 Paramount Blvd. , A                                90723        3/27/2017 - 4/18/2017
CA       Pasadena                 3409 E. Foothills Blvd.                                  91107        3/25/2017 - 4/18/2017
CA       Pasadena                 246 South Lake Ave.                                      91106        3/25/2017 - 4/18/2017
CA       Paso Robles              98 Niblick Rd.                                           93446        3/27/2017 - 4/18/2017
CA       Petaluma                 401 Kenilworth Dr, 710                                   94954        3/27/2017 - 4/18/2017
CA       Pico Rivera              8888 Whittier Blvd.                                      90660        3/25/2017 - 4/18/2017
CA       Pinole                   2696 A & B Pinole Valley Rd                              94564        3/25/2017 - 4/18/2017
CA       Pittsburg                4400 Delta Gateway                                       94565        3/25/2017 - 4/18/2017
CA       Placerville              3987 Missouri Flat Road, Suite 390                       95667        3/25/2017 - 4/18/2017
CA       Pleasant Hill            60 G" Crescent Drive                                     94523        3/25/2017 - 4/18/2017
CA       Pomona                   785 Rio Rancho Road, Suite 300                           91768        3/25/2017 - 4/18/2017
CA       Poway                    13495 Poway Road                                         92064        3/25/2017 - 4/18/2017
CA       Rancho Cordova           2878 Zinfandel Drive                                     95670        3/25/2017 - 4/18/2017
CA       Rancho Cordova           2350 Sunrise Blvd, Ste 3                                 95670        3/27/2017 - 4/18/2017
CA       Rancho Cucamonga         7879 Monticello Avenue, Bld 1000A, Suite 1010            91739        3/25/2017 - 4/18/2017
CA       Rancho Cucamonga         11334 4th Street                                         91730        3/25/2017 - 4/18/2017
CA       Rancho Cucamonga         10811 Foothill Blvd.                                     91730        3/25/2017 - 4/18/2017
CA       Rancho Santa Margarita   22245 El Paseo, Suite C                                  92688        3/27/2017 - 4/18/2017
CA       Redding                  961 Dana Drive                                           96003        3/25/2017 - 4/18/2017
CA       Redlands                 635 ORANGE STREET                                        92373        3/25/2017 - 4/18/2017
CA       Redlands                 27511 San Bernardino Avenue, B^                          92374        3/27/2017 - 4/13/2017
CA       Redondo Beach            1430 South Pacific Coast Highway                         90277        3/25/2017 - 4/18/2017
CA       Redwood City             861 Middlefield Road                                     94063        3/25/2017 - 4/18/2017
CA       Rialto                   186 E. Easton                                            92376        3/27/2017 - 4/18/2017
CA       Riverbank                2207 Claribel Rd, Ste. A                                 95367        3/27/2017 - 4/18/2017
CA       Riverside                8956 Trautwein Road, Suite 100                           92508        3/27/2017 - 4/18/2017
CA       Riverside                3525 Riverside Plaza Dr, Ste S204                        92506         4/2/2017 - 4/18/2017
CA       Riverside                3510 Tyler Street                                        92503        3/27/2017 - 4/18/2017
CA       Rocklin                  5194 Commons Drive, 101                                  95677        3/27/2017 - 4/18/2017
CA       Rohnert Park             6325 Commerce Blvd.                                      94928        3/25/2017 - 4/18/2017
CA       Rolling Hills Estates    4C Peninsula Center                                      90274        3/27/2017 - 4/18/2017
CA       Rosemead                 3616 Rosemead Blvd.                                      91770         4/3/2017 - 4/13/2017
CA       Roseville                781 Pleasant Grove Blvd., Ste 140                        95678        3/25/2017 - 4/18/2017
CA       Roseville                3988 Douglas Blvd. #140                                  95661        3/25/2017 - 4/18/2017
CA       Roseville                1136 Galleria Blvd #160                                  95678        3/25/2017 - 4/18/2017
CA       Sacramento               5738 Folsom Blvd^                                        95819        3/25/2017 - 4/13/2017



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 State               City                               Street Address                     Zip Code   Affected Time Period
CA       Sacramento           5040 Auburn Blvd.                                          95841        3/25/2017 - 4/18/2017
CA       Sacramento           3830 Truxel Road, Suite 300                                95833        3/25/2017 - 4/18/2017
CA       Sacramento           3328 El Camino Ave.                                        95821        3/25/2017 - 4/18/2017
CA       Sacramento           2517 Fair Oaks Blvd                                        95825        3/25/2017 - 4/18/2017
CA       Sacramento           1831 Capitol Ave.                                          95814        3/25/2017 - 4/18/2017
CA       Sacramento           1729 Howe Ave., Sacramento                                 95825        3/25/2017 - 4/18/2017
CA       Salinas              1748 North Main Street                                     93906        3/25/2017 - 4/18/2017
CA       San Bernardino       1092 Hospitality Ln., Suite B                              92408        3/25/2017 - 4/18/2017
CA       San Bruno            1150 El Camino Real , 197                                  94066        3/25/2017 - 4/18/2017
CA       San Carlos           1135 Industrial Road, Suite C                              94070        3/25/2017 - 4/18/2017
CA       San Clemente         806 Avenida Pico, Suite D                                  92672        3/25/2017 - 4/18/2017
CA       San Diego            8750 Genessee Ave, Suite 240                               92122        3/25/2017 - 4/18/2017
CA       San Diego            734 UNIVERSITY AVE UNIT C                                  92103        3/25/2017 - 4/18/2017
CA       San Diego            7081 Clairemont Mesa Blvd, 103/104                         92111        3/27/2017 - 4/18/2017
CA       San Diego            6083 El Cajon Blvd                                         92115        3/27/2017 - 4/18/2017
CA       San Diego            5650 Balboa Ave, Ste 105-106                               92111        3/27/2017 - 4/18/2017
CA       San Diego            5500 Campanile Drive                                       92182        3/25/2017 - 4/13/2017
CA       San Diego            4403 University Avenue, #100                               92105        3/25/2017 - 4/18/2017
CA       San Diego            3881 Valley Centre Drive                                   92130        3/25/2017 - 4/18/2017
CA       San Diego            3680 Rosecrans Street                                      92110        3/25/2017 - 4/18/2017
CA       San Diego            2750 Bauer Road                                            92145        3/27/2017 - 4/18/2017
CA       San Diego            1504 Garnet Ave.                                           92109        3/25/2017 - 4/18/2017
CA       San Diego            11134 Rancho Carmel Drive                                  92128        3/25/2017 - 4/18/2017
CA       San Diego            10550 Craftsman Way, 180                                   92127        3/27/2017 - 4/18/2017
CA       San Diego            1025 Camino De La Reina, Suite 2                           92108        3/25/2017 - 4/18/2017
CA       San Diego            101 W Broadway                                             92101        3/25/2017 - 4/18/2017
CA       San Fernando         1100 Truman St.                                            91340        3/25/2017 - 4/18/2017
CA       San Francisco        525 Market Street                                          94104        3/25/2017 - 4/18/2017
CA       San Francisco        50 California Street                                       94111        3/25/2017 - 4/18/2017
CA       San Francisco        400 Howard Street, Suite 110                               94105        3/27/2017 - 4/18/2017
CA       San Francisco        333 Jefferson St, Suite 104                                94133        3/25/2017 - 4/18/2017
CA       San Francisco        3251 20th Avenue, Space #OP183                             94132        3/27/2017 - 4/18/2017
CA       San Francisco        2675 Geary Boulevard, Suite E105                           94118        3/27/2017 - 4/18/2017
CA       San Francisco        232 O'Farrell                                              94102        3/25/2017 - 4/18/2017
CA       San Francisco        211 Sutter Street^                                         94104        3/25/2017 - 4/13/2017
CA       San Francisco        1523 Sloat Blvd.                                           94132        3/25/2017 - 4/18/2017
CA       San Francisco        126 NEW MONTGOMERY ST                                      94105        3/27/2017 - 4/18/2017
CA       San Francisco        109 4th Street, Space 10                                   94103        3/25/2017 - 4/18/2017
CA       San Jose             975 The Alameda, Suite 10                                  95126        3/25/2017 - 4/18/2017



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 State               City                              Street Address                     Zip Code   Affected Time Period
CA       San Jose             925 Blossom Hill Road, 1645                               95123        3/27/2017 - 4/18/2017
CA       San Jose             5670 Cottle Rd                                            95123        3/27/2017 - 4/18/2017
CA       San Jose             540 Newhall Drive, Suite 10                               95110        3/25/2017 - 4/18/2017
CA       San Jose             4180 North 1st Street                                     95134        3/25/2017 - 4/18/2017
CA       San Jose             369 S. Winchester Blvd                                    95128        3/25/2017 - 4/18/2017
CA       San Jose             361 N. Capitol Ave.                                       95133        3/27/2017 - 4/18/2017
CA       San Jose             2990 East Capitol Expressway, Suite 40                    95148        3/27/2017 - 4/18/2017
CA       San Jose             2007 Camden Ave., #50                                     95124        3/25/2017 - 4/18/2017
CA       San Jose             1751 N. First Street                                      95112        3/25/2017 - 4/18/2017
CA       San Jose             1645 Saratoga Ave.                                        95129        3/25/2017 - 4/18/2017
CA       San Jose             1110 Blossom Hill, Suite 30                               95123        3/25/2017 - 4/18/2017
CA       San Jose             1095 East Brokaw Road, Suite 70                           95112        3/25/2017 - 4/18/2017
CA       San Leandro          1505 E 14th Street                                        94577        3/27/2017 - 4/18/2017
CA       San Luis Obispo      853 Higuera, Space 6&7                                    93405        3/25/2017 - 4/18/2017
CA       San Luis Obispo      297 Madonna Rd                                            93401        3/25/2017 - 4/18/2017
CA       San Marcos           575 Grand Ave                                             92078        3/25/2017 - 4/18/2017
CA       San Mateo            251 E 3rd Ave.                                            94402        3/25/2017 - 4/18/2017
CA       San Mateo            2019 Chess Drive                                          94404        3/25/2017 - 4/18/2017
CA       San Mateo            1050 Park Place                                           94403        3/27/2017 - 4/18/2017
CA       San Pedro            940 N. Western Avenue, Unit F                             90732        3/25/2017 - 4/18/2017
CA       San Rafael           5800 Northgate Drive, Suite 044                           94903        3/25/2017 - 4/18/2017
CA       San Rafael           345 3rd Street                                            94901        3/27/2017 - 4/18/2017
CA       San Ramon            2421 San Ramon Valley Blvd                                94583        3/25/2017 - 4/18/2017
CA       Sand City            2140 California Ave.                                      93955        3/25/2017 - 4/18/2017
CA       Santa Ana            629 Harbor Blvd.                                          92704        3/27/2017 - 4/18/2017
CA       Santa Ana            3705 Bristol Street*                                      92707        3/25/2017 - 4/18/2017
CA       Santa Ana            2772 N. Main Street                                       92705        3/25/2017 - 4/18/2017
CA       Santa Ana            1945 E. Seventeenth Street, #109                          92701        3/25/2017 - 4/18/2017
CA       Santa Ana            1313 West 17th St., Suite A1                              92706        3/27/2017 - 4/18/2017
CA       Santa Barbara        723 State St.                                             93101        3/25/2017 - 4/18/2017
CA       Santa Barbara        3851 State St                                             93105        3/25/2017 - 4/18/2017
CA       Santa Clara          3952 Rivermark Parkway                                    95054        3/27/2017 - 4/18/2017
CA       Santa Clara          2855 Stevens Creek, 2471                                  95050        3/27/2017 - 4/18/2017
CA       Santa Clara          2002 El Camino Real, 8                                    95050        3/25/2017 - 4/18/2017
CA       Santa Clarita        19085 Golden Valley Rd., Ste 105                          91387        3/25/2017 - 4/18/2017
CA       Santa Cruz           550 River Street #A                                       95060        3/25/2017 - 4/18/2017
CA       Santa Fe Springs     10120 Carmenita Road                                      90605        3/25/2017 - 4/18/2017
CA       Santa Maria          236 E Betteravia Rd, Suite A                              93454        3/25/2017 - 4/18/2017
CA       Santa Monica         1218 3rd Street                                           90401        3/25/2017 - 4/18/2017



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CA       Santa Rosa           336 A Coddingtown Mall                                    95401        3/25/2017 - 4/18/2017
CA       Santa Rosa           2182 Santa Rosa Ave                                       95404        4/3/2017 - 4/18/2017
CA       Santee               9828 Mission Gorge Rd #C                                  92071        3/25/2017 - 4/18/2017
CA       Seal Beach           12359 Seal Beach Blvd.                                    90740        3/25/2017 - 4/18/2017
CA       Selma                3120 Floral Ave, 108A                                     93662        4/11/2017 - 4/18/2017
CA       Sherman Oaks         14708 Ventura Blvd., Suite B                              91403        3/25/2017 - 4/18/2017
CA       Sherman Oaks         14006 Riverside Dr., 249b                                 91423        3/27/2017 - 4/18/2017
CA       Signal Hill          959 E. Spring St.                                         90755        3/27/2017 - 4/18/2017
CA       Simi Valley          1263 Simi Town Center Way, Space H2                       93063        3/25/2017 - 4/18/2017
CA       South Gate           4709 Firestone Blvd.                                      90280        3/27/2017 - 4/18/2017
CA       Stockton             4940 Pacific Ave.                                         95207        3/25/2017 - 4/18/2017
CA       Stockton             10710-A Trinity Parkway                                   95219        3/27/2017 - 4/18/2017
CA       Studio City          12175 Ventura Blvd.                                       91604        3/25/2017 - 4/18/2017
CA       Sunnyvale            324 W. El Camino Real                                     94087        3/25/2017 - 4/18/2017
CA       Temecula             32195 Temecula Parkway                                    92592        3/25/2017 - 4/18/2017
CA       Temecula             26440 Ynez Road, Ste B                                    92591        3/25/2017 - 4/18/2017
CA       Temple City          5809 Rosemead Blvd.                                       91780        3/27/2017 - 4/18/2017
CA       Thousand Oaks        935 Broadbeck Dr., Suite C                                91320        3/25/2017 - 4/18/2017
CA       Thousand Oaks        162 W. Hillcrest Drive, Suite 300                         91360        3/27/2017 - 4/18/2017
CA       Toluca Lake          4012 W. Riverside Drive                                   91505        3/25/2017 - 4/18/2017
CA       Torrance             3535 W. Carson Street                                     90503        3/25/2017 - 4/18/2017
CA       Torrance             24631 Crenshaw Blvd.                                      90505        3/25/2017 - 4/18/2017
CA       Torrance             21300 Hawthorne Blvd                                      90503        3/25/2017 - 4/18/2017
CA       Tracy                2512 Naglee Road, 100                                     95376        4/11/2017 - 4/18/2017
CA       Tulare               1108 E. Prosperity Ave.                                   93274        3/25/2017 - 4/18/2017
CA       Turlock              3090 Countryside Drive                                    95380        3/25/2017 - 4/18/2017
CA       Tustin               13348 Newport Avenue                                      92780        3/25/2017 - 4/18/2017
CA       Ukiah                596 E Perkins Street                                      95482        3/27/2017 - 4/18/2017
CA       Union City           30920 Dyer Street                                         94587        3/25/2017 - 4/18/2017
CA       Upland               1092 North Mountain Ave.                                  91786        3/25/2017 - 4/18/2017
CA       Vacaville            1620 E Monte Vista Ave., Suite 101                        95688        3/27/2017 - 4/18/2017
CA       Valencia             28102 Newhall Ranch Road                                  91355        3/25/2017 - 4/18/2017
CA       Valencia             24405 Towncenter Drive                                    91355        3/25/2017 - 4/18/2017
CA       Vallejo              1195 Admiral Callaghan Lane                               94591        3/27/2017 - 4/18/2017
CA       Van Nuys             5600 Van Nuys Blvd                                        91401        3/25/2017 - 4/11/2017
CA       Ventura              488 S. Mills Road, Space #4                               93003        3/25/2017 - 4/18/2017
CA       Ventura              1145 S. Victoria Ave.                                     93003        3/25/2017 - 4/18/2017
CA       Victorville          14120 Bear Valley Road, Suite 100^                        92392        3/25/2017 - 4/11/2017
CA       Visalia              4219 Mooney Blvd., Suite B                                93277        3/25/2017 - 4/18/2017



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CA       Vista                30 Main Street Suite G-100                              92083        3/25/2017 - 4/18/2017
CA       Walnut               21710 Valley Blvd., Suite A                             91789        3/24/2017 - 4/18/2017
CA       Walnut Creek         1158 Locust St., D-2A^                                  94596        3/25/2017 - 4/13/2017
CA       Walnut Park          2110 E. Florence Ave.                                   90255        3/25/2017 - 4/18/2017
CA       West Covina          427 Plaza Drive                                         91790        3/25/2017 - 4/18/2017
CA       West Covina          143-B North Barranca Avenue                             91791        3/25/2017 - 4/18/2017
CA       West Hollywood       8420 Beverly Blvd.                                      90048        3/27/2017 - 4/18/2017
CA       West Sacramento      775 Ikea Court                                          95605        3/25/2017 - 4/18/2017
CA       Westlake Village     5754 Lindero Canyon Rd.                                 91362        3/25/2017 - 4/18/2017
CA       Westminster          6777 Westminster Blvd Ste A^                            92683        4/11/2017 - 4/13/2017
CA       Whittier             15528 Whittier Blvd, Unit A                             90602        3/25/2017 - 4/18/2017
CA       Woodland Hills       6443 Canoga Ave.                                        91367        3/25/2017 - 4/18/2017
CA       Woodland Hills       5430 TOPANGA CANYON BLVD                                91364        3/28/2017 - 4/18/2017
CA       Yuba City            1005 Gray Avenue                                        95993        3/25/2017 - 4/18/2017
CO       Arvada               8797 WADSWORTH BLVD                                     80003         3/25/2017 - 4/8/2017
CO       Arvada               5324 Wadsworth Blvd.                                    80002        3/25/2017 - 4/18/2017
CO       Arvada               12550 West 64th Avenue                                  80004        3/25/2017 - 4/18/2017
CO       Aurora               6710 S. Cornerstar Way, Unit A                          80016        3/25/2017 - 4/18/2017
CO       Aurora               4205 S. BUCKLEY RD.^                                    80013        3/25/2017 - 4/13/2017
CO       Aurora               3455 North Salida Street                                80011        3/27/2017 - 4/18/2017
CO       Aurora               24100 E. Commons Ave., Suite 101                        80016        3/25/2017 - 4/18/2017
CO       Aurora               15280 E. ILLIFF AVE.                                    80014        3/25/2017 - 4/18/2017
CO       Aurora               13700 E. Colfax Avenue                                  80011        3/24/2017 - 4/18/2017
CO       Aurora               1205 S. HAVANA UNIT A                                   80012        3/25/2017 - 4/18/2017
CO       Boulder              919 PEARL ST.                                           80302        3/25/2017 - 4/18/2017
CO       Boulder              1650 28th St., #1224, Building 2E                       80301        3/24/2017 - 4/18/2017
CO       Castle Rock          5642 Allen Wy., Space 104                               80104        3/25/2017 - 4/18/2017
CO       Centennial           20209 E. Smoky Hill Road, Unit C                        80015        3/25/2017 - 4/18/2017
CO       Centennial           12073 E Arapahoe Rd, Unit 160                           80111        4/11/2017 - 4/18/2017
CO       Colorado Springs     895 NORTH ACADEMY                                       80909        3/25/2017 - 4/18/2017
CO       Colorado Springs     7818 NORTH ACADEMY                                      80920        3/24/2017 - 4/18/2017
CO       Colorado Springs     5102 North Nevada Ave., BLDG A, Ste #170                80918        3/25/2017 - 4/18/2017
CO       Colorado Springs     5079 NORTH ACADEMY                                      80918        3/25/2017 - 4/18/2017
CO       Colorado Springs     3026 New Center Point                                   80922        3/25/2017 - 4/18/2017
CO       Colorado Springs     2130 SOUTHGATE ROAD SUITE 100                           80906        3/25/2017 - 4/18/2017
CO       Colorado Springs     17 SOUTH TEJON                                          80903        3/25/2017 - 4/18/2017
CO       Colorado Springs     1370 W. GARDEN OF THE GODS ROAD^                        80907        3/25/2017 - 4/13/2017
CO       Commerce City        5988 DAHILA STREET                                      80022        3/25/2017 - 4/18/2017
CO       Denver               820 S. MONACO ST. UNIT 1B                               80224        3/25/2017 - 4/18/2017



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CO       Denver              745 COLORADO BLVD                                        80206        3/25/2017 - 4/18/2017
CO       Denver              7400 East 29th Avenue                                    80207        3/25/2017 - 4/18/2017
CO       Denver              7350 E. HAMPDEN AVE.                                     80231        3/24/2017 - 4/18/2017
CO       Denver              550 BROADWAY, UNIT A                                     80203        3/25/2017 - 4/18/2017
CO       Denver              3600 W. 32nd Ave.                                        80211         4/3/2017 - 4/18/2017
CO       Denver              333 E. ALAMEDA                                           80209        3/25/2017 - 4/18/2017
CO       Denver              2760 S COLORADO BLVD UNIT M                              80222        3/25/2017 - 4/18/2017
CO       Denver              2500 E. Colfax Ave.                                      80206        3/25/2017 - 4/18/2017
CO       Denver              2300 S. Parker Road, Unit B                              80247        3/25/2017 - 4/18/2017
CO       Denver              1644 EAST EVANS                                          80210        3/24/2017 - 4/18/2017
CO       Denver              1600 CALIFORNIA ST. #7                                   80202        4/11/2017 - 4/18/2017
CO       Denver              1480 16TH ST.^*                                          80202        3/25/2017 - 4/13/2017
CO       Denver              140 STEELE ST.                                           80206        3/24/2017 - 4/18/2017
CO       Englewood           8255 South Chester St., Suite 100                        80112        3/25/2017 - 4/18/2017
CO       Englewood           333 W. Hampden Ave., #110                                80110        3/25/2017 - 4/18/2017
CO       Federal Heights     10320 FEDERAL BLVD #100                                  80260        3/24/2017 - 4/18/2017
CO       Fort Collins        649 S COLLEGE AVE                                        80524        3/25/2017 - 4/18/2017
CO       Fort Collins        2120 E. Harmony Rd., Ste. 107                            80528        3/25/2017 - 4/18/2017
CO       Grand Junction      2504 Highway 6 & 50 / Suite 300                          81505        3/25/2017 - 4/18/2017
CO       Greeley             807 17th Street                                          80631        3/25/2017 - 4/18/2017
CO       Greenwood Village   8000 E. Belleview Ave.                                   80111        3/25/2017 - 4/13/2017
CO       Greenwood Village   6570 S. Yosemite Street, Unit D                          80111        3/25/2017 - 4/18/2017
CO       Highlands Ranch     2209 W. Wildcat Reserve Parkway Suite 1A                 80129        3/25/2017 - 4/13/2017
CO       Lafayette           548 W. South Boulder Rd., Unit D                         80026        3/25/2017 - 4/18/2017
CO       Lakewood            7355 W. Colfax Avenue, Suite 103                         80214        3/24/2017 - 4/18/2017
CO       Lakewood            355 S. WADSWORTH                                         80226        3/25/2017 - 4/18/2017
CO       Lakewood            3170 S. Wadsworth Blvd.                                  80227        3/25/2017 - 4/18/2017
CO       Lakewood            145 Union Blvd., Unit 103                                80228        3/25/2017 - 4/18/2017
CO       Lakewood            14255 West Colfax Avenue, Unit A                         80401        3/25/2017 - 4/18/2017
CO       Littleton           9500 Heritage Hills Circle #700                          80124        3/25/2017 - 4/18/2017
CO       Littleton           8501 W. Bowles Ave., 2020                                80123        3/27/2017 - 4/18/2017
CO       Littleton           8100 W. Crestline Ave, Unit A1                           80123         3/25/2017 - 4/8/2017
CO       Littleton           7515 UNIVERSITY BLVD.                                    80122        3/25/2017 - 4/18/2017
CO       Littleton           5699 S. Broadway                                         80121        3/25/2017 - 4/18/2017
CO       Littleton           12512 W. KEN CARYL AVE, UNIT C                           80127        3/25/2017 - 4/18/2017
CO       Lone Tree           8515 Park Meadows Center Dr., Ste 3001, Space #252       80124        3/27/2017 - 4/18/2017
CO       Longmont            1708 Main Street                                         80501        3/25/2017 - 4/18/2017
CO       Longmont            1100 KEN PRATT BLVD. SUITE B                             80501        3/25/2017 - 4/18/2017
CO       Louisville          375 S MCCASLIN BLVD. UNIT D                              80027        3/25/2017 - 4/18/2017



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CO       Loveland             1569 Fall River Drive                                     80538        3/25/2017 - 4/18/2017
CO       Loveland             1425 W. Eisenhower Blvd.                                  80537        3/25/2017 - 4/18/2017
CO       Parker               18701 E. MAIN ST.                                         80134        3/25/2017 - 4/18/2017
CO       Parker               18320 Cottonwood Drive                                    80138        3/25/2017 - 4/18/2017
CO       Pueblo               3230 N. Elizabeth St.                                     81008        3/25/2017 - 4/18/2017
CO       Silverthorne         247 Rainbow Dr. Unit G-290                                80498        3/25/2017 - 4/18/2017
CO       Thornton             951 E. 120th Ave., Suite A                                80233        3/25/2017 - 4/18/2017
CO       Thornton             815 Thornton Parkway*                                     80229        3/25/2017 - 4/18/2017
CO       Westminster          5160 W. 120th Ave., Unit B                                80020        3/25/2017 - 4/13/2017
CO       Wheatridge           3294-A YOUNGFIELD ST.^                                    80033        3/25/2017 - 4/13/2017
CT       Bridgeport           275 East Main Street                                      6608         3/27/2017 - 4/18/2017
CT       Canton               110 Albany Turnpike, Suite 301                            6019         3/26/2017 - 4/18/2017
CT       Danbury              7 Backus Ave., H-100                                      6810         3/26/2017 - 4/18/2017
CT       Danbury              115 Mill Plain Road                                       6811         3/27/2017 - 4/18/2017
CT       Darien               Connecticut Welcome Center I-95NB                         6820         3/26/2017 - 4/18/2017
CT       Darien               71 Post Road                                              6820         3/26/2017 - 4/18/2017
CT       Enfield              7 Hazard Ave                                              6082         3/26/2017 - 4/18/2017
CT       Fairfield            340 Grasmere Ave                                          6824         3/26/2017 - 4/18/2017
CT       Glastonbury          140 Glastonbury Blvd, Suite 4                             6033          3/26/2017 - 4/8/2017
CT       Greenwich            49 Greenwich Avenue                                       6830         3/26/2017 - 4/18/2017
CT       Hamden               2165 Dixwell Ave, Suite 2                                 6514         3/26/2017 - 4/18/2017
CT       Manchester           48 Hale Road                                              6042         3/26/2017 - 4/18/2017
CT       Milford              1319 Boston Post Road, Space 4B                           6460         3/26/2017 - 4/18/2017
CT       New Haven            910 Chapel Street                                         6510         3/26/2017 - 4/18/2017
CT       Newington            3575 Berlin Turnpike, UNIT B                              6111         3/26/2017 - 4/18/2017
CT       Riverside            1233 E Putnam Avenue                                      6878         3/27/2017 - 4/18/2017
CT       Shelton              701 Bridgeport Avenue                                     6484         3/27/2017 - 4/18/2017
CT       Wallingford          1094 North Colony Road, Suite 20                          6492         3/27/2017 - 4/18/2017
CT       West Hartford        966 Farmington Avenue                                     6107         3/26/2017 - 4/18/2017
CT       West Hartford        1457 New Britain Ave                                      6110         3/26/2017 - 4/18/2017
CT       West Haven           354 Saw Mill Road, Unit B                                 6516         3/27/2017 - 4/18/2017
CT       Westport             370 Post Road East                                        6880         3/27/2017 - 4/18/2017
DC       Washington           625 Monroe Street NE, A8                                  20017        3/27/2017 - 4/18/2017
DC       Washington           601 F STREET NW^                                          20005        3/24/2017 - 4/13/2017
DC       Washington           50 Massachusetts Avenue, Space L037                       20002        3/27/2017 - 4/18/2017
DC       Washington           4301 WISCONSIN AVE. NW UNIT B                             20016        3/24/2017 - 4/18/2017
DC       Washington           413 8th Street, SE                                        20003        3/26/2017 - 4/18/2017
DC       Washington           40 Massachusetts Ave NE                                   20013        3/26/2017 - 4/18/2017
DC       Washington           3420 Connecticut Ave, NW                                  20008        3/26/2017 - 4/18/2017



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  State               City                             Street Address                     Zip Code   Affected Time Period
DC        Washington          3255 M Street, NW                                         20007        3/24/2017 - 4/18/2017
DC        Washington          3113 14th Street NW                                       20010        3/24/2017 - 4/18/2017
DC        Washington          2600 CONNECTICUT AVE                                      20008        4/11/2017 - 4/18/2017
DC        Washington          2338 Wisconsin Ave                                        20007        3/26/2017 - 4/18/2017
DC        Washington          2301 Georgia Ave NW, Unit A                               20059        3/27/2017 - 4/18/2017
DC        Washington          2300 Washington Place NE, Space 101S                      20018        3/26/2017 - 4/18/2017
DC        Washington          2000 Pennsylvania Avenue, Suite 15                        20006        3/26/2017 - 4/18/2017
DC        Washington          1837 M STREET NW                                          20036        3/24/2017 - 4/18/2017
DC        Washington          1629 CONNECTICUT AVE. NW                                  20036        3/24/2017 - 4/13/2017
DC        Washington          1508 14th Street NW, First Floor                          20005        3/27/2017 - 4/18/2017
DC        Washington          1045 5th Street NW                                        20001        3/26/2017 - 4/18/2017
DC        Washington          1010 Vermont Ave NW, 101                                  20005        3/27/2017 - 4/13/2017
DE        Dover               1141 N. Dupont Hwy                                        19901        3/26/2017 - 4/18/2017
DE        Middletown          657 Middletown Warwick Road                               19709        4/11/2017 - 4/18/2017
DE        Newark              136 E. Main St                                            19711        3/26/2017 - 4/18/2017
DE        Newark              132 Christiana Mall , 1481                                19702        3/27/2017 - 4/18/2017
DE        Rehoboth Beach      36453 Seaside Outlet Drive                                19971        3/27/2017 - 4/18/2017
DE        Wilmington          3700 Kirkwood Highway                                     19808        3/27/2017 - 4/18/2017
FL        Altamonte Springs   400 State Road 436                                        32714        3/25/2017 - 4/18/2017
FL        Apopka              2201 East Semoran Blvd                                    32703        3/26/2017 - 4/18/2017
FL        Aventura            18815 Biscayne Boulevard                                  33180         3/26/2017 - 4/8/2017
FL        Boca Raton          9930 Glades Road, Suite F8                                33428         3/26/2017 - 4/8/2017
FL        Boca Raton          2301 Glades Road, Ste 300                                 33431        3/25/2017 - 4/18/2017
FL        Boca Raton          1666 N. Federal Highway, Suite A                          33432        3/26/2017 - 4/18/2017
FL        Boynton Beach       1780 N. Congress Ave., Ste. 100                           33426        3/25/2017 - 4/18/2017
FL        Bradenton           1608 Cortez Rd.                                           34205        3/25/2017 - 4/18/2017
FL        Brandon             829 East Bloomingdale Ave                                 33511        3/26/2017 - 4/18/2017
FL        Brandon             459 Brandon Town Center, FC 513                           33511        3/27/2017 - 4/18/2017
FL        Brandon             103 Brandon Town Center                                   33511        3/27/2017 - 4/18/2017
FL        Brooksville         13207 Cortez Blvd                                         34601        3/27/2017 - 4/18/2017
FL        Casselberry         103 Semoran Boulevard                                     32730        3/26/2017 - 4/18/2017
FL        Clearwater          5360 East Bay Drive                                       33764        3/27/2017 - 4/18/2017
FL        Clearwater          2662 Gulf to Bay Blvd                                     33759        3/25/2017 - 4/18/2017
FL        Clearwater          2537 Countryside Blvd                                     33761         4/2/2017 - 4/18/2017
FL        Coral Springs       4220 N. State Road 7                                      33067        3/26/2017 - 4/18/2017
FL        Coral Springs       1775 University Drive^                                    33065        3/25/2017 - 4/13/2017
FL        Cutler Bay          19151 South Dixie Highway, Unit 25                        33157        3/27/2017 - 4/18/2017
FL        Dania Beach         1780 Stirling Road, Ste 106                               33004        3/26/2017 - 4/18/2017
FL        Davie               5796 South University Drive, 103                          33328        3/27/2017 - 4/18/2017



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  State                City                               Street Address                   Zip Code   Affected Time Period
FL        Davie                 2110 South University Drive                              33317        3/26/2017 - 4/18/2017
FL        Daytona Beach         2400 W. International Speedway Blvd, Suite 700           32114        3/25/2017 - 4/18/2017
FL        Deerfield Beach       777 South Federal Highway                                33442        3/27/2017 - 4/18/2017
FL        Delray Beach          520 Linton Boulevard, Ste 101                            33444        3/26/2017 - 4/18/2017
FL        Destin                4281 Legendary Drive, #J-114                             32541        3/26/2017 - 4/18/2017
FL        Doral                 2000 NW 87th Avenue, 1                                   33172        3/27/2017 - 4/18/2017
FL        Estero                22941 Lyden Drive, 100                                   33928         3/27/2017 - 4/8/2017
FL        Fort Lauderdale       6320 North Andrews Ave.                                  33309        3/26/2017 - 4/18/2017
FL        Fort Lauderdale       4850 North Federal Highway                               33308        3/26/2017 - 4/18/2017
FL        Fort Lauderdale       1736 N Federal Hwy                                       33305        3/26/2017 - 4/18/2017
FL        Fort Lauderdale       1515 SE 17th Street, Ste 101                             33316        3/26/2017 - 4/18/2017
FL        Fort Myers            8061 Dani Drive, 140                                     33966        3/27/2017 - 4/18/2017
FL        Fort Myers            12631 S Cleveland Avenue, Lot B 101                      33907        3/26/2017 - 4/18/2017
FL        Fort Myers            10010 University Plaza Drive, Suite 102                  33913        3/26/2017 - 4/18/2017
FL        Gainesville           3841 Southwest Archer Road                               32608        3/25/2017 - 4/18/2017
FL        Gainesville           2225 NW 13th St, Suite 100                               32609         3/27/2017 - 4/8/2017
FL        Gainesville           1432 West University Avenue                              32603        3/24/2017 - 4/18/2017
FL        Hialeah               405 West 49th Street                                     33012        3/26/2017 - 4/18/2017
FL        Hialeah               18461 NW 67th Ave                                        33015        3/26/2017 - 4/18/2017
FL        Hollywood             1774 Sheridan St                                         33020        3/27/2017 - 4/18/2017
FL        Homestead             2500 NE 10th Court                                       33033        3/27/2017 - 4/18/2017
FL        Jacksonville          790 Skymarks Drive, Suite 101                            32218        3/27/2017 - 4/18/2017
FL        Jacksonville          4865 Town Center Prkwy                                   32246        3/25/2017 - 4/18/2017
FL        Jacksonville          1758 3rd Street South                                    32250        3/27/2017 - 4/18/2017
FL        Jacksonville          13920 Old St Augustine Road, 105                         32258        3/27/2017 - 4/18/2017
FL        Jacksonville          13546 Beach Boulevard                                    32224        3/27/2017 - 4/18/2017
FL        Jacksonville          11113 San Jose Blvd                                      32223        3/26/2017 - 4/18/2017
FL        Jupiter               6274 W. Indiantown Rd. Suite A                           33458        3/27/2017 - 4/18/2017
FL        Kissimmee             6210 W. Irlo Bronson Memorial Highway 192                34747        3/27/2017 - 4/18/2017
FL        Kissimmee             3254 N. John Young Parkway                               34741        3/25/2017 - 4/18/2017
FL        Lake Mary             4315 West Lake Mary Blvd                                 32746        3/25/2017 - 4/18/2017
FL        Lake Worth            6177 Jog Road, Bay 15D                                   33467        3/26/2017 - 4/18/2017
FL        Lakeland              4204 US Highway 98N                                      33809        3/27/2017 - 4/18/2017
FL        Lauderhill            5435 North University Drive                              33351         3/27/2017 - 4/8/2017
FL        Melbourne             2322 Harnett Drive                                       32940        3/26/2017 - 4/18/2017
FL        Melbourne             1563 West New Haven Avenue                               32904         4/2/2017 - 4/18/2017
FL        Miami                 7230 NW 36th Street, 1                                   33166        4/11/2017 - 4/18/2017
FL        Miami                 6290 South Dixie Highway                                 33143        3/25/2017 - 4/18/2017
FL        Miami                 2235 SW 37 Ave.                                          33145        3/26/2017 - 4/18/2017



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  State               City                               Street Address                    Zip Code   Affected Time Period
FL        Miami                2200 SW 87th Ave                                          33165        3/27/2017 - 4/18/2017
FL        Miami                14776 Biscayne Blvd                                       33181        3/25/2017 - 4/18/2017
FL        Miami                13612 N. Kendall Dr                                       33186        3/25/2017 - 4/18/2017
FL        Miami                10141 West Flagler Street, D100                           33174        3/27/2017 - 4/18/2017
FL        Miami Lakes          8000 NW 154th Street                                      33016        3/26/2017 - 4/18/2017
FL        Miramar              3231 SW 160th Ave., Ste 101                               33027        3/27/2017 - 4/18/2017
FL        Mount Dora           19025 US Highway 441                                      32757        3/27/2017 - 4/18/2017
FL        Naples               9100 Strada Place Unit 2110                               34108        3/26/2017 - 4/18/2017
FL        Naples               6821 Collier Blvd, 101                                    34113        4/11/2017 - 4/18/2017
FL        North Port           17019 Tamiami Trail, Suite A                              34287        3/27/2017 - 4/18/2017
FL        Ocala                2645 SW College Road, 103                                 34471        3/26/2017 - 4/18/2017
FL        Ocoee                10149 West Colonial Drive                                 34761        3/26/2017 - 4/18/2017
FL        Orlando              9200 Jeff Fuqua Blvd., Airside 2                          32827        3/27/2017 - 4/18/2017
FL        Orlando              7800 Dr. Phillips Blvd, Ste 100                           32819        3/26/2017 - 4/18/2017
FL        Orlando              6607 South Semoran Boulevard                              32822        3/25/2017 - 4/18/2017
FL        Orlando              4724 Millenia Plaza Way, E                                32839        3/27/2017 - 4/18/2017
FL        Orlando              464 N. Alafaya Trail Suite 111                            32828        3/25/2017 - 4/18/2017
FL        Orlando              4200 Conroy Road, Ste N-257                               32839        3/26/2017 - 4/18/2017
FL        Orlando              2903 East Colonial                                        32803        3/25/2017 - 4/18/2017
FL        Orlando              2850 S. Kirkman Road                                      32811        3/24/2017 - 4/18/2017
FL        Orlando              2211 S Orange                                             32806        3/25/2017 - 4/18/2017
FL        Orlando              1700 W. Sand Lake Road, Suite D-110                       32809        3/25/2017 - 4/18/2017
FL        Orlando              1495 East Highway 50, Suite 200                           34711        3/26/2017 - 4/18/2017
FL        Orlando              12648 South Orange Blossom Trail, Suite 30                32837        3/27/2017 - 4/18/2017
FL        Orlando              12278 Narcoossee Blvd, 106                                32832        3/27/2017 - 4/18/2017
FL        Orlando              11680 University Boulevard                                32817        3/25/2017 - 4/18/2017
FL        Ormond Beach         1290 West Granada Boulevard, 300                          32174        3/27/2017 - 4/18/2017
FL        Oviedo               327 E Mitchell Hammock , 1021                             32765        3/27/2017 - 4/18/2017
FL        Palm Beach Gardens   4655 PGA Boulevard, Bldg F                                33410        3/26/2017 - 4/18/2017
FL        Palm Beach Gardens   3101 PGA Boulevard, Space L-219 Upper                     33410        3/26/2017 - 4/18/2017
FL        Palm Harbor          33121 US Highway 19N                                      34684        3/26/2017 - 4/18/2017
FL        Panama City Beach    100 Pier Park Drive, Suite 100                            32413        3/27/2017 - 4/18/2017
FL        Pembroke Pines       15880 Pines Boulevard                                     33027        3/24/2017 - 4/18/2017
FL        Pembroke Pines       11041 Pines Blvd., Ste 428                                33026        3/25/2017 - 4/18/2017
FL        Pinecrest            12227 South Dixie Highway                                 33156        3/27/2017 - 4/18/2017
FL        Pinellas Park        3700 Park Boulevard                                       33781        3/25/2017 - 4/18/2017
FL        Pompano Beach        2390 North Federal Highway, 104                           33062        3/27/2017 - 4/18/2017
FL        Port Orange          1731 Dunlawton Ave, Ste 103                               32127        3/26/2017 - 4/18/2017
FL        Port Richey          9203 US Highway 19                                        34668        3/27/2017 - 4/18/2017



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  State                City                             Street Address                    Zip Code   Affected Time Period
FL        Port St. Lucie       1768 S.W. St. Lucie West Boulevard                       34986        3/26/2017 - 4/18/2017
FL        Sanford              1805 WP BALL BOULEVARD                                   32771        3/27/2017 - 4/18/2017
FL        Sarasota             97 N. Cattlemen Road                                     34243        3/26/2017 - 4/18/2017
FL        Sarasota             5354 Fruitville Road, 1                                  34232         3/27/2017 - 4/8/2017
FL        Sarasota             1707 South Tamiami Trail                                 34236        3/25/2017 - 4/18/2017
FL        Seminole             11241 Park Blvd., Suite E                                33772        4/11/2017 - 4/18/2017
FL        South Lakeland       3434 South Florida Ave.                                  33803        3/26/2017 - 4/18/2017
FL        St. Augustine        1753 US 1                                                32084        3/26/2017 - 4/18/2017
FL        St. Cloud            4351 13th Street                                         34769        3/27/2017 - 4/18/2017
FL        St. Petersburg       780 4th Street North                                     33701        3/25/2017 - 4/18/2017
FL        St. Petersburg       3540 4th Street North                                    33704        3/27/2017 - 4/18/2017
FL        St. Petersburg       1418 66th Street North                                   33710        3/24/2017 - 4/18/2017
FL        Stuart               2421 NW Federal Highway                                  34994        3/27/2017 - 4/18/2017
FL        Stuart               2181 SE Federal Highway                                  34994        3/26/2017 - 4/18/2017
FL        Sunrise              129 NW 136th Ave                                         33325        3/25/2017 - 4/18/2017
FL        Sunrise              12801 Sunrise Blvd. Unit F 231                           33323        3/27/2017 - 4/18/2017
FL        Tallahassee          3425 Thomasville Road                                    32308        3/26/2017 - 4/18/2017
FL        Tallahassee          1801 West Tennessee St.                                  32304        3/26/2017 - 4/18/2017
FL        Tallahassee          1498 Apalachee Parkway, Suite 16                         32301        3/26/2017 - 4/18/2017
FL        Tampa                7002 Gunn Highway                                        33625         3/26/2017 - 4/8/2017
FL        Tampa                533 S. Howard Ave.                                       33606        3/25/2017 - 4/18/2017
FL        Tampa                3696 West Gandy Boulevard                                33611         3/27/2017 - 4/8/2017
FL        Tampa                309 N. Westshore Blvd                                    33609        3/24/2017 - 4/18/2017
FL        Tampa                2576 E. Fowler Ave.                                      33612        3/25/2017 - 4/18/2017
FL        Tampa                2223 North West Shore Boulevard, Suite FC 204            33607        3/27/2017 - 4/18/2017
FL        Tampa                2011 North Dale Mabry Hwy                                33607        3/27/2017 - 4/18/2017
FL        Tampa                18019 Highwoods Preserve Parkway                         33647        3/27/2017 - 4/18/2017
FL        Tampa                12827 North Dale Mabry Hwy.                              33618        3/25/2017 - 4/18/2017
FL        Vero Beach           5855 20th Street, Unit 101                               32966        3/26/2017 - 4/18/2017
FL        Wellington           1000 State Road 7, Suite 2                               33414        3/25/2017 - 4/18/2017
FL        West Palm Beach      6714 Forest Hill Boulevard                               33413        3/27/2017 - 4/18/2017
FL        West Palm Beach      2380 Palm Beach Lakes Blvd                               33409        3/25/2017 - 4/18/2017
FL        Weston               4477-79 Weston Road                                      33326        3/25/2017 - 4/18/2017
FL        Winter Garden        3317 Daniels Rd, #102                                    34787        3/25/2017 - 4/18/2017
FL        Winter Haven         804 Cypress Garden Boulevard SE                          33880        3/27/2017 - 4/18/2017
FL        Winter Park          525 South Orlando Avenue                                 32789        3/25/2017 - 4/18/2017
FL        Winter Springs       5637 Red Bug Lake Road                                   32708        3/26/2017 - 4/18/2017
GA        Albany               2630 Dawson Road, 1                                      31705        3/27/2017 - 4/18/2017
GA        Alpharetta           5250 Windward Pkwy, #120                                 30004        3/24/2017 - 4/18/2017



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GA       Alpharetta           10910 Haynes Bridge Road                                  30022        3/26/2017 - 4/18/2017
GA       Athens               165 Alps Road                                             30606        3/26/2017 - 4/18/2017
GA       Atlanta              718 Ponce de Leon Ave.                                    30306        3/24/2017 - 4/18/2017
GA       Atlanta              5920 Roswell Road                                         30328        3/25/2017 - 4/18/2017
GA       Atlanta              5001 Peachtree Blvd, Building 1000, Suite 1010            30341        4/11/2017 - 4/18/2017
GA       Atlanta              4400 Ashford Dunwoody Road NE, #1385                      30346         4/2/2017 - 4/18/2017
GA       Atlanta              3424 Piedmont Rd NE                                       30305        3/25/2017 - 4/18/2017
GA       Atlanta              3393 Peachtree Road, Ste 1017A                            30326        3/26/2017 - 4/18/2017
GA       Atlanta              2973 B Cobb Parkway                                       30339        3/25/2017 - 4/18/2017
GA       Atlanta              2963 N. Druid Hills                                       30329        3/26/2017 - 4/18/2017
GA       Atlanta              2078 Henderson Mill Road Northeast                        30345        3/26/2017 - 4/18/2017
GA       Atlanta              2020 Howell Mill Road NW, Unit #39, Space 39              30318         3/26/2017 - 4/8/2017
GA       Atlanta              1745 Peachtree St NE                                      30309         3/26/2017 - 4/8/2017
GA       Atlanta              1401 Oxford Road                                          30307         3/26/2017 - 4/8/2017
GA       Atlanta              123 Perimeter Center West Suie 500                        30346        3/24/2017 - 4/18/2017
GA       Atlanta              11700 Spine Rd., Suite DF2 Gate D11                       30320        3/26/2017 - 4/18/2017
GA       Buford               3350 Buford Drive, Ste B 260                              30519        3/25/2017 - 4/18/2017
GA       Canton               2026 Cumming Highway, Suite 110                           30114        3/27/2017 - 4/18/2017
GA       Columbus             5295 Whittlesey Blvd, Suite 600                           31909        3/27/2017 - 4/18/2017
GA       Columbus             3201 Macon Rd., 100                                       31906        3/27/2017 - 4/18/2017
GA       Conyers              1467 SE Highway 138                                       30013        3/27/2017 - 4/18/2017
GA       Cumming              905 Market Place Blvd., Ste 25C                           30041        3/27/2017 - 4/18/2017
GA       Decatur              198 West Ponce de Leon Avenue                             30030        3/27/2017 - 4/18/2017
GA       Duluth               2190 Peachtree Industrial Blvd., 110                      30097        3/27/2017 - 4/18/2017
GA       Duluth               2040 Pleasant Hill Road                                   30096        3/24/2017 - 4/18/2017
GA       Duluth               11720 Medlock Bridge Road Bld. 100, Suite 135             30097        3/24/2017 - 4/18/2017
GA       East Point           3330 Camp Creek Parkway, Suite 300                        30344        3/27/2017 - 4/18/2017
GA       Gainesville          1134 Dawsonville HIghway NW                               30501        3/27/2017 - 4/18/2017
GA       Kennesaw             954 Ernest W Barrett Parkway NW, Ste 120                  30144        3/26/2017 - 4/18/2017
GA       Kennesaw             777 Townpark Lane NW, Suite 100                           30144         3/27/2017 - 4/8/2017
GA       Lawrenceville        860 Duluth Highway, Ste 320                               30043        3/25/2017 - 4/18/2017
GA       Macon                120 Tom Hill Sr. Blvd.                                    31210        3/26/2017 - 4/18/2017
GA       Marietta             1281 Johnson Ferry Rd NE, Ste 104                         30068        3/26/2017 - 4/18/2017
GA       Mcdonough            1442 Highway 20 West                                      30253        3/27/2017 - 4/18/2017
GA       Morrow               2011 Mt. Zion Rd.                                         30260        3/26/2017 - 4/18/2017
GA       Norcross             5175 Peachtree Parkway                                    30092        3/26/2017 - 4/18/2017
GA       Pooler               6 Mill Creek Circle, Suite A                              31322        3/26/2017 - 4/18/2017
GA       Roswell              10800 Alpharetta Hwy., 288                                30076        3/25/2017 - 4/18/2017
GA       Sandy Springs        4600 Roswell Road Suite B110                              30342        3/27/2017 - 4/18/2017



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GA         Savannah             318 Mall Blvd Suite 600, Unit C*                           31406        3/26/2017 - 4/18/2017
GA         Savannah             1801 East Victory Drive, Suite 101                         31404        3/26/2017 - 4/18/2017
GA         Snellville           1650 Scenic Highway                                        30078        3/26/2017 - 4/18/2017
GA         Tucker               4347 Hugh Howell Road, 300                                 30084        3/27/2017 - 4/18/2017
GA         Warner Robins        133 Margie Drive                                           31093        3/27/2017 - 4/18/2017
IA         Ames                 435 S Duff Ave., Suite 102                                 50010         4/3/2017 - 4/18/2017
IA         Ankeny               2125 SE Delaware Ave                                       50021        3/27/2017 - 4/18/2017
IA         Cedar Rapids         4444 1st Ave. NE, Suite 538                                52402        3/26/2017 - 4/18/2017
IA         Cedar Rapids         2360 Edgewood Rd SW, Ste. 100                              52404         4/2/2017 - 4/18/2017
IA         Davenport            5270 Elmore Avenue, Suite 3                                52807        3/26/2017 - 4/18/2017
IA         Des Moines           3737 Merle Hay Road                                        50310        3/26/2017 - 4/18/2017
IA         Iowa City            201 South Clinton, Suite 300                               52240        3/25/2017 - 4/18/2017
IA         Sioux City           5001 Sergeant Rd., Suite 240 (Unit 23a)                    51106        3/26/2017 - 4/18/2017
IA         Waterloo             2825 Crossroads Blvd, Suite A                              50702        4/11/2017 - 4/18/2017
IA         West Des Moines      490 South 68th St, Suite 110                               50266        3/27/2017 - 4/18/2017
IA         West Des Moines      1551 Valley West Drive, Suite 224                          50266        3/25/2017 - 4/18/2017
ID         Boise                305 S. 6th Street                                          83702        3/27/2017 - 4/18/2017
ID         Boise                205. N. Milwaukee Street                                   83704        3/25/2017 - 4/18/2017
ID         Chubbuck             4013 Yellowstone Avenue, Suite F                           83202        3/27/2017 - 4/18/2017
ID         Coeur D'alene        305 W. Appleway Ave.                                       83814        3/27/2017 - 4/18/2017
ID         Garden City          7610 W State Street, Suite 110                             83714        3/27/2017 - 4/18/2017
ID         Meridian             2126 N. Eagle Rd., 100                                     83646        3/25/2017 - 4/18/2017
ID         Nampa                1471 Caldwell Blvd                                         83651        3/27/2017 - 4/18/2017
IL         Addison              1078 N. Rohlwing Rd                                        60101        3/26/2017 - 4/18/2017
IL         Algonquin            412 N. Randall Road                                        60102        3/27/2017 - 4/18/2017
IL         Arlington Heights    338 E. RAND ROAD                                           60004        3/25/2017 - 4/18/2017
IL         Aurora               848 N. Route 59 Suite 106                                  60504        3/25/2017 - 4/18/2017
IL         Aurora               2902 Kirk Road, Suite 100^                                 60504        3/26/2017 - 4/13/2017
IL         Aurora               1480 North Orchard Road                                    60507        3/26/2017 - 4/18/2017
IL         Berwyn               7140 West Cermak Road^                                     60402        3/26/2017 - 4/13/2017
IL         Bloomingdale         396 West Army Trail Rd.                                    60108        3/26/2017 - 4/18/2017
IL         Bloomingdale         170 E Lake Street, Suite C                                 60108        3/27/2017 - 4/13/2017
IL         Bloomington          305 N. Veterans Parkway, Suite 101                         61704        3/25/2017 - 4/18/2017
IL         Bolingbrook          274 S Weber Rd.                                            60490        3/25/2017 - 4/18/2017
IL         Bourbonnais          1601 Illinois State Route 50                               60915        3/27/2017 - 4/18/2017
IL         Champaign            903 W. Anthony Drive, #A                                   61820        3/26/2017 - 4/18/2017
IL         Champaign            528 East Green Street, Ste. 101                            61820        3/25/2017 - 4/18/2017
IL         Chicago              806 W. 63rd Street                                         60621        3/27/2017 - 4/18/2017
IL         Chicago              8 E. Madison                                               60602        3/25/2017 - 4/18/2017



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     State               City                              Street Address                     Zip Code   Affected Time Period
IL           Chicago              6600 N Sheridan Road                                      60626        3/25/2017 - 4/18/2017
IL           Chicago              614 W Diversey                                            60657         4/6/2017 - 4/18/2017
IL           Chicago              6 West Grand Ave                                          60611        3/25/2017 - 4/18/2017
IL           Chicago              5961 North Lincoln Ave., Suite 101                        60659        3/26/2017 - 4/18/2017
IL           Chicago              5330 S. Pulaski Road                                      60632        3/27/2017 - 4/18/2017
IL           Chicago              525 West Monroe Street, Suite L1A                         60661        3/26/2017 - 4/18/2017
IL           Chicago              5224 North Broadway Street, Suite 102                     60640        3/26/2017 - 4/18/2017
IL           Chicago              4657 W. Irving Park Road                                  60641        3/26/2017 - 4/18/2017
IL           Chicago              3312 North Western Ave.                                   60618        3/26/2017 - 4/18/2017
IL           Chicago              3227 West Addison Street                                  60618         3/26/2017 - 4/8/2017
IL           Chicago              3181 N. BROADWAY                                          60657        3/26/2017 - 4/18/2017
IL           Chicago              316 N. MICHIGAN AVE.                                      60601        3/25/2017 - 4/18/2017
IL           Chicago              311 S. Wacker, Ste 100                                    60606        3/26/2017 - 4/18/2017
IL           Chicago              2809 North Ashland Avenue                                 60657        3/26/2017 - 4/18/2017
IL           Chicago              2743 North Elston Ave.                                    60647        3/26/2017 - 4/18/2017
IL           Chicago              2640 N. Narragansett Ave Space 1D                         60639        3/25/2017 - 4/18/2017
IL           Chicago              233 W Lake Street                                         60606        3/25/2017 - 4/18/2017
IL           Chicago              2302 W 95th Street                                        60643        3/25/2017 - 4/18/2017
IL           Chicago              230 W. Monroe Street                                      60606        3/25/2017 - 4/18/2017
IL           Chicago              2256-58 N. Orchard St                                     60614        3/25/2017 - 4/18/2017
IL           Chicago              210 West North Ave.                                       60610        3/26/2017 - 4/18/2017
IL           Chicago              2000 N. Clybourn                                          60614        3/25/2017 - 4/18/2017
IL           Chicago              1733 N Damen Ave.                                         60647        3/25/2017 - 4/18/2017
IL           Chicago              1522 E. 53rd Street                                       60615        3/26/2017 - 4/18/2017
IL           Chicago              1166 N State Street                                       60610        3/25/2017 - 4/18/2017
IL           Chicago              1132 S. Clinton St.                                       60607        3/26/2017 - 4/18/2017
IL           Chicago              1025 West Belmont Ave.                                    60657        3/25/2017 - 4/18/2017
IL           Chicago              10 South LaSalle Suite 106                                60603        3/25/2017 - 4/18/2017
IL           Chicago              10 E. JACKSON                                             60604        3/28/2017 - 4/18/2017
IL           Cicero               2201 South Cicero Ave                                     60804        3/27/2017 - 4/18/2017
IL           Countryside          5801 S. LaGrange Rd.                                      60525        3/27/2017 - 4/18/2017
IL           Crestwood            13340 S.Cicero Ave.                                       60445        3/26/2017 - 4/18/2017
IL           Crystal Lake         5006 Northwest Highway                                    60014        3/26/2017 - 4/18/2017
IL           Deerfield            675 DEERFIELD ROAD, STE.120                               60015         4/2/2017 - 4/18/2017
IL           Dekalb               2383 Sycamore Rd.                                         60115        3/27/2017 - 4/18/2017
IL           Dekalb               1013A West Lincoln Hwy.                                   60115        3/28/2017 - 4/18/2017
IL           Downers Grove        1556A Butterfield Road                                    60515        3/26/2017 - 4/18/2017
IL           Downers Grove        1203 W. Ogden Avenue                                      60515         3/27/2017 - 4/8/2017
IL           East Peoria          300 West Washington Street                                61611        3/26/2017 - 4/18/2017



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     State                City                            Street Address                     Zip Code   Affected Time Period
IL           Effingham           1207 N. Keller Drive                                      62401        3/27/2017 - 4/18/2017
IL           Elk Grove Village   910 Elk Grove Town Center                                 60007        3/26/2017 - 4/18/2017
IL           Elmhurst            353 South Illinois Route 83                               60126        3/27/2017 - 4/18/2017
IL           Elmhurst            139 N. York Road                                          60126        3/25/2017 - 4/18/2017
IL           Evanston            711 CHURCH STREET                                         60201        3/25/2017 - 4/18/2017
IL           Fairview Heights    6415 N. Illinois St.                                      62208        3/24/2017 - 4/18/2017
IL           Frankfort           11129 W. Lincoln Hwy.                                     60423        3/26/2017 - 4/18/2017
IL           Geneva              1441 S. Randall Rd. Ste D                                 60134        3/25/2017 - 4/18/2017
IL           Glen Ellyn          695 Roosevelt Road                                        60137        3/25/2017 - 4/18/2017
IL           Glenview            3846 Willow Road                                          60025        3/27/2017 - 4/18/2017
IL           Glenview            2341 WILLOW ROAD                                          60025        3/25/2017 - 4/18/2017
IL           Gurnee              6040 Gurnee Mills Blvd E                                  60031        3/24/2017 - 4/18/2017
IL           Highland Park       1849 Green Bay Ave Suite 159                              60035        3/26/2017 - 4/18/2017
IL           Hoffman Estates     4600 Hoffman Blvd.                                        60192        3/25/2017 - 4/18/2017
IL           Hoffman Estates     15 East Golf Road                                         60169        3/26/2017 - 4/18/2017
IL           Homer Glen          14114 S. Bell Road                                        60491        4/11/2017 - 4/18/2017
IL           Homewood Village    17700 Halsted Street^                                     60430        3/26/2017 - 4/13/2017
IL           Joliet              2848 Plainfield Road                                      60436         3/26/2017 - 4/8/2017
IL           Joliet              2609 W. Jefferson Street                                  60435        3/26/2017 - 4/18/2017
IL           Kildeer             20505 N. Rand Road                                        60047        3/25/2017 - 4/18/2017
IL           Lagrange            40 North La Grange Road                                   60525        3/26/2017 - 4/18/2017
IL           Lake Bluff          945 Rockland Road, Suite A                                60044        3/27/2017 - 4/18/2017
IL           Libertyville        139 N Milwaukee Ave                                       60048         3/26/2017 - 4/8/2017
IL           Lincolnshire        950 Milwaukee Ave, A                                      60069        3/27/2017 - 4/18/2017
IL           Lincolnwood         7150 N McCormick Blvd                                     60712        3/26/2017 - 4/18/2017
IL           Machesney Park      1570 West Lane Road^                                      61115        3/26/2017 - 4/13/2017
IL           Matteson            4815 W. 211th Street                                      60443        3/26/2017 - 4/18/2017
IL           Mchenry             2304 Richmond Road                                        60050        3/26/2017 - 4/18/2017
IL           Melrose Park        1401 West North Avenue                                    60160        3/26/2017 - 4/18/2017
IL           Mokena              19130 S. LaGrange Road                                    60448        3/27/2017 - 4/18/2017
IL           Moline              3941 41st Avenue Drive                                    61265         3/26/2017 - 4/8/2017
IL           Mt. Prospect        102 E. Kensington Road                                    60056        3/26/2017 - 4/18/2017
IL           Naperville          2856 S. Route 59, Suite 108                               60564        3/27/2017 - 4/18/2017
IL           Naperville          22 E Chicago Ave                                          60540        3/25/2017 - 4/18/2017
IL           Naperville          1516 North Naper Blvd., Suite 104                         60565        3/26/2017 - 4/18/2017
IL           Niles               8480 West Golf Road                                       60714        3/26/2017 - 4/18/2017
IL           Normal              701 South Main Street                                     61761        3/26/2017 - 4/18/2017
IL           Normal              1601 East College Avenue                                  61761        3/27/2017 - 4/18/2017
IL           Norridge            4234 North Harlem Avenue                                  60706        3/26/2017 - 4/18/2017



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   State               City                              Street Address                     Zip Code   Affected Time Period
IL         Northbrook          786 N Skokie Blvd                                          60062        3/27/2017 - 4/18/2017
IL         Oak Brook           2103 Clearwater Drive                                      60523        3/26/2017 - 4/18/2017
IL         Oak Lawn            6230-b West 95th Street                                    60453        3/25/2017 - 4/18/2017
IL         Oak Lawn            11018 South Cicero Oak Lawn                                60453        3/27/2017 - 4/18/2017
IL         Oak Park            1128 W Lake Street                                         60301        3/25/2017 - 4/18/2017
IL         Oakbrook Terrace    18W050 22nd Street                                         60181        3/25/2017 - 4/18/2017
IL         Ontario             291 E. Ontario                                             60611        3/25/2017 - 4/18/2017
IL         Orland Park         15240 S LaGrange Rd.                                       60462        3/25/2017 - 4/18/2017
IL         Oswego              2432 Route 34                                              60543        3/25/2017 - 4/18/2017
IL         Palatine            781 E. Dundee Road                                         60074         4/2/2017 - 4/18/2017
IL         Park Ridge          119 South Northwest Highway                                60068        3/26/2017 - 4/18/2017
IL         Peoria              4512 North Sterling Avenue                                 61615        3/26/2017 - 4/18/2017
IL         Plainfield          12720 S. Illinois Route 59, Suite 100                      60585        3/27/2017 - 4/18/2017
IL         Rockford            751 S.Perryville Rd.                                       61108        3/25/2017 - 4/18/2017
IL         Rolling Meadows     1211 Golf Rd                                               60008        3/25/2017 - 4/18/2017
IL         Romeoville          253 S. Weber Road                                          60446        3/27/2017 - 4/18/2017
IL         Rosemont            7020 N. Mannheim Rd.                                       60018        3/25/2017 - 4/18/2017
IL         Round Lake Beach    1936 North Illinois Rte 83                                 60073        3/26/2017 - 4/18/2017
IL         Schaumburg          601 N. Martingale Rd                                       60173        3/26/2017 - 4/18/2017
IL         Schaumburg          2570 W Schaumburg Rd                                       60194        3/25/2017 - 4/18/2017
IL         Skokie              9408 Skokie Blvd.                                          60077        3/25/2017 - 4/18/2017
IL         Skokie              5373 TOUHY AVE                                             60077        3/25/2017 - 4/18/2017
IL         South Elgin         348 Randall Road                                           60177        3/25/2017 - 4/18/2017
IL         Springfield         2579 Wabash                                                62708        3/26/2017 - 4/18/2017
IL         St Charles          3821 Main St.^                                             60174        3/25/2017 - 4/13/2017
IL         Tinley Park         15980 S. Harlem Ave.                                       60477        3/24/2017 - 4/18/2017
IL         Vernon Hills        375 N. MILWAUKEE AVE. #3                                   60061        3/25/2017 - 4/18/2017
IL         Villa Park          298 W. North Avenue, Unit 1                                60181        3/27/2017 - 4/18/2017
IL         Warrenville         28251 Diehl Road                                           60555        3/25/2017 - 4/18/2017
IL         Waukegan            940 South Waukegan Road                                    60085        3/26/2017 - 4/18/2017
IL         West Dundee         Route 31 & 72" 203 North 8th Street"                       60118        3/25/2017 - 4/18/2017
IL         Westmont            300 E Ogden Ave,                                           60559        3/25/2017 - 4/18/2017
IL         Wheaton             811 E Butterfield Rd, #101.                                60187        3/25/2017 - 4/18/2017
IL         Wheaton             2119 West Roosevelt Road                                   60187        3/26/2017 - 4/18/2017
IL         Wheeling            1572 West Lake Cook Road                                   60090        3/25/2017 - 4/18/2017
IL         Willowbrook         7173 Kingery Highway                                       60527        3/26/2017 - 4/18/2017
IN         Aurora              1040 Green Boulevard (RTE 50)                              47001        3/26/2017 - 4/18/2017
IN         Avon                10403 East US Hwy 36                                       46123        3/25/2017 - 4/18/2017
IN         Bloomington         420 E Kirkwood Ave                                         47408        3/25/2017 - 4/18/2017



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  State                City                               Street Address                    Zip Code   Affected Time Period
IN        Bloomington           2894 East Third Street F18B                               47401         4/3/2017 - 4/18/2017
IN        Carmel                2420 East 146th Street                                    46033        3/25/2017 - 4/18/2017
IN        Carmel                12697 North Pennsylvania Street, Suite 100                46032        3/26/2017 - 4/18/2017
IN        Columbus              2260 National Road                                        47201        3/26/2017 - 4/18/2017
IN        Evansville            499 North Green River Road, Suite A                       47715        3/26/2017 - 4/18/2017
IN        Ft Wayne              6175 Lima Road                                            46818        3/27/2017 - 4/18/2017
IN        Ft. Wayne             910 E. Coliseum Blvd.                                     46805        3/25/2017 - 4/18/2017
IN        Ft. Wayne             4210 W. Jefferson Blvd., Suite B-11                       46804        3/25/2017 - 4/18/2017
IN        Highland              10343 Indianapolis Blvd^                                  46322        3/27/2017 - 4/13/2017
IN        Indianapolis          8812 US 31, Suite D                                       46227        3/26/2017 - 4/18/2017
IN        Indianapolis          8702 Keystone Crossing, Space VC03                        46240        3/26/2017 - 4/18/2017
IN        Indianapolis          601 Oscar Robertson Blvd.                                 46202         3/24/2017 - 4/9/2017
IN        Indianapolis          6 East Washington, Ste 100                                46204        3/27/2017 - 4/18/2017
IN        Indianapolis          5320 East 82nd Street, 107                                46250         3/27/2017 - 4/8/2017
IN        Indianapolis          4625 East 96th Street                                     46240        3/25/2017 - 4/18/2017
IN        Indianapolis          3340 W 86th Street^                                       46268        3/25/2017 - 4/12/2017
IN        Indianapolis          1560 E. 86th Street Suite C                               46240        3/25/2017 - 4/18/2017
IN        Indianapolis          1002 Broad Ripple Avenue                                  46220        3/26/2017 - 4/18/2017
IN        Kokomo                1201 South Reed Road, Suite B                             46902        3/26/2017 - 4/18/2017
IN        Lafayette             4030 South Street                                         47905        3/26/2017 - 4/18/2017
IN        Merrillville          1948 Southlake Mall                                       46410        3/28/2017 - 4/18/2017
IN        Michigan City         5218 South Franklin Street                                46360        3/27/2017 - 4/18/2017
IN        Mishawaka             5445 N. Main St, Lot #7                                   46545        3/25/2017 - 4/18/2017
IN        Munster               8201 Calumet Ave.                                         46321        3/26/2017 - 4/18/2017
IN        Plainfield            350 S. Perry Road, 267                                    46168         4/3/2017 - 4/18/2017
IN        Portage               6040 US Highway 6                                         46368         3/27/2017 - 4/8/2017
IN        Richmond              3726 National Rd. East                                    47374        3/25/2017 - 4/18/2017
IN        South Bend            202 West Ireland Road                                     46614        3/27/2017 - 4/18/2017
IN        South Bend            1250 N. Eddy Street, Suite 101                            46617        3/26/2017 - 4/18/2017
IN        Speedway              6321 Crawfordsville Road, F                               46224        4/11/2017 - 4/18/2017
IN        Valparaiso            2505 LaPorte Avenue                                       46383         3/26/2017 - 4/8/2017
IN        West Lafayette        200 W. State Street                                       47906        3/25/2017 - 4/18/2017
KS        Derby                 1700 North Rock Rd, Suite 300                             67037        3/27/2017 - 4/18/2017
KS        Kansas City           1813 Village West Pkwy. Q101                              66111         4/6/2017 - 4/18/2017
KS        Lawrence              911 MASSACHUSETTS                                         66044        3/25/2017 - 4/18/2017
KS        Lawrence              4000 West 6th Street, I^                                  66049        3/25/2017 - 4/13/2017
KS        Lawrence              1420 W. 23rd St.                                          66046        3/27/2017 - 4/18/2017
KS        Lenexa                12150 W 95th Street                                       66215        3/28/2017 - 4/18/2017
KS        Manhattan             606 N. Manhattan Dr.                                      66502        3/25/2017 - 4/18/2017



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  State                City                              Street Address                    Zip Code   Affected Time Period
KS        Mission              6864 Johnson Drive                                        66202        3/25/2017 - 4/18/2017
KS        Olathe               20080 W. 153rd Street                                     66062        3/28/2017 - 4/18/2017
KS        Olathe               15100 W. 119TH ST.                                        66062        3/25/2017 - 4/18/2017
KS        Overland Park        9900 COLLEGE BLVD UNIT 16                                 66210        3/25/2017 - 4/18/2017
KS        Overland Park        7040 W 135th Street                                       66223        3/24/2017 - 4/18/2017
KS        Overland Park        6879 W. 91ST ST.                                          66202        4/11/2017 - 4/18/2017
KS        Overland Park        5065 W. 119th St.                                         66209        3/25/2017 - 4/18/2017
KS        Overland Park        11513 W. 95th St., Suite FCJ                              66214        3/27/2017 - 4/18/2017
KS        Prairie Village      6920 Mission Road, Suite C                                66208        3/26/2017 - 4/18/2017
KS        Shawnee              22235 West 66th Street                                    66226        3/27/2017 - 4/18/2017
KS        Shawnee              11805 Shawnee Mission Parkway                             66203        3/26/2017 - 4/18/2017
KS        Topeka               2040 SW Wanamaker Road                                    66604        3/25/2017 - 4/18/2017
KS        Wichita              7130 W Maple Ste 100                                      67209        3/26/2017 - 4/18/2017
KS        Wichita              535 S. Rock Road                                          67207        3/25/2017 - 4/18/2017
KS        Wichita              515 N Hillside St.                                        67214        3/25/2017 - 4/18/2017
KS        Wichita              3015 N Rock Road                                          67226        3/25/2017 - 4/18/2017
KS        Wichita              2241 N Maize Rd, Suite 111                                67205        3/25/2017 - 4/18/2017
KY        Bowling Green        3040 Scottsville Road, B                                  42104        3/27/2017 - 4/18/2017
KY        Burlington           1803 Patrick Drive                                        41005         3/26/2017 - 4/8/2017
KY        Covington            501 W Fourth Street                                       41011        3/27/2017 - 4/18/2017
KY        Crescent Springs     525 Buttmermilk Pike                                      41017        3/25/2017 - 4/18/2017
KY        Erlanger             3100 Dixie Hwy                                            41018        3/26/2017 - 4/18/2017
KY        Florence             7915 Dream St.                                            41042        3/26/2017 - 4/18/2017
KY        Florence             7516 Mall Road                                            41042        3/25/2017 - 4/18/2017
KY        Highland Heights     2527 Wilson Ave                                           41076        3/26/2017 - 4/18/2017
KY        Lexington            3565 Nicholasville Road, Suite 935                        40503        3/26/2017 - 4/18/2017
KY        Lexington            345 South Limestone                                       40508        3/25/2017 - 4/18/2017
KY        Lexington            2905 Richmond Road                                        40509        3/26/2017 - 4/18/2017
KY        Lexington            1869 Plaudit Place, Unit 140                              40509        4/11/2017 - 4/18/2017
KY        Louisville           420 South Hurstbourne Prkwy                               40222        3/27/2017 - 4/18/2017
KY        Louisville           315 S 4TH STREET                                          40202        3/26/2017 - 4/18/2017
KY        Louisville           13303 Shelbyville Road, Suite 101                         40223        3/27/2017 - 4/18/2017
KY        Louisville           1075 Bardstown Rd                                         40204        3/27/2017 - 4/18/2017
KY        Louisville           10331 Westport Road, Suite 100                            40241        3/26/2017 - 4/18/2017
KY        Newport              93 Carothers Road                                         41071         4/3/2017 - 4/18/2017
LA        Baton Rouge          101 W. State Street^                                      70802        3/26/2017 - 4/13/2017
LA        Bossier City         2610 Airline Drive, 400                                   71111        3/27/2017 - 4/18/2017
LA        Gonzales             2410 Tanger Blvd, 161                                     70737        3/27/2017 - 4/18/2017
LA        Harahan              1208 South Clearview Parkway, Suite A                     70123        3/26/2017 - 4/18/2017



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LA        Houma               1725 Martin Luther King Boulevard                       70360        3/26/2017 - 4/18/2017
LA        Lafayette           4231 Ambassador Caffery Parkway, Suite 101              70508         4/2/2017 - 4/18/2017
LA        Metairie            3600 Veterans Blvd                                      70002        3/26/2017 - 4/18/2017
LA        Shreveport          7030 Youree Drive                                       71105        3/26/2017 - 4/18/2017
LA        Slidell             400 Town Center Parkway                                 70458        3/27/2017 - 4/18/2017
MA        Bedford             301 Great Road                                          1730         3/26/2017 - 4/18/2017
MA        Beverly             55 Dodge Street                                         1915         3/26/2017 - 4/18/2017
MA        Billerica           199 Boston Road                                         1862         3/27/2017 - 4/18/2017
MA        Boston              8 Park Plaza, 1FL D-7                                   2116          4/2/2017 - 4/18/2017
MA        Boston              553 Boylston Street                                     2116         3/27/2017 - 4/18/2017
MA        Boston              51 BOSTON WHARF ROAD                                    2110         3/27/2017 - 4/18/2017
MA        Boston              283 Washington Street                                   2108         3/26/2017 - 4/18/2017
MA        Boston              148 Brookline Avenue                                    2215         3/25/2017 - 4/18/2017
MA        Boston              101 Summer Street                                       2110         3/26/2017 - 4/18/2017
MA        Braintree           250 Granite Street                                      2184         3/25/2017 - 4/18/2017
MA        Brighton            1924 Beacon Street                                      2135         3/25/2017 - 4/18/2017
MA        Brookline           876 Commonwealth Ave                                    2215         3/24/2017 - 4/18/2017
MA        Burlington          110 Burlington Mall Road                                1803         3/26/2017 - 4/18/2017
MA        Cambridge           One Brattle Square Ste. 1A                              2138         3/25/2017 - 4/18/2017
MA        Cambridge           598 Massachusetts Avenue                                2139         3/26/2017 - 4/18/2017
MA        Cambridge           227 Alewife Brook Parkway, Space B-5                    2138         3/26/2017 - 4/18/2017
MA        Cambridge           2 Cambridge Center                                      2142         3/26/2017 - 4/18/2017
MA        Cambridge           100 Cambridgeside Place, F21                            2141         3/26/2017 - 4/18/2017
MA        Chelmsford          65 Drum Hill Road                                       1824          3/27/2017 - 4/8/2017
MA        Chicopee            530 Memorial Dr.                                        1020         3/26/2017 - 4/18/2017
MA        Dedham              180 Providence Hwy                                      2026         3/25/2017 - 4/18/2017
MA        Framingham          1 Worcester Road, Unit 523                              1701         3/24/2017 - 4/18/2017
MA        Franklin            5 Franklin Village Drive, Unit 1                        2038         3/26/2017 - 4/18/2017
MA        Hadley              334 Russell St                                          1035         3/26/2017 - 4/18/2017
MA        Hingham             92 Derby Street, Suite 100                              2043         3/26/2017 - 4/18/2017
MA        Holyoke             235 Whiting Farms Road                                  1040         3/27/2017 - 4/18/2017
MA        Hyannis             793 Iyannough Road                                      2601         3/26/2017 - 4/18/2017
MA        Mansfield           287 School Street, Building B, Suite 110                2048         3/26/2017 - 4/18/2017
MA        Marlborough         237 Boston Post Road West                               1752         3/26/2017 - 4/18/2017
MA        Medford             616 Fellsway                                            2155         3/25/2017 - 4/18/2017
MA        Methuen             90 Pleasant Valley St., 244                             1844          4/3/2017 - 4/18/2017
MA        Newton              300 Needham Street, Space 107.2                         2459         3/26/2017 - 4/18/2017
MA        North Andover       93 Turnpike Road                                        1845         3/26/2017 - 4/18/2017
MA        North Dartmouth     349 State Road                                          2747         3/26/2017 - 4/18/2017



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 State              City                                Street Address                  Zip Code   Affected Time Period
MA       Norwood              1415 Boston- Providence Highway^                        2062         3/26/2017 - 4/13/2017
MA       Peabody              210 Andover St. Suite E194A                             1960         3/25/2017 - 4/18/2017
MA       Quincy               60 Newport Ave.                                         2171         3/26/2017 - 4/18/2017
MA       Randolph             51 Warren Street                                        2368         3/27/2017 - 4/18/2017
MA       Raynham              421 New State Highway                                   2767         3/26/2017 - 4/18/2017
MA       Reading              46 Walkers Brook Road                                   1867         3/27/2017 - 4/18/2017
MA       Saugus               444 Broadway, Space 150 A                               1906         3/26/2017 - 4/18/2017
MA       Seekonk              35 Highland Avenue                                      2771         3/26/2017 - 4/18/2017
MA       Shrewsbury           97 Boston Turnpike                                      1545         3/26/2017 - 4/18/2017
MA       Somerville           274-276 Elm Street                                      2144         3/25/2017 - 4/18/2017
MA       Swampscott           450 Paradise Road                                       1907         3/26/2017 - 4/18/2017
MA       Waltham              1030 Main Street, Unit 5                                2451         3/27/2017 - 4/18/2017
MA       Watertown            550 Arsenal Street                                      2472         3/26/2017 - 4/18/2017
MA       West Springfield     241 Memorial Avenue                                     1089         4/11/2017 - 4/18/2017
MA       Westborough          1 Oak Street                                            1581         3/28/2017 - 4/18/2017
MA       Westford             174 Littleton Road                                      1886         3/26/2017 - 4/18/2017
MA       Westwood             217 University Avenue                                   2090         3/27/2017 - 4/18/2017
MA       Woburn               112 Commerce Way                                        1801         3/26/2017 - 4/18/2017
MD       Annapolis            2002 Annapolis Mall, Space 185                          21401        3/25/2017 - 4/18/2017
MD       Aspen Hill           13501 Connecticut Avenue                                20906        3/25/2017 - 4/18/2017
MD       Baltimore            Main Terminal Concourse A-B Food Court, Space S-11      21240        3/26/2017 - 4/18/2017
MD       Baltimore            919 East Fort Ave                                       21230        3/26/2017 - 4/18/2017
MD       Baltimore            6314 York Road                                          21212        3/25/2017 - 4/18/2017
MD       Baltimore            621 East Pratt Street                                   21202        3/25/2017 - 4/18/2017
MD       Baltimore            5341 Campbell Blvd.                                     21236        3/26/2017 - 4/18/2017
MD       Baltimore            3201 St. Paul Street. Suite A                           21218        3/25/2017 - 4/18/2017
MD       Baltimore            300 West Pratt Street                                   21201        3/27/2017 - 4/18/2017
MD       Baltimore            2400 Boston St                                          21224        3/26/2017 - 4/18/2017
MD       Baltimore            1209 North Charles Street                               21201        3/26/2017 - 4/18/2017
MD       Baltimore            1040 W. 41st Street*                                    21211        3/26/2017 - 4/18/2017
MD       Bel Air              5 Bel Air South Parkway                                 21014        3/25/2017 - 4/18/2017
MD       Bethesda             7600 OLD GEORGETOWN RD                                  20814        3/25/2017 - 4/18/2017
MD       Bethesda             7101 Democracy Blvd., Space FC 16                       20817        3/26/2017 - 4/18/2017
MD       Bethesda             10400 Old Georgetown Road                               20814        3/26/2017 - 4/18/2017
MD       Bowie                15500 Excelsior Drive                                   20716        3/25/2017 - 4/18/2017
MD       Bowie                15475 Annapolis Road, 180                               20715         3/27/2017 - 4/8/2017
MD       Bowie                10201 Martin Luther King Jr Hwy                         20720        3/25/2017 - 4/18/2017
MD       Calverton            12060 Cherry Hill Road                                  20904        3/25/2017 - 4/18/2017
MD       Capitol Heights      9141 Alaking Ct., Suite 111                             20743         3/26/2017 - 4/8/2017



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 State                 City                              Street Address                     Zip Code   Affected Time Period
MD       Chevy Chase            4471 WILLARD AVENUE                                       20815        3/26/2017 - 4/18/2017
MD       Clinton                8913 Woodyard Road                                        20735        3/28/2017 - 4/18/2017
MD       College Park           7332 Baltimore Ave.                                       20740        3/24/2017 - 4/18/2017
MD       College Park           10250 Baltimore Ave, Suite G                              20740        3/26/2017 - 4/18/2017
MD       Columbia               6181 Old Dobbin Lane, Ste 100                             21045        3/25/2017 - 4/18/2017
MD       Columbia               10300 Little Patuxent Pkwy, Space 1420                    21044        3/26/2017 - 4/18/2017
MD       Damascus               9815 Main Street, Suite 104                               20872        3/26/2017 - 4/18/2017
MD       Easton                 8911 Ocean Gateway                                        21601        3/26/2017 - 4/18/2017
MD       Edgewater              3046 Solomons Island Rd Suite 200                         21037        4/11/2017 - 4/18/2017
MD       Ellicott City          9120 Baltimore National Pike                              21042        3/27/2017 - 4/13/2017
MD       Frederick              7810 Wormans Mill Rd.                                     21701        3/26/2017 - 4/18/2017
MD       Frederick              5223 Buckeystown Pike                                     21704        3/24/2017 - 4/18/2017
MD       Fulton                 11811 West Market Place, Suite 3                          20759         3/27/2017 - 4/8/2017
MD       Gaithersburg           96 Main St                                                20878        3/25/2017 - 4/18/2017
MD       Gaithersburg           564 N. FREDERICK AVE                                      20877        3/25/2017 - 4/18/2017
MD       Gaithersburg           205 Boardwalk Place                                       20878        3/27/2017 - 4/18/2017
MD       Gambrills              2503 Brandermill Blvd                                     21054        3/25/2017 - 4/18/2017
MD       Germantown             20940 North Frederick Road, A                             20874         3/27/2017 - 4/8/2017
MD       Germantown             19881 Century Boulevard                                   20874        3/26/2017 - 4/18/2017
MD       Greenbelt              5506 CHERRYWOOD LANE, SUITE G                             20770        3/25/2017 - 4/18/2017
MD       Hagerstown             18003 Garland Groh Blvd.                                  21740        3/25/2017 - 4/18/2017
MD       Hanover                7049 Arundel Mills Blvd, Unit 101 Ste. C                  21076        3/25/2017 - 4/18/2017
MD       Hunt Valley            112 Shawan Road, Ste 2                                    21031        3/25/2017 - 4/18/2017
MD       Hyattsville            5501 Baltimore Ave, Suite 101                             20781        3/26/2017 - 4/18/2017
MD       Kensington             10526 Connecticut Ave                                     20895        3/26/2017 - 4/18/2017
MD       La Plata               105 Drury Drive, Unit B                                   20646        3/26/2017 - 4/18/2017
MD       Lanham                 9301 Woodmore Centre Dr, Suite 514                        20706        3/26/2017 - 4/18/2017
MD       Laurel                 3353 Corridor Marketplace, 200 & 300                      20724        3/26/2017 - 4/18/2017
MD       Laurel                 14354 Baltimore Avenue                                    20707        3/25/2017 - 4/18/2017
MD       Lexington Park         22720 Three Notch Road                                    20653        3/25/2017 - 4/18/2017
MD       Linthicum Heights      1622 West Nursery Road, Ste. A                            21090        3/27/2017 - 4/18/2017
MD       Lutherville-Timonium   1830 York Road, Suite K                                   21093        3/26/2017 - 4/18/2017
MD       Mount Airy             439 E. Ridgeville Road                                    21771        3/26/2017 - 4/18/2017
MD       New Carrollton         8490 Annapolis Road                                       20784        3/27/2017 - 4/18/2017
MD       Ocean City             12909 Ocean Gateway                                       21842        3/26/2017 - 4/18/2017
MD       Olney                  3333 Olney Sandy Springs Rd.                              20832        3/26/2017 - 4/18/2017
MD       Owings Mills           10150 Reisterstown Road, 40                               21117        3/27/2017 - 4/18/2017
MD       Oxon Hill              158 National Plaza, B1-4/B1-5                             20745        3/27/2017 - 4/18/2017
MD       Parkville              7711 Harford Road                                         21234        3/27/2017 - 4/18/2017



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 State               City                                 Street Address                    Zip Code   Affected Time Period
MD       Pikesville              1809 Reisterstown Rd ste 134                             21208        3/26/2017 - 4/18/2017
MD       Potomac                 10116 River Road, Suite B                                20854        3/26/2017 - 4/18/2017
MD       Prince Frederick        144 West Dares Beach Road                                20678         4/3/2017 - 4/18/2017
MD       Rockville               865-B Rockville Pike                                     20851        3/24/2017 - 4/18/2017
MD       Rockville               14925 Shady Grove Rd, Ste L                              20850        3/25/2017 - 4/18/2017
MD       Rockville               11802 E Rockville Pike, Ste E*                           20852        3/26/2017 - 4/18/2017
MD       Rosedale                8652 Pulaski Hwy                                         21237        3/26/2017 - 4/18/2017
MD       Salisbury               2408-B North Salisbury Blvd                              21804        3/27/2017 - 4/18/2017
MD       Salisbury               1016A South Salisbury Blvd.                              21801        3/26/2017 - 4/18/2017
MD       Severna Park            557 Ritchie Way                                          21146        3/26/2017 - 4/18/2017
MD       Silver Spring           907 Ellsworth Drive                                      20910        3/25/2017 - 4/18/2017
MD       Silver Spring           10161 New Hampshire Ave                                  20903        3/27/2017 - 4/18/2017
MD       Silver Spring           10135 Colesville Road                                    20901        3/26/2017 - 4/18/2017
MD       Sykesville              6400F Ridge Road, Ste 1                                  21784        3/27/2017 - 4/18/2017
MD       Towson                  801 Goucher Blvd                                         21286        3/26/2017 - 4/18/2017
MD       Upper Marlboro          2 Watkins Park Drive                                     20774        3/27/2017 - 4/18/2017
MD       Waldorf                 3250 Crain Highway                                       20603        3/25/2017 - 4/18/2017
MD       Westminster             631 Baltimore Blvd, Unit 102                             21157        3/26/2017 - 4/18/2017
MD       Wheaton                 11160 Viers Mill Road                                    20902        3/27/2017 - 4/18/2017
MD       Windsor Mill            7091 Security Blvd                                       21244        3/26/2017 - 4/18/2017
ME       Augusta                 1 Stephen King Drive, Suite 10                           4330         3/26/2017 - 4/18/2017
ME       Bangor                  583 Stillwater Avenue                                    4401         3/27/2017 - 4/18/2017
ME       Portland                195 Kennebec Street, Suite 1                             4101         3/27/2017 - 4/18/2017
ME       Westbrook               25 Main Street                                           4092         3/26/2017 - 4/18/2017
MI       Adrian                  1421 S. Main Street, Unit C                              49221        3/26/2017 - 4/18/2017
MI       Allen Park              3125 Fairlane Drive                                      48101        3/27/2017 - 4/18/2017
MI       Ann Arbor               858 Briarwood Circle, Suite E 130                        48108        3/25/2017 - 4/18/2017
MI       Ann Arbor               3354 Washtenaw Ave                                       48104        3/25/2017 - 4/18/2017
MI       Ann Arbor               235 South State Street                                   48104        3/25/2017 - 4/18/2017
MI       Bloomfield Hills        2100 South Telegraph Road                                48302        3/27/2017 - 4/18/2017
MI       Brighton                8599 West Grand River Ave                                48116        3/27/2017 - 4/18/2017
MI       Canton                  42404 Ford Road                                          48187        3/27/2017 - 4/18/2017
MI       Chesterfield Township   27810 23 Mile Road                                       48051        3/27/2017 - 4/18/2017
MI       Delta Township          5330 West Saginaw Highway Space #208                     48917        3/25/2017 - 4/18/2017
MI       East Lansing            539 E. Grand River Ave                                   48823        3/25/2017 - 4/18/2017
MI       Flint                   4485 Miller Road                                         48507        3/27/2017 - 4/18/2017
MI       Grandville              3070 44th Street SW                                      49418        3/27/2017 - 4/18/2017
MI       Holland                 12365 James Street, 10                                   49424         3/27/2017 - 4/8/2017
MI       Kalamazoo               5363-B West Main Street                                  49009         3/26/2017 - 4/8/2017



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MI       Kentwood            3610 28th Street SE                                      49512        3/25/2017 - 4/18/2017
MI       Madison Heights     32 East Fourteen Mile                                    48071        3/27/2017 - 4/18/2017
MI       Northville          18885 Traditions Drive                                   48168        3/27/2017 - 4/18/2017
MI       Novi                43345 Crescent Blvd.                                     48375        3/27/2017 - 4/18/2017
MI       Orion               4921 Baldwin Road                                        48359        3/27/2017 - 4/18/2017
MI       Rochester Hills     84 North Adams Road, Space A84                           48309        3/26/2017 - 4/18/2017
MI       Rochester Hills     2611 Rochester Road                                      48307        3/25/2017 - 4/18/2017
MI       Roseville           32463 Gratiot Avenue                                     48066        3/27/2017 - 4/18/2017
MI       Royal Oak           32824 Woodward Avenue^                                   48068        3/25/2017 - 4/13/2017
MI       Saginaw             2721 Tittabawassee Road                                  48603        3/26/2017 - 4/18/2017
MI       Southfield          28644 Telegraph Rd Space C-9                             48034        3/26/2017 - 4/18/2017
MI       Southfield          26147 Evergreen Rd.                                      48075        3/25/2017 - 4/18/2017
MI       Sterling Heights    13975 Lakeside Circle                                    48313        3/25/2017 - 4/18/2017
MI       Troy                3129 Crooks Road                                         48084        3/26/2017 - 4/18/2017
MI       Warren              30229 Mound Road                                         48092        3/27/2017 - 4/18/2017
MI       West Bloomfield     6753 Orchard Lake Road                                   48322        3/25/2017 - 4/18/2017
MI       Woodhaven           23061 Allen Road                                         48183        3/27/2017 - 4/18/2017
MN       Apple Valley        7638 W. 150TH ST.                                        55124        3/25/2017 - 4/18/2017
MN       Blaine              599 Northtown Drive, Ste 500                             55434        3/26/2017 - 4/18/2017
MN       Blaine              10450 Baltimore Street NE Suite 100                      55449        3/26/2017 - 4/18/2017
MN       Bloomington         322 S Avenue                                             55425        3/25/2017 - 4/18/2017
MN       Bloomington         10629 France Avenue South                                55431        3/25/2017 - 4/18/2017
MN       Brooklyn Center     5711 Xerxes Avenue North , Suite K                       55430        3/27/2017 - 4/18/2017
MN       Brooklyn Park       7631 Jolly Lane                                          55428        3/25/2017 - 4/18/2017
MN       Burnsville          728 County Road 42 W                                     55337        3/25/2017 - 4/18/2017
MN       Champlin            11209 Aquila Drive N                                     55316        3/27/2017 - 4/18/2017
MN       Chanhassen          560 W 79th                                               55317        3/25/2017 - 4/18/2017
MN       Columbia Heights    5200 Central Avenue NE                                   55421        3/27/2017 - 4/18/2017
MN       Coon Rapids         3455 River Rapids Dr. NW                                 55448        3/25/2017 - 4/18/2017
MN       Cottage Grove       7180 East Point Douglas Road, 300                        55016        3/27/2017 - 4/18/2017
MN       Crystal             5608 W. Broadway                                         55428        3/25/2017 - 4/18/2017
MN       Duluth              1600 Miller Trunk Highway                                55811        3/27/2017 - 4/18/2017
MN       Eagan               3324 PROMENADA AVE.                                      55121        3/25/2017 - 4/18/2017
MN       Eagan               2075 Cliff Road                                          55122        3/26/2017 - 4/18/2017
MN       Eden Prairie        13250 Technology Drive Suite 108                         55344        3/25/2017 - 4/18/2017
MN       Edina               6801 York Ave South                                      55435        3/24/2017 - 4/18/2017
MN       Elk River           18201 Carson Court NW                                    55330        3/25/2017 - 4/18/2017
MN       Golden Valley       515 Winnetka Avenue North                                55427        3/25/2017 - 4/18/2017
MN       Hastings            1769 North Frontage Road*                                55033        3/25/2017 - 4/18/2017



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MN       Hopkins             786 Mainstreet                                          55343        3/25/2017 - 4/18/2017
MN       Mankato             1851 East Madison Ave Ste 100                           56001        3/25/2017 - 4/18/2017
MN       Mankato             1600 Warren Street Suite 1                              56001        3/25/2017 - 4/18/2017
MN       Maple Grove         9881 Maple Grove Prkwy N.                               55369        3/25/2017 - 4/18/2017
MN       Maple Grove         7750 Main St North                                      55369        3/25/2017 - 4/18/2017
MN       Maplewood           3095 White Bear Ave North                               55109        3/26/2017 - 4/18/2017
MN       Maplewood           2303 White Bear Ave, Ste H                              55109        3/25/2017 - 4/18/2017
MN       Minneapolis         800 SE Washington AVE                                   55414        3/26/2017 - 4/18/2017
MN       Minneapolis         50 S 6TH                                                55402        3/25/2017 - 4/18/2017
MN       Minneapolis         3040 EXCELSIOR BLVD #104                                55416        3/25/2017 - 4/18/2017
MN       Minneapolis         2701 39th Avenue NE Suite 128                           55421        3/25/2017 - 4/18/2017
MN       Minneapolis         2600 HENNEPIN AVENUE                                    55408        3/25/2017 - 4/18/2017
MN       Minneapolis         229 Cedar Ave South                                     55454        3/25/2017 - 4/18/2017
MN       Minneapolis         225 Hennepin Avenue East                                55414        3/24/2017 - 4/18/2017
MN       Minneapolis         200 S. 6th St., Suite 100                               55402        3/26/2017 - 4/18/2017
MN       Minneapolis         1040 Nicollet Mall                                      55403        3/25/2017 - 4/18/2017
MN       Minnetonka          4717 County Road 101                                    55345         4/3/2017 - 4/18/2017
MN       Minnetonka          12509 Wayzata Blvd                                      55305        3/26/2017 - 4/18/2017
MN       Oak Park Heights    S.E.C. Krueger Lane & 60th Street N.                    55082        3/25/2017 - 4/18/2017
MN       Plymouth            3425 VICKSBURG LANE NORTH, SUITE A                      55447        3/25/2017 - 4/18/2017
MN       Richfield           7644 Lyndale Avenue South Suite 200^                    55423        3/25/2017 - 4/13/2017
MN       Richfield           1830 East 66th Street                                   55423        3/26/2017 - 4/18/2017
MN       Rochester           3780 Marketplace Dr NW, Suite 100                       55901        3/25/2017 - 4/18/2017
MN       Rochester           1201 South Broadway Suite 60                            55904        3/25/2017 - 4/18/2017
MN       Rogers              13590 Northdale Blvd, 300                               55374        3/27/2017 - 4/18/2017
MN       Rosemount           3390 150th Street                                       55068        3/27/2017 - 4/18/2017
MN       Roseville           10 Rosedale Center, Suite 1020                          55113        3/26/2017 - 4/18/2017
MN       Shakopee            8094 Old Carriage Court North                           55379        3/25/2017 - 4/18/2017
MN       Shoreview           1021 Red Fox Road, Suite 100*                           55126        3/26/2017 - 4/18/2017
MN       St Louis Park       5480 Excelsior Blvd.                                    55416        3/25/2017 - 4/18/2017
MN       St. Cloud           3959 2nd St South, Suite 205                            56301        3/25/2017 - 4/18/2017
MN       St. Cloud           211 5th Ave South                                       56301        3/26/2017 - 4/18/2017
MN       St. Paul            867 Grand Ave.*                                         55105        3/24/2017 - 4/18/2017
MN       St. Paul            29 5TH ST. WEST                                         55102        3/25/2017 - 4/18/2017
MN       St. Paul            2082 FORD PKWY                                          55116        3/25/2017 - 4/18/2017
MN       Vadnais Heights     925 East Country Road E                                 55127        3/25/2017 - 4/18/2017
MN       Wayzata             1313 Wayzata Blvd. East Suite 103                       55391        3/25/2017 - 4/18/2017
MN       West St. Paul       1857 S ROBERT STREET                                    55118        3/24/2017 - 4/18/2017
MN       Woodbury            9965 Hudson Road                                        55125        3/25/2017 - 4/18/2017



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 State                City                            Street Address                    Zip Code   Affected Time Period
MN       Woodbury            7455 CURRELL BLVD #116                                   55125        3/25/2017 - 4/18/2017
MO       Belton              1424 E. North Avenue                                     64012        3/26/2017 - 4/18/2017
MO       Blue Springs        1115 Coronado Drive                                      64014        3/28/2017 - 4/18/2017
MO       Bridgeton           3533 McKelvey Road                                       63044        3/26/2017 - 4/18/2017
MO       Chesterfield        1676 Clarkson Road                                       63017        3/25/2017 - 4/18/2017
MO       Clayton             1 North Central                                          63105        3/25/2017 - 4/18/2017
MO       Columbia            306 South Ninth St                                       65201        3/25/2017 - 4/18/2017
MO       Columbia            2540 Broadway Bluffs Dr.                                 65201        3/24/2017 - 4/18/2017
MO       Creve Coeur         11485 Olive Blvd.                                        63141        3/24/2017 - 4/18/2017
MO       Des Peres           80 West County Center                                    63131        3/26/2017 - 4/18/2017
MO       Ellisville          15836 Manchester Road                                    63011        3/24/2017 - 4/18/2017
MO       Florissant          2391 N. Highway 67                                       63033        3/26/2017 - 4/18/2017
MO       Gladstone           203-1 NE Englewood Road                                  64118        3/26/2017 - 4/18/2017
MO       Independence        18880 E. Valley View Parkway                             64055        3/25/2017 - 4/18/2017
MO       Jefferson City      1400 Missouri Blvd.                                      65109        3/24/2017 - 4/18/2017
MO       Joplin              631-B S. Range Line Road                                 64801        3/27/2017 - 4/18/2017
MO       Kansas City         8700 NE. Flintlock Road                                  64157        3/25/2017 - 4/18/2017
MO       Kansas City         8600 N Boardwalk                                         64154        3/25/2017 - 4/18/2017
MO       Kansas City         501 W. 75TH ST.                                          64114        3/25/2017 - 4/18/2017
MO       Kansas City         4851 Main Street                                         64112        3/25/2017 - 4/18/2017
MO       Kansas City         4323 NE Chouteau Trafficway , A-1                        64117        3/27/2017 - 4/18/2017
MO       Kansas City         4151 Sterling Ave., Suite B                              64133        3/26/2017 - 4/18/2017
MO       Kansas City         1713 W. 39TH ST.                                         64111        3/25/2017 - 4/18/2017
MO       Kansas City         1370 Walnut St.                                          64112        3/25/2017 - 4/18/2017
MO       Kansas City         13127 Stateline Road                                     64145        3/25/2017 - 4/18/2017
MO       Kirkwood            1255 S. Kirkwood Rd.                                     63122        3/24/2017 - 4/18/2017
MO       Lee's Summit        900 NE Columbus St, Unit A                               64086        3/26/2017 - 4/18/2017
MO       Lee's Summit        1716 NW CHIPMAN ROAD, BLDG. MA                           64086        3/25/2017 - 4/18/2017
MO       O'fallon            2028 Highway K, Suite 112                                63366        3/25/2017 - 4/18/2017
MO       Raytown             9205 E 350 Highway                                       64133        3/26/2017 - 4/18/2017
MO       Richmond Heights    1500 South Hanley Road, Suite 1                          63117        3/26/2017 - 4/18/2017
MO       Springfield         3356 S. Campbell Ave.                                    65807        3/25/2017 - 4/18/2017
MO       Springfield         1211 East St. Louis St.                                  65802        3/25/2017 - 4/18/2017
MO       St. Joseph          5107 Belt Highway, Suite 101                             64506        3/25/2017 - 4/18/2017
MO       St. Louis           212 S. Grand Blvd.                                       63103        3/26/2017 - 4/18/2017
MO       St. Louis           1464 St. Louis Galleria                                  63117        3/27/2017 - 4/13/2017
MO       Warrensburg         728 N. Maguire St.                                       64093        4/11/2017 - 4/18/2017
MS       Oxford              2151 Jackson Avenue West                                 38655         3/27/2017 - 4/8/2017
MT       Billings            1601 Grand Ave, Ste 100                                  59102        3/27/2017 - 4/18/2017



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MT       Bozeman               1919 West Main Street                                          59718        3/27/2017 - 4/18/2017
MT       Missoula              2995 N Reserve St., Ste A&B                                    59808        3/27/2017 - 4/18/2017
NC       Apex                  1081 Pine Plaza Dr                                             27502        3/27/2017 - 4/18/2017
NC       Asheville             1828 Hendersonville Rd.                                        28803        3/26/2017 - 4/18/2017
NC       Boone                 1787 Blowing Rock Road, Suite A                                28607        3/26/2017 - 4/18/2017
NC       Cary                  204 Crossroads Blvd, , 212                                     27518        3/27/2017 - 4/18/2017
NC       Cary                  100 Wrenn Drive^                                               27511        3/25/2017 - 4/13/2017
NC       Chapel Hill           301 West Franklin Street                                       27516        3/25/2017 - 4/18/2017
NC       Chapel Hill           1490 Fordham Blvd, Suite 110                                   27514        4/11/2017 - 4/18/2017
NC       Charlotte             9821 Northlake Center Parkway, Unit J                          28216         3/27/2017 - 4/8/2017
NC       Charlotte             9335 N. Tryon Street, Suite 101                                28262        3/26/2017 - 4/18/2017
NC       Charlotte             7800 Rea Rd., F6                                               28277        3/27/2017 - 4/18/2017
NC       Charlotte             7724 Pineville Mathews Rd                                      28226        4/11/2017 - 4/18/2017
NC       Charlotte             4400 Sharon Road, Space G-41                                   28211         3/26/2017 - 4/8/2017
NC       Charlotte             2921 Providence Road, Suite 100                                28211        3/25/2017 - 4/18/2017
NC       Charlotte             239 S. Kings Drive, Ste B                                      28204        3/26/2017 - 4/18/2017
NC       Charlotte             2109 South Blvd.                                               28203        3/25/2017 - 4/18/2017
NC       Charlotte             11619 Waverly Center Dr                                        28277        4/11/2017 - 4/18/2017
NC       Concord               8509 Concord Mills Blvd                                        28027        3/27/2017 - 4/18/2017
NC       Concord               1463 Concord Parkway                                           28025        3/27/2017 - 4/18/2017
NC       Durham                The Streets of Southpoint, 6910 Fayetteville Road, Suite 187   27713        3/26/2017 - 4/18/2017
NC       Durham                3219 Watkins Road                                              27707        3/26/2017 - 4/18/2017
NC       Durham                2608 Erwin Rd, Retail Space 17                                 27705        3/25/2017 - 4/18/2017
NC       Fayetteville          1918 Skibo Road, Suite 102                                     28314        3/26/2017 - 4/18/2017
NC       Fuquay Varina         1385 N Main St, Ste 120                                        27526        4/11/2017 - 4/18/2017
NC       Garner                68 Eagle Wing Way                                              27529        4/11/2017 - 4/18/2017
NC       Gastonia              2501 East Franklin Blvd                                        28056        3/27/2017 - 4/18/2017
NC       Goldsboro             501-A N Berkeley Blvd                                          27534        4/11/2017 - 4/18/2017
NC       Greensboro            5402 Sapp Road                                                 27407        3/25/2017 - 4/18/2017
NC       Greensboro            435 S. Tate Street                                             27403        3/26/2017 - 4/18/2017
NC       Greensboro            1420 Westover Terrace, Ste A                                   27408        3/25/2017 - 4/18/2017
NC       Greenville            610 Greenville Blvd SE                                         27858        3/27/2017 - 4/18/2017
NC       Greenville            4100 Humber Road, 108                                          28590        3/27/2017 - 4/18/2017
NC       Hickory               1770 Highway 70 SE                                             28602        3/26/2017 - 4/18/2017
NC       High Point            4008 Brian Jordan Place, 101                                   27265        3/27/2017 - 4/18/2017
NC       High Point            2313 North Main St, Suite 101                                  27260        3/27/2017 - 4/18/2017
NC       Huntersville          8830 Lindholm Drive, Suite 120                                 28078        3/27/2017 - 4/18/2017
NC       Jacksonville          1345 Western Blvd Unit 140                                     28546        3/26/2017 - 4/18/2017
NC       Kernersville          1020 S Main St, Suite G                                        27284        3/27/2017 - 4/18/2017



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NC       Matthews             1909 Matthews Township Pkwy Unit 100                      28105        4/6/2017 - 4/18/2017
NC       Mooresville          643 River Highway                                         28117        3/26/2017 - 4/18/2017
NC       Morrisville          1516 Village Market Place                                 27560        3/26/2017 - 4/18/2017
NC       New Bern             2999 Dr. Martin Luther King Jr. Blvd.                     28562        3/27/2017 - 4/18/2017
NC       Pineville            11025 Carolina Pl Pkwy, FC-12                             28134        3/27/2017 - 4/18/2017
NC       Raleigh              9504 Strickland Road                                      27615        3/27/2017 - 4/18/2017
NC       Raleigh              6602-3 Glenwood Avenue                                    27612        3/27/2017 - 4/18/2017
NC       Raleigh              6102 Falls of Neuse Rd                                    27609        3/25/2017 - 4/18/2017
NC       Raleigh              6081 Capital Blvd                                         27616        3/27/2017 - 4/18/2017
NC       Raleigh              2316 Hillsborough Street                                  27607        3/26/2017 - 4/18/2017
NC       Smithfield           120 S Equity Dr, Ste A                                    27577        3/27/2017 - 4/18/2017
NC       Wilmington           941 International Drive, Suite 1                          28405        3/26/2017 - 4/18/2017
NC       Wilmington           1525 Fordham Road                                         28403        3/26/2017 - 4/18/2017
NC       Winston-Salem        120 Hanes Mall Circle Suite 100                           27103        3/25/2017 - 4/18/2017
ND       Fargo                1680 45th Street South                                    58103        3/27/2017 - 4/18/2017
NE       Bellevue             10403 S. 15th Street, Bay 106                             68132        3/25/2017 - 4/18/2017
NE       Lincoln              6005 O Street, Suite A                                    68510        3/26/2017 - 4/18/2017
NE       Lincoln              2801 Pine Lake Road                                       68512        3/24/2017 - 4/18/2017
NE       Lincoln              1317 Q Street, Suite 100                                  68508        3/26/2017 - 4/18/2017
NE       Omaha                3605 North 147th Street Suite 111                         68116        3/25/2017 - 4/18/2017
NE       Omaha                2717 South 177th Street                                   68130        3/24/2017 - 4/18/2017
NE       Omaha                201 South 72nd Street                                     68114        3/25/2017 - 4/18/2017
NE       Omaha                13203 West Center Road                                    68114        3/25/2017 - 4/18/2017
NE       Papillion            9820 S. 71st Plaza, Suite 117                             68133        3/26/2017 - 4/18/2017
NH       Bedford              99 S River Road, Unit 1                                   3110         3/26/2017 - 4/13/2017
NH       Concord              265 Loudon Road, Suite 2                                  3301         3/27/2017 - 4/18/2017
NH       Keene                333 Winchester Street                                     3431         3/27/2017 - 4/18/2017
NH       Manchester           926 South Willow Street                                   3103         3/26/2017 - 4/18/2017
NH       Nashua               356 Amherst Street                                        3063         3/26/2017 - 4/18/2017
NH       Nashua               225 Daniel Webster Hwy.                                   3060         3/26/2017 - 4/18/2017
NH       Newington            45 Gosling Road                                           3801         3/25/2017 - 4/18/2017
NJ       Basking Ridge        25 Mountainview Blvd, Unit 5                              7920         3/27/2017 - 4/18/2017
NJ       Brick                74 Brick Plaza                                            8723         3/27/2017 - 4/18/2017
NJ       Bridgewater          600 Commons Way, Suite 4280                               8807         3/25/2017 - 4/18/2017
NJ       Cherry Hill          818 Haddonfield Road                                      8002         3/24/2017 - 4/18/2017
NJ       Clark                1255 Raritan Road, Suite 410                              7066         3/27/2017 - 4/18/2017
NJ       Clifton              380 Route 3 West                                          7014         3/25/2017 - 4/18/2017
NJ       Deptford             2000 Clements Bridge Road, Suite 119A                     8096         3/26/2017 - 4/18/2017
NJ       East Brunswick       619 State Route 18                                        8816         3/26/2017 - 4/18/2017



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NJ        East Hanover         368 Route 10 West                                        7936         3/25/2017 - 4/18/2017
NJ        East Rutherford      40 State Route 17                                        7073         3/26/2017 - 4/18/2017
NJ        Eatontown            186 Route 35 South                                       7724         3/26/2017 - 4/18/2017
NJ        Edgewater            14 The Promenade                                         7020         3/26/2017 - 4/18/2017
NJ        Edison               55 Parsonage Rd, Space FS16A                             8837         3/28/2017 - 4/18/2017
NJ        Englewood            10 Nathaniel Place                                       7631         3/26/2017 - 4/18/2017
NJ        Fort Lee             134 Linwood Plaza                                        7024         3/27/2017 - 4/18/2017
NJ        Freehold             323 West Main Street                                     7728         3/26/2017 - 4/18/2017
NJ        Hoboken              229 Washington Street                                    7030         3/26/2017 - 4/18/2017
NJ        Holmdel              2131 Rte 35, Suite 102                                   7733         3/27/2017 - 4/18/2017
NJ        Howell               4733 Hwy 9 , 200                                         7731         3/27/2017 - 4/18/2017
NJ        Jersey City          525 Washington Blvd Suite G                              7310         3/27/2017 - 4/18/2017
NJ        Lodi                 170 Essex Street, 3                                      7644         3/26/2017 - 4/18/2017
NJ        Madison              6 Main Street                                            7940         3/27/2017 - 4/18/2017
NJ        Marlton              500 Route 73 South, Suite D-18                           8053         3/26/2017 - 4/18/2017
NJ        Mays Landing         2220 Wrangleboro Road                                    8330         3/27/2017 - 4/18/2017
NJ        Moorestown           400 Route 38                                             8057         3/25/2017 - 4/18/2017
NJ        Morris Plains        1711 Route 10                                            7950         3/27/2017 - 4/18/2017
NJ        Mt. Laurel           10 Centerton Road                                        8054         3/26/2017 - 4/18/2017
NJ        New Brunswick        387 George Street                                        8901         3/26/2017 - 4/18/2017
NJ        New Providence       1260 Springfield Avenue, Suite 2                         7974         3/26/2017 - 4/18/2017
NJ        Newark               222 Market Street                                        7102         3/27/2017 - 4/18/2017
NJ        North Brunswick      524 Shoppes Blvd.                                        8902         3/24/2017 - 4/18/2017
NJ        Paramus              One Garden State Plaza^                                  7652         3/26/2017 - 4/13/2017
NJ        Paramus              81 Route 4 West                                          7652         3/26/2017 - 4/18/2017
NJ        Parsippany           1111 Route 46                                            7054         3/26/2017 - 4/18/2017
NJ        Princeton            3524 US Route 1                                          8540          4/3/2017 - 4/18/2017
NJ        Ramsey               1255 Route 17 South, Unit 3                              7446         3/26/2017 - 4/18/2017
NJ        Red Bank             20 Water Street                                          7701         3/27/2017 - 4/18/2017
NJ        Rockaway             301 Mt. Hope Avenue                                      7866         3/26/2017 - 4/18/2017
NJ        Sea Girt             2150 Route 35, Space E-7                                 8750         3/26/2017 - 4/18/2017
NJ        Secaucus             700 Plaza Drive Harmon Plaza                             7094         3/25/2017 - 4/18/2017
NJ        Sicklerville         629-C Berlin Cross Keys Road                             8081         3/26/2017 - 4/18/2017
NJ        South Plainfield     6850 Hadley Road                                         7080         3/26/2017 - 4/18/2017
NJ        Springfield          101 Route 22                                             7081         3/26/2017 - 4/18/2017
NJ        Toms River           1258 Hooper Avenue^                                      8753         3/26/2017 - 4/13/2017
NJ        Voorhees             700 Haddonfield-Berlin Road, Suite 40-C                  8043          3/27/2017 - 4/8/2017
NJ        Watchung             1620 Route 22 East                                       7069         3/27/2017 - 4/18/2017
NJ        Wayne                70 Willowbrook Blvd                                      7470         3/25/2017 - 4/18/2017



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NJ       West Caldwell       749 Bloomfield Ave                                        7006               3/26/2017 - 4/18/2017
NJ       West Orange         235 Prospect Avenue                                       7052               3/27/2017 - 4/18/2017
NJ       Westfield           117 E. Broad Street                                       7090               3/26/2017 - 4/18/2017
NM       Albuquerque         8120 San Pedro Drive NE                                   87113              3/25/2017 - 4/18/2017
NM       Albuquerque         6810 Menaul Blvd NE                                       87110              3/25/2017 - 4/18/2017
NM       Albuquerque         6600 Menaul Blvd. NE, G-001                               87110              3/27/2017 - 4/18/2017
NM       Albuquerque         3600 Coors Blvd NW, A-800                                 87120              3/27/2017 - 4/18/2017
NM       Albuquerque         3400 NM 528 NW, Building B                                87114              3/25/2017 - 4/18/2017
NM       Albuquerque         2608 Central Ave SE, A                                    87106              3/27/2017 - 4/18/2017
NM       Clovis              3501 N. Prince Street, Suite A                            88101              4/11/2017 - 4/18/2017
NV       Henderson           1311 W. Sunset Rd                                         89014              3/25/2017 - 4/18/2017
NV       Henderson           10251 S. Eastern Ave., A                                  89052              3/25/2017 - 4/18/2017
NV       Las Vegas           9240 West Sahara Ave., Suite 150                          89117              3/25/2017 - 4/18/2017
NV       Las Vegas           875 Grand Central Parkway, 1660                           89106               3/27/2017 - 4/8/2017
NV       Las Vegas           7370 Las Vegas Blvd S                                     89123              3/25/2017 - 4/18/2017
NV       Las Vegas           7340 Arroyo Crossing Pkwy., Suite 100                     89118              3/25/2017 - 4/18/2017
NV       Las Vegas           7175 W. Lake Mead Road Ste. 105                           89128              3/25/2017 - 4/18/2017
NV       Las Vegas           7170 North Durango Road, Suite 150                        89149              3/25/2017 - 4/18/2017
NV       Las Vegas           6340 W Charleston Blvd, #110                              89146              3/25/2017 - 4/18/2017
NV       Las Vegas           6211 N Decatur Blvd., Ste 110                             89130              3/27/2017 - 4/18/2017
NV       Las Vegas           5715 S. Eastern Ave., Suite 105                           89119              3/27/2017 - 4/18/2017
NV       Las Vegas           4916 S Fort Apache Rd, Suite 102                          89148              3/25/2017 - 4/18/2017
NV       Las Vegas           4530 S Maryland Pkwy.                                     89119              3/25/2017 - 4/18/2017
NV       Las Vegas           3815 Blue Diamond Road                                    89139              3/27/2017 - 4/18/2017
NV       Las Vegas           3663 Las Vegas Blvd., A020                                89109              3/25/2017 - 4/18/2017
NV       Las Vegas           365 Hughes Center Dr., Suite 140                          89169              3/27/2017 - 4/18/2017
NV       Las Vegas           3475 S. Las Vegas Blvd                                    89109              3/25/2017 - 4/18/2017
NV       Las Vegas           3377 Las Vegas Blvd. S, 2191                              89109              3/27/2017 - 4/18/2017
NV       Las Vegas           3200 Las Vegas Blvd. S.                                   89109              3/25/2017 - 4/18/2017
NV       Las Vegas           2540 South Decatur Blvd.*                                 89102        3/17/2017 and 3/25/2017 - 4/18/2017
NV       Las Vegas           111 N Nellis Blvd, Suite 150                              89110              3/25/2017 - 4/18/2017
NV       North Las Vegas     2546 East Craig Rd., Suite 100                            89030              3/25/2017 - 4/18/2017
NV       Reno                6395 S. McCarren Blvd, Unit A                             89509              3/25/2017 - 4/18/2017
NV       Reno                5144 Mae Anne Avenue, Ste A                               89523              3/27/2017 - 4/18/2017
NV       Sparks              1560 East Lincoln Way, Ste 120                            89434              3/25/2017 - 4/18/2017
NY       Albany              1475 Western Avenue                                       12203              3/26/2017 - 4/18/2017
NY       Albany              105 Wolf Road                                             12205              3/26/2017 - 4/18/2017
NY       Amherst             1643 Niagara Falls Blvd, Suite 44C                        14228              3/24/2017 - 4/18/2017
NY       Bronx               815 Hutchinson River Parkway                              10465              3/27/2017 - 4/18/2017



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 State                City                            Street Address                     Zip Code   Affected Time Period
NY       Bronx                4760 Third Avenue                                        10458        3/27/2017 - 4/18/2017
NY       Bronx                260 East 161st Street                                    10451        3/27/2017 - 4/18/2017
NY       Bronx                193 W. 237th St.                                         10463        3/27/2017 - 4/18/2017
NY       Brooklyn             One Metrotech Center                                     11201        3/27/2017 - 4/18/2017
NY       Brooklyn             5102 Avenue U, Ste 2223                                  11234        3/27/2017 - 4/18/2017
NY       Brooklyn             463 86th Street                                          11209        3/27/2017 - 4/18/2017
NY       Brooklyn             394 Myrtle Avenue                                        11205        3/27/2017 - 4/18/2017
NY       Brooklyn             347 Flatbush Avenue                                      11238        4/11/2017 - 4/18/2017
NY       Brooklyn             2940 Cropsey Avenue                                      11214        4/11/2017 - 4/18/2017
NY       Brooklyn             2170 Nostrand Avenue                                     11210        3/27/2017 - 4/18/2017
NY       Brooklyn             185 Montague Street                                      11201        3/24/2017 - 4/18/2017
NY       Brooklyn             185 7th Avenue                                           11215        3/27/2017 - 4/18/2017
NY       Brooklyn             140 Court Street                                         11201        3/26/2017 - 4/18/2017
NY       Brooklyn             1325 Kings Highway                                       11229        3/27/2017 - 4/18/2017
NY       Brooklyn             130 North 4th Street                                     11249        3/27/2017 - 4/18/2017
NY       Carle Place          135 Old Country Road                                     11514        3/24/2017 - 4/18/2017
NY       Central Valley       498 Red Apple Court, FC-12                               10917        3/27/2017 - 4/18/2017
NY       Cheektowaga          1717 Walden Avenue                                       14225        3/26/2017 - 4/18/2017
NY       Clifton Park         22 Clifton Country Road, Ste 150                         12065        4/11/2017 - 4/18/2017
NY       Deer Park            1090 The Arches Circle                                   11729        3/25/2017 - 4/18/2017
NY       Dobbs Ferry          12 Lawrence Street                                       10522        3/27/2017 - 4/13/2017
NY       Elmhurst             90-15 Queens Blvd.                                       11373        3/26/2017 - 4/18/2017
NY       Farmingdale          901 Broad Hollow Road                                    11735        3/24/2017 - 4/18/2017
NY       Forest Hills         70-30 Austin Street                                      11375        3/26/2017 - 4/18/2017
NY       Garden City          630 Old Country Road                                     11530        3/26/2017 - 4/18/2017
NY       Great Neck           44 Great Neck Road                                       11021        3/26/2017 - 4/18/2017
NY       Hamburg              4405 Mile Strip Road, Unit 5                             14219        3/26/2017 - 4/18/2017
NY       Hauppauge            694 Motor Parkway                                        11788        3/26/2017 - 4/18/2017
NY       Hauppauge            387 Nesconset Hwy                                        11788        3/27/2017 - 4/18/2017
NY       Hicksville           195 N. Broadway                                          11801        3/24/2017 - 4/18/2017
NY       Huntington Station   435 Walt Whitman Road                                    11746        3/24/2017 - 4/18/2017
NY       Ithaca               740 South Meadow St.                                     14850        3/26/2017 - 4/18/2017
NY       Jackson Heights      87-10 Northern Blvd                                      11372        3/27/2017 - 4/18/2017
NY       Kingston             1221/1217 Ulster Avenue                                  12401        3/27/2017 - 4/18/2017
NY       Lake Grove           2093 Smithaven Plaza, Suite C                            11755        4/11/2017 - 4/18/2017
NY       Latham               2 Wade Road                                              12110        3/24/2017 - 4/18/2017
NY       Lawrence             331 Rockaway Turnpike                                    11559        3/26/2017 - 4/18/2017
NY       Levittown            3629 Hempstead Turnpike                                  11756        3/27/2017 - 4/18/2017
NY       Little Neck          254-65 Horace Harding Expressway                         11362        3/26/2017 - 4/18/2017



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NY       Liverpool           3852 State Route 31                                      13090        3/27/2017 - 4/18/2017
NY       Merrick             1996 Merrick Road                                        11566        3/27/2017 - 4/18/2017
NY       Middletown          444 Route 211 East, Suite 2                              10940        3/26/2017 - 4/18/2017
NY       Mineola             530 Jericho Turnpike                                     11501        3/26/2017 - 4/18/2017
NY       New Hartford        4815 Commercial Drive, 200                               13413        3/27/2017 - 4/18/2017
NY       New Hyde Park       2335 New Hyde Park Road                                  11040        3/26/2017 - 4/18/2017
NY       New York            One New York Plaza, Concourse Level, P                   10004        3/27/2017 - 4/18/2017
NY       New York            906 Third Avenue                                         10022         4/3/2017 - 4/18/2017
NY       New York            9 West 42nd Street^                                      10110        3/25/2017 - 4/13/2017
NY       New York            864 Broadway                                             10003        3/24/2017 - 4/18/2017
NY       New York            854 8th Avenue                                           10019        3/27/2017 - 4/18/2017
NY       New York            805 Columbus Avenue                                      10025        3/27/2017 - 4/18/2017
NY       New York            71 Spring Street                                         10012        3/26/2017 - 4/18/2017
NY       New York            680 6th Avenue                                           10010        3/24/2017 - 4/18/2017
NY       New York            625 Broadway                                             10012        3/26/2017 - 4/18/2017
NY       New York            620 9th Avenue                                           10036        3/24/2017 - 4/18/2017
NY       New York            604 2nd Avenue                                           10016        3/26/2017 - 4/18/2017
NY       New York            55 East 8th Street                                       10003        3/25/2017 - 4/18/2017
NY       New York            504 6th Avenue                                           10011        3/26/2017 - 4/18/2017
NY       New York            501 7th Ave.                                             10018        3/24/2017 - 4/18/2017
NY       New York            464 Park Ave. South                                      10016        3/24/2017 - 4/18/2017
NY       New York            405 6th Ave                                              10012        3/26/2017 - 4/18/2017
NY       New York            404 Broadway                                             10013        3/27/2017 - 4/18/2017
NY       New York            4009 Broadway                                            10032        3/26/2017 - 4/18/2017
NY       New York            350 Fifth Avenue, Ste 4-5                                10118        3/24/2017 - 4/18/2017
NY       New York            325 South End Avenue                                     10280        3/26/2017 - 4/18/2017
NY       New York            320 Park Avenue                                          10022        3/24/2017 - 4/18/2017
NY       New York            304 W 34th Street                                        10001        3/24/2017 - 4/18/2017
NY       New York            286 First Avenue                                         10009        3/27/2017 - 4/18/2017
NY       New York            2843 Broadway                                            10025        3/24/2017 - 4/18/2017
NY       New York            283 Seventh Avenue                                       10001        3/24/2017 - 4/18/2017
NY       New York            281 Broadway                                             10007        3/26/2017 - 4/18/2017
NY       New York            28 W 40th Street                                         10018        3/26/2017 - 4/18/2017
NY       New York            275 Greenwich Street                                     10007        3/26/2017 - 4/18/2017
NY       New York            274 Madison Avenue                                       10016        3/25/2017 - 4/18/2017
NY       New York            269 Amsterdam                                            10023        3/24/2017 - 4/18/2017
NY       New York            25 West 45th Street                                      10036        3/25/2017 - 4/18/2017
NY       New York            24 East 12th Street                                      10003        3/26/2017 - 4/12/2017
NY       New York            235 West 56th Street                                     10019        3/26/2017 - 4/18/2017



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 State               City                             Street Address                     Zip Code   Affected Time Period
NY       New York             234 Fifth Avenue                                         10001        3/26/2017 - 4/18/2017
NY       New York             2298 Broadway                                            10024        3/26/2017 - 4/18/2017
NY       New York             200 Varick Street                                        10014        3/24/2017 - 4/18/2017
NY       New York             2 Broadway                                               10004        3/24/2017 - 4/18/2017
NY       New York             19 St Marks Place #23*                                   10003        3/24/2017 - 4/18/2017
NY       New York             150 East 52nd Street                                     10022        3/24/2017 - 4/18/2017
NY       New York             150 E 44th St                                            10017        3/24/2017 - 4/18/2017
NY       New York             1497 3rd Ave.                                            10028        3/26/2017 - 4/18/2017
NY       New York             149 8th Ave                                              10011        3/24/2017 - 4/18/2017
NY       New York             1400 Broadway, Suite 107                                 10018        3/27/2017 - 4/18/2017
NY       New York             1379 Sixth Avenue                                        10019        3/26/2017 - 4/18/2017
NY       New York             1288 1st Avenue                                          10021        3/27/2017 - 4/18/2017
NY       New York             125 East 23rd Street                                     10010        3/25/2017 - 4/18/2017
NY       New York             1221 Avenue of the Americas, Shop V                      10020        3/24/2017 - 4/18/2017
NY       New York             117 East 14th Street                                     10003        3/26/2017 - 4/18/2017
NY       New York             1153 Third Ave                                           10065        3/26/2017 - 4/18/2017
NY       New York             111 Fulton Street                                        10038        3/26/2017 - 4/18/2017
NY       New York             1020 Third Avenue                                        10065        3/27/2017 - 4/18/2017
NY       New York             100 Maiden Lane                                          10005        3/24/2017 - 4/18/2017
NY       Niagara Falls        1785 Military Road, 300                                  14304        3/26/2017 - 4/18/2017
NY       Oceanside            3161 Long Beach Road                                     11572        3/27/2017 - 4/18/2017
NY       Plattsburgh          200 Consumer Square, Ste 208                             12901        3/26/2017 - 4/18/2017
NY       Queens               61-35 Junction Blvd                                      11374        3/27/2017 - 4/18/2017
NY       Queens               26-14 Jackson Avenue                                     11101        3/27/2017 - 4/18/2017
NY       Riverhead            1501 Old Country Road                                    11901        3/27/2017 - 4/18/2017
NY       Rochester            640 Jefferson Road                                       14623        3/25/2017 - 4/18/2017
NY       Rochester            1847 Ridge Road West                                     14615        3/26/2017 - 4/18/2017
NY       Rochester            1495 East Ridge Road                                     14621        3/26/2017 - 4/18/2017
NY       Rochester            1360 Mount Hope Ave                                      14620        3/26/2017 - 4/18/2017
NY       Rye Brook            100 South Ridge Street                                   10573        3/26/2017 - 4/18/2017
NY       Saratoga Springs     3057 NY State Route 50, Suite 5                          12866        3/25/2017 - 4/18/2017
NY       Schenectady          441 Balltown Road, Suite 3                               12304        3/26/2017 - 4/18/2017
NY       Selden               Selden Plaza, 211 Middle Country Road                    11784        3/27/2017 - 4/18/2017
NY       Staten Island        2602 Hylan Blvd, B                                       10309        3/27/2017 - 4/18/2017
NY       Syosset              420 Jericho Turnpike                                     11791        3/26/2017 - 4/18/2017
NY       Syracuse             3496 Erie Blvd East*                                     13214        3/26/2017 - 4/18/2017
NY       Syracuse             129 Marshall Street                                      13210        3/26/2017 - 4/18/2017
NY       Tonawanda            1759 Sheridan Drive                                      14223        3/26/2017 - 4/18/2017
NY       Uniondale            1166 Hempstead Turnpike                                  11553        3/24/2017 - 4/18/2017



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 State               City                             Street Address                   Zip Code   Affected Time Period
NY       Valley Stream       2034 Green Acres Mall                                   11581        3/27/2017 - 4/18/2017
NY       Vestal              4698 Vestal Parkway East                                13850        3/26/2017 - 4/18/2017
NY       Victor              401 Commerce Dr. , Suite 100                            14564        3/27/2017 - 4/18/2017
NY       Wantagh             1194 Wantagh Avenue                                     11793        3/27/2017 - 4/18/2017
NY       Watertown           1290 Arsenal Street, Suite 7                            13601        3/26/2017 - 4/18/2017
NY       Webster             927 Holt Road, 500                                      14580        3/26/2017 - 4/18/2017
NY       West Nyack          1000 Palisades Center Drive, Space A402                 10994        3/27/2017 - 4/18/2017
NY       White Plains        250 Main Street, Suite 101                              10601        3/27/2017 - 4/18/2017
NY       Williamsville       8020 Transit Road, Unit 23*                             14221        3/26/2017 - 4/18/2017
NY       Yonkers             5510 Xavier Dr, Space 5A10                              10704        3/26/2017 - 4/18/2017
OH       Akron               825 W. Market Street                                    44303        3/25/2017 - 4/18/2017
OH       Akron               790 Arlington Ridge, Ste 209                            44312        3/25/2017 - 4/18/2017
OH       Akron               3890 Medina Rd.                                         44333        3/25/2017 - 4/18/2017
OH       Akron               272 East Exchange Street                                44311        3/26/2017 - 4/18/2017
OH       Alliance            1630 State Street                                       44601        3/26/2017 - 4/18/2017
OH       Amelia              1227 State Route 125 Unit #1                            45102        3/26/2017 - 4/18/2017
OH       Amherst             901 N. Leavitt Rd                                       44001        3/26/2017 - 4/18/2017
OH       Athens              41 South Court St.                                      45701        4/12/2017 - 4/18/2017
OH       Avon                35925 Detroit Road, Ste 115                             44011        3/26/2017 - 4/18/2017
OH       Beavercreek         4473 Walnut Street                                      45440        3/25/2017 - 4/18/2017
OH       Beavercreek         3286 New Germany - Trebein Rd, Suite D^                 45431        3/25/2017 - 4/12/2017
OH       Beavercreek         2544 Zink Road, Suite B                                 45324        3/27/2017 - 4/18/2017
OH       Blue Ash            11257 B Reed Hartman Highway                            45241        3/25/2017 - 4/18/2017
OH       Boardman            525 Boardman-Poland Rd. Rte 680                         43026        3/24/2017 - 4/18/2017
OH       Bowling Green       1558 East Wooster Street                                43402        3/25/2017 - 4/18/2017
OH       Brecksville         4416 Royalton Road, Suite A                             44141        3/27/2017 - 4/18/2017
OH       Brooklyn            10325 Cascade Crossing                                  44144        3/24/2017 - 4/18/2017
OH       Brunswick           3362 Center Rd Space E-03                               44212        3/26/2017 - 4/18/2017
OH       Canal Winchester    695 West Waterloo Street                                43110        3/26/2017 - 4/18/2017
OH       Canfield            4542 Boardman Canfield Road                             44406        3/27/2017 - 4/18/2017
OH       Canton              5097 Dressler Road NW                                   44718        3/25/2017 - 4/18/2017
OH       Canton              4130 Tuscarawas St                                      44710        3/26/2017 - 4/18/2017
OH       Centerville         1051 Miamisburg-Centerville Rd                          45459        3/25/2017 - 4/18/2017
OH       Chillicothe         1290 North Bridge Street, Suite A                       45601        3/26/2017 - 4/18/2017
OH       Cincinnati          9430 Colerain Avenue                                    45251        3/25/2017 - 4/18/2017
OH       Cincinnati          8375 Winton Road                                        45231        3/25/2017 - 4/18/2017
OH       Cincinnati          8154 Montgomery Road                                    45236        3/25/2017 - 4/18/2017
OH       Cincinnati          7875 Montgomery Road, Space F-004                       45236        3/26/2017 - 4/18/2017
OH       Cincinnati          6455 Glenway Ave.                                       45211        3/26/2017 - 4/18/2017



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 State               City                             Street Address                     Zip Code   Affected Time Period
OH       Cincinnati          6440 Harrison Ave., Ste 300*                              45247        3/27/2017 - 4/18/2017
OH       Cincinnati          5555 Glenway Ave Ste 700                                  45238        3/25/2017 - 4/18/2017
OH       Cincinnati          5201 Delhi Ave                                            45238        3/26/2017 - 4/18/2017
OH       Cincinnati          444 OHIO PIKE                                             45255        3/25/2017 - 4/18/2017
OH       Cincinnati          4397 Glen Este - Withamsville Road                        45245        3/25/2017 - 4/18/2017
OH       Cincinnati          3725 Paxton Ave                                           45209        3/25/2017 - 4/18/2017
OH       Cincinnati          258 Stetson Street                                        45219         4/6/2017 - 4/18/2017
OH       Cincinnati          2507 W. Clifton Ave                                       45219        3/26/2017 - 4/18/2017
OH       Cincinnati          1 Fountain Square Plaza                                   45263        3/26/2017 - 4/18/2017
OH       Circleville         1469 South Court Street                                   43113        4/11/2017 - 4/18/2017
OH       Cleveland           3471 Steelyard Drive                                      44109        3/25/2017 - 4/18/2017
OH       Cleveland           224 Euclid Avenue                                         44114        3/26/2017 - 4/18/2017
OH       Cleveland           16729 Lorain Avenue                                       44111        3/26/2017 - 4/18/2017
OH       Cleveland           11452 Euclid Ave                                          44106        3/26/2017 - 4/18/2017
OH       Cleveland Heights   2783 EUCLID HEIGHTS BLVD                                  44106        3/25/2017 - 4/18/2017
OH       Columbus            771 Bethel Road Space E-150                               43214        3/26/2017 - 4/18/2017
OH       Columbus            6815 E. BROAD                                             43213        3/25/2017 - 4/18/2017
OH       Columbus            6590 Sawmill Rd                                           43235        3/25/2017 - 4/18/2017
OH       Columbus            5375 New Albany Rd West                                   43054         3/26/2017 - 4/8/2017
OH       Columbus            488 S. HIGH ST.                                           43215        3/25/2017 - 4/18/2017
OH       Columbus            4750 Morose Road                                          43230        3/25/2017 - 4/18/2017
OH       Columbus            4489 North High Street                                    43219        3/25/2017 - 4/18/2017
OH       Columbus            4034 TOWNSFAIR WAY                                        43219        3/26/2017 - 4/18/2017
OH       Columbus            401 N Front Street, #105                                  43215        3/25/2017 - 4/18/2017
OH       Columbus            2484 E. MAIN ST.                                          43209        3/25/2017 - 4/18/2017
OH       Columbus            1960 East Dublin-Granville Road                           43229        3/25/2017 - 4/18/2017
OH       Columbus            1851 Morse Road                                           43229        3/26/2017 - 4/18/2017
OH       Columbus            1835 Hillliard Rome Road                                  43228        3/25/2017 - 4/18/2017
OH       Columbus            1779 KINGSDALE CENTER                                     43221        3/25/2017 - 4/18/2017
OH       Columbus            1726 N HIGH STREET                                        43201        3/24/2017 - 4/18/2017
OH       Columbus            154 HUTCHINSON AVE                                        43235        3/25/2017 - 4/18/2017
OH       Columbus            1528 Georgesville Road^                                   43228        3/25/2017 - 4/13/2017
OH       Columbus            1140 Polaris Parkway                                      43240        3/28/2017 - 4/18/2017
OH       Columbus            1000 North High Street                                    43201        3/27/2017 - 4/18/2017
OH       Cuyahoga Falls      371 Howe Avenue                                           44221        3/25/2017 - 4/18/2017
OH       Cuyahoga Falls      2042 Portage Trail                                        44221        3/26/2017 - 4/18/2017
OH       Dayton              9208 Main Street                                          45415         3/26/2017 - 4/8/2017
OH       Dayton              6759 Miller Lane^                                         45401        3/25/2017 - 4/13/2017
OH       Dayton              6000 Wilmington Pike                                      45459        3/25/2017 - 4/18/2017



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 State                City                            Street Address                     Zip Code   Affected Time Period
OH       Dayton               1211 BROWN ST                                            45409        3/25/2017 - 4/18/2017
OH       Deerfield Township   9540 Mason Montgomery Rd                                 45040        3/25/2017 - 4/18/2017
OH       Delaware             1710 Columbus Pike                                       43015        3/26/2017 - 4/18/2017
OH       Dublin               6776 PERIMETER LOOP DR                                   43017        3/25/2017 - 4/18/2017
OH       Dublin               6079 Park Center Circle                                  43017        3/25/2017 - 4/18/2017
OH       Elyria               1615 West River Road North                               44035        3/26/2017 - 4/18/2017
OH       Euclid               22204 Lakeshore Blvd                                     44123        4/11/2017 - 4/18/2017
OH       Evendale             2552 Cunningham Drive                                    45241        3/25/2017 - 4/18/2017
OH       Fairfax              6213 Wooster Ave                                         45227        3/26/2017 - 4/13/2017
OH       Fairfield            5410 Dixie Highway                                       45014        3/26/2017 - 4/18/2017
OH       Fairview Park        21029 Center Ridge Rd                                    44126        3/25/2017 - 4/18/2017
OH       Findlay              15067 US Route 224                                       45840        3/24/2017 - 4/18/2017
OH       Forest Park          350 Forest Fair Dr.                                      45240        3/25/2017 - 4/18/2017
OH       Gahanna              95 N. Hamilton Rd.                                       43230        3/26/2017 - 4/18/2017
OH       Garfield Heights     9761 Vista Way                                           44125        3/25/2017 - 4/18/2017
OH       Grandview Heights    1298 W. 5TH AVE.^                                        43212        3/25/2017 - 4/13/2017
OH       Grove City           1671 Stringtown Road                                     43123        3/25/2017 - 4/18/2017
OH       Hamilton             3335 Princeton Road Suite 109                            45011        3/25/2017 - 4/18/2017
OH       Harrison             589 Ring Road                                            45030        3/26/2017 - 4/18/2017
OH       Heath                515 Hebron Road                                          43056        3/25/2017 - 4/18/2017
OH       Highland Heights     6267 Wilson Mills Road, Unit A                           44143        3/27/2017 - 4/18/2017
OH       Hilliard             3670 Fishinger Blvd.                                     43026        3/25/2017 - 4/18/2017
OH       Holland              6658 Airport Hwy.                                        43528        3/25/2017 - 4/18/2017
OH       Huber Heights        7767 Old Troy Pike                                       45424        3/26/2017 - 4/18/2017
OH       Hudson               5 Atterbury Blvd                                         44236        3/25/2017 - 4/18/2017
OH       Independence         6901 Rockside Rd                                         44131        3/25/2017 - 4/18/2017
OH       Jeffersonville       12478 Route 35 NW                                        43128        3/26/2017 - 4/18/2017
OH       Kent                 429 EAST MAIN ST.                                        44240        3/25/2017 - 4/18/2017
OH       Kent                 4050 Cascades Blvd, Unit F                               44240         4/3/2017 - 4/18/2017
OH       Kettering            4329 Far Hills Avenue                                    45429        3/26/2017 - 4/18/2017
OH       Lakewood             14881 DETROIT AVE                                        44107        3/25/2017 - 4/18/2017
OH       Lancaster            1608 N. Memorial Drive                                   43130        3/25/2017 - 4/18/2017
OH       Liberty Township     6876 Cincinnati Dayton Road, 101                         45044        3/27/2017 - 4/18/2017
OH       Lima                 3292 Elida Rd.                                           45807        3/26/2017 - 4/18/2017
OH       Lyndhurst            24369 CEDAR ROAD                                         44124        3/24/2017 - 4/18/2017
OH       Macedonia            8195 Golden Link Blvd.                                   44056        3/25/2017 - 4/18/2017
OH       Mansfield            764 N. Lexingto -Springmill Road                         44906        3/26/2017 - 4/18/2017
OH       Mansfield            2470 O'Possom Run Rd.                                    44903        3/26/2017 - 4/18/2017
OH       Marion               135 Edgefield Blvd                                       43302        3/26/2017 - 4/18/2017



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 State                City                             Street Address                     Zip Code   Affected Time Period
OH       Marysville           1089 Delaware Ave.                                        43040        3/26/2017 - 4/18/2017
OH       Mason                2364 Kings Center Court suite 100                         45040        3/26/2017 - 4/18/2017
OH       Massillon            11 Tommy Henrich Drive NW , S, 13                         44647        3/27/2017 - 4/18/2017
OH       Maumee               1385 Conant Street, Suite A*                              43537        3/25/2017 - 4/18/2017
OH       Mayfield Heights     6717 EASTGATE DR.                                         44124        3/25/2017 - 4/18/2017
OH       Medina               899 N. Court Street                                       44256        3/27/2017 - 4/18/2017
OH       Mentor               9188 Mentor Ave.                                          44060        3/24/2017 - 4/18/2017
OH       Mentor               7851 Reynolds Rd.                                         44060        3/25/2017 - 4/18/2017
OH       Miamisburg           10671 Innovation Drive                                    45342        3/26/2017 - 4/18/2017
OH       Middleburg Heights   17999 Bagley Road                                         44130        3/25/2017 - 4/18/2017
OH       Milford              5697 Romar Drive                                          45150        3/25/2017 - 4/18/2017
OH       Monroe               175 Senate Dr                                             45050        3/26/2017 - 4/18/2017
OH       Mount Vernon         857 Coshocton Ave                                         43050        3/26/2017 - 4/18/2017
OH       Newark               1292 N 21st Street                                        43055        3/26/2017 - 4/18/2017
OH       North Canton         1472 N. Main St.                                          44720        3/26/2017 - 4/18/2017
OH       North Olmstead       26777 Great Northern Shopping Ctr.                        44070        3/25/2017 - 4/18/2017
OH       North Ridgeville     32223 Lorain Road                                         44039        3/26/2017 - 4/18/2017
OH       Norwood              4402 Montgomery Rd                                        45212        3/25/2017 - 4/18/2017
OH       Oxford               1 West High Street                                        45056        3/26/2017 - 4/18/2017
OH       Parma                7683 West Ridgewood Drive                                 44129        3/27/2017 - 4/18/2017
OH       Parma                1042 W Pleasant Valley Road                               44134        3/27/2017 - 4/18/2017
OH       Perrysburg           10711 Freemont Pike                                       43551        3/26/2017 - 4/18/2017
OH       Powell               9733 Sawmill Parkway, Suite G                             43065        3/26/2017 - 4/18/2017
OH       Powell               8695 Owenfield Drive                                      43065        3/25/2017 - 4/18/2017
OH       Reynoldsburg         7611 Farmsburg Drive                                      43068        3/25/2017 - 4/18/2017
OH       Reynoldsburg         6316 TUSSING RD.                                          43068        3/26/2017 - 4/18/2017
OH       Sandusky             4318 Milan Road, Suite 2                                  44870        3/26/2017 - 4/18/2017
OH       Sharonville          11974 Lebanon Road                                        45241        3/26/2017 - 4/18/2017
OH       Sidney               1975 W. Michigan Street                                   45365        3/27/2017 - 4/18/2017
OH       Solon                33599 Aurora Road                                         44139        3/24/2017 - 4/18/2017
OH       South Euclid         13937 Cedar Road                                          44118         3/26/2017 - 4/8/2017
OH       Springboro           5 Greenwood Lane                                          45066        3/26/2017 - 4/18/2017
OH       Springdale           11700 Princeton Road , #3C                                45246        3/27/2017 - 4/18/2017
OH       Springfield          1930 N. Bechtle Avenue                                    45504         4/3/2017 - 4/18/2017
OH       St Clairsville       68041 Mall Ring Rd                                        43950        4/11/2017 - 4/18/2017
OH       Stow                 4338 Kent Road, Unit 400                                  44224        3/24/2017 - 4/18/2017
OH       Streetsboro          9754 State Route 14                                       44241        3/26/2017 - 4/18/2017
OH       Strongsville         500 Southpark Center Space HL90                           44136        3/25/2017 - 4/18/2017
OH       Strongsville         15029 Pearl Rd.                                           44136        3/25/2017 - 4/18/2017



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 State               City                                 Street Address                     Zip Code   Affected Time Period
OH       Tiffin                 596 W. Market St., Unit C                                  44883        3/27/2017 - 4/18/2017
OH       Toledo                 7229 W. Central Ave.                                       43617        3/25/2017 - 4/18/2017
OH       Toledo                 4109 Talmadge Road                                         43623        3/26/2017 - 4/18/2017
OH       Toledo                 3305 W. Central Ave. Suite A-2-60                          43606        3/28/2017 - 4/18/2017
OH       Troy                   1934 W. Main Street                                        45373        3/26/2017 - 4/18/2017
OH       Twinsburg              2640 Creekside Drive                                       44087        3/27/2017 - 4/18/2017
OH       Wadsworth              992 High Street, Suite B                                   44281        3/26/2017 - 4/18/2017
OH       Warren                 1922 Niles-Courtland Road SE                               44484        3/25/2017 - 4/18/2017
OH       Warrensville Heights   4015 Richmond Road                                         44122        3/24/2017 - 4/18/2017
OH       West Chester           9324 Union Centre Blvd                                     45069        3/25/2017 - 4/18/2017
OH       West Chester           7717 Voice of Center Dr.                                   45069        3/25/2017 - 4/18/2017
OH       Westerville            641 S. STATE STREET                                        43081        3/25/2017 - 4/18/2017
OH       Westerville            63 Maxtown Road                                            43081        3/25/2017 - 4/18/2017
OH       Westlake               135 Market Street Detroit                                  44145        3/25/2017 - 4/18/2017
OH       Whitehall              3822 Broad Street, Unit 41A                                43213        3/26/2017 - 4/18/2017
OH       Willoughby             36200 Euclid Avenue, #12                                   44094        3/25/2017 - 4/18/2017
OH       Woodmere               28077 Chagrin Blvd                                         44122        3/27/2017 - 4/18/2017
OH       Wooster                4124 Burbank Road                                          44691        3/25/2017 - 4/18/2017
OH       Xenia                  1620 West Park Square                                      45385        3/26/2017 - 4/18/2017
OH       Zanesville             3581 Maple Avenue                                          43701        3/25/2017 - 4/18/2017
OK       Edmond                 1569 South Broadway Street                                 73013        3/25/2017 - 4/18/2017
OK       Moore                  705 Southwest 19th Street, 200                             73160        3/27/2017 - 4/18/2017
OK       Norman                 765 Asp Avenue                                             73069        3/25/2017 - 4/18/2017
OK       Norman                 1641 24th Ave. NW                                          73069        3/27/2017 - 4/18/2017
OK       Oklahoma City          3315 NW Expressway, Ste A                                  73112         4/6/2017 - 4/18/2017
OK       Oklahoma City          14221 N. Pennsylvania Ave                                  73134        3/27/2017 - 4/18/2017
OK       Stillwater             415 E. Hall of Fame Avenue                                 74075        3/27/2017 - 4/18/2017
OK       Tulsa                  6060 S. Yale Ave.                                          74135        3/27/2017 - 4/18/2017
OK       Tulsa                  5730 E. 41st St., 200                                      74135        3/27/2017 - 4/18/2017
OK       Tulsa                  1623 East 15th Street South                                74120        3/26/2017 - 4/18/2017
OK       Tulsa                  10902 E.71st St., Ste 10904*                               74133        3/26/2017 - 4/18/2017
OR       Beaverton              9120 SW Hall Blvd., Suite D                                97223        3/25/2017 - 4/18/2017
OR       Beaverton              3380 SW Cedar Hills                                        97005        3/25/2017 - 4/18/2017
OR       Beaverton              14795 Murray Scholls Dr., Ste. 112^                        97007        3/27/2017 - 4/13/2017
OR       Bend                   222 NE Emerson Ave, Ste 100                                97701        3/27/2017 - 4/18/2017
OR       Corvallis              2501 NW Monroe Avenue                                      97330        3/25/2017 - 4/18/2017
OR       Eugene                 460 Coburg Road, Suite 302                                 97401        3/25/2017 - 4/18/2017
OR       Eugene                 1395 University Street                                     97403         4/6/2017 - 4/18/2017
OR       Gresham                2065 NE Burnside Road                                      97030        3/25/2017 - 4/18/2017



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  State               City                              Street Address                    Zip Code   Affected Time Period
OR        Happy Valley         17015 SE Sunnyside Road , 110                            97086        3/27/2017 - 4/18/2017
OR        Happy Valley         12130 SE 82nd Avenue, Suite 4050                         97086        3/25/2017 - 4/18/2017
OR        Hillsboro            4530 NE Cornell Road                                     97124        3/27/2017 - 4/18/2017
OR        Hillsboro            2048 NW Stucki Avenue                                    97124        3/25/2017 - 4/18/2017
OR        Keizer               6198 Ulali Drive NE                                      97303        3/27/2017 - 4/18/2017
OR        Lake Oswego          8 Centerpointe Dr., Suite C                              97035        3/25/2017 - 4/18/2017
OR        Medford              7 Rossanley Drive, Suite B-7                             97501        3/25/2017 - 4/18/2017
OR        Portland             9687 N.E. Cascades Parkway                               97220        3/27/2017 - 4/18/2017
OR        Portland             704 N.E. Weidler                                         97232        3/25/2017 - 4/18/2017
OR        Portland             240 SW Yamhill Street                                    97204        3/25/2017 - 4/18/2017
OR        Portland             1948 SW Broadway                                         97207        3/25/2017 - 4/18/2017
OR        Portland             1933 W Burnside                                          97209        4/11/2017 - 4/18/2017
OR        Portland             13535 NW Cornell Road Suite C                            97229        3/27/2017 - 4/18/2017
OR        Portland             1201 NW Lovejoy Street                                   97209        3/25/2017 - 4/18/2017
OR        Salem                890 NE Lancaster Drive                                   97301        3/25/2017 - 4/18/2017
OR        Salem                3883 Commercial Street SE, 150                           97302        3/27/2017 - 4/18/2017
OR        Sherwood             21332 SW Langer Farms Pkwy, Building D, Ste 118          97140         4/3/2017 - 4/18/2017
OR        Springfield          2860 Gateway Street, Suite MT200                         97477        3/27/2017 - 4/18/2017
OR        Tualatin             7003 SW Nyberg St.                                       97062        3/25/2017 - 4/18/2017
OR        Wilsonville          29991 SW Town Center Loop, Suite A                       97070        3/27/2017 - 4/18/2017
PA        Abington             1437 Old York Road                                       19001         3/26/2017 - 4/8/2017
PA        Allentown            750 N. Krocks Road, Ste. 7A                              18106        3/27/2017 - 4/18/2017
PA        Allentown            3114 W. Tilghman Street, 1892                            18104        3/27/2017 - 4/18/2017
PA        Allentown            1870 Airport Road                                        18109        3/27/2017 - 4/18/2017
PA        Altoona              1600 Osgood Drive                                        16602        3/26/2017 - 4/18/2017
PA        Ardmore              133 W. Lancaster Ave.                                    19003        3/25/2017 - 4/18/2017
PA        Bridgeville          3009 Washington Pike                                     15017        3/27/2017 - 4/18/2017
PA        Camp Hill            3216 Trindle Road                                        17011        3/26/2017 - 4/18/2017
PA        Canonsburg           3840 Washington Road                                     15317        3/26/2017 - 4/18/2017
PA        Carlisle             40 Noble Blvd., Suite 32, #32                            17013         4/3/2017 - 4/18/2017
PA        Chambersburg         975 Norland Avenue                                       17201        3/26/2017 - 4/18/2017
PA        Cranberry Township   20024 Route 19                                           16066        3/26/2017 - 4/18/2017
PA        Dickson City         1245 Commerce Blvd                                       18519        3/27/2017 - 4/18/2017
PA        Doylestown           569 N. Main Street                                       18901        3/26/2017 - 4/18/2017
PA        East Liberty         5986 Centre Ave                                          15206        4/11/2017 - 4/18/2017
PA        Easton               4743 Freemansburg Avenue, E105                           18045        3/27/2017 - 4/18/2017
PA        Erie                 6611 Peach Street                                        16509        3/28/2017 - 4/18/2017
PA        Erie                 2204 W. 12th St                                          16505        3/27/2017 - 4/18/2017
PA        Exton                221 North Pottstown Pike                                 19341        3/26/2017 - 4/18/2017



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PA        Fort Washington     1673 Limekiln Pike                                       19034        3/27/2017 - 4/18/2017
PA        Glen Mills          1751 Wilmington Pike, Suite C-3                          19342        3/27/2017 - 4/18/2017
PA        Greensburg          2014 Lincoln Place                                       15601        3/26/2017 - 4/18/2017
PA        Hanover             32 Wilson Avenue                                         17331        3/27/2017 - 4/18/2017
PA        Harrisburg          5106-I Jonestown Rd.                                     17109        3/26/2017 - 4/18/2017
PA        Harrisburg          3531 Union Deposit Road                                  17109        3/27/2017 - 4/18/2017
PA        Havertown           116 W Township Line Road, Suite 206                      19083        3/27/2017 - 4/18/2017
PA        Hermitage           125 North Hermitage Road                                 16148        3/26/2017 - 4/18/2017
PA        Hershey             210 West Chocolate Avenue                                17033        4/11/2017 - 4/18/2017
PA        Indiana             1781 Oakland Avenue                                      15701        3/26/2017 - 4/18/2017
PA        King Of Prussia     620 West DeKalb Pike                                     19406        3/27/2017 - 4/18/2017
PA        King Of Prussia     160 North Gulph Road, Ste 1049                           19406        3/27/2017 - 4/18/2017
PA        Lancaster           2081 Fruitville Pike                                     17601        3/26/2017 - 4/18/2017
PA        Lebanon             1451 Quentin Road, Ste. 100                              17042        4/11/2017 - 4/18/2017
PA        Lewisburg           7445 West Branch Highway                                 17837         4/2/2017 - 4/18/2017
PA        Mechanicsburg       6455 Carlisle Pike, B                                    17050        3/26/2017 - 4/18/2017
PA        Monroeville         4137 William Penn Highway                                15146        3/26/2017 - 4/18/2017
PA        Newtown Square      3741 West Chester Pike, 106                              19073        4/11/2017 - 4/18/2017
PA        North Wales         30 Airport Square                                        19454        3/24/2017 - 4/18/2017
PA        Philadelphia        9173 Roosevelt Avenue                                    19114        3/27/2017 - 4/18/2017
PA        Philadelphia        8500 Essington Ave, Space FH13, F Terminal Hub           19153        3/26/2017 - 4/18/2017
PA        Philadelphia        4030 City Ave. Unit 1                                    19131        3/26/2017 - 4/18/2017
PA        Philadelphia        3925 Walnut Street, Ste 128                              19104        3/28/2017 - 4/18/2017
PA        Philadelphia        3400 Lancaster Avenue, Suite 10^                         19104        3/27/2017 - 4/13/2017
PA        Philadelphia        2327 Cottman Avenue, Suite 61                            19149        3/26/2017 - 4/18/2017
PA        Philadelphia        1625 Chestnut Street, Space F6                           19103        3/26/2017 - 4/18/2017
PA        Philadelphia        1512 Walnut Street                                       19103        3/26/2017 - 4/18/2017
PA        Philadelphia        1200 Walnut Street                                       19107         3/26/2017 - 4/8/2017
PA        Philadelphia        1100 West Montgomery Ave, 1st floor, Suite A             19122        3/26/2017 - 4/18/2017
PA        Pittsburgh          8870 Covenant Ave                                        15237        3/27/2017 - 4/18/2017
PA        Pittsburgh          509 Clairton Blvd.                                       15236        3/26/2017 - 4/18/2017
PA        Pittsburgh          4861 McKnight Road                                       15237        3/26/2017 - 4/18/2017
PA        Pittsburgh          4800 Baum Blvd.                                          15213        3/26/2017 - 4/18/2017
PA        Pittsburgh          3615 Forbes Ave                                          15213        3/28/2017 - 4/18/2017
PA        Pittsburgh          300 McHolme Drive                                        15275        3/27/2017 - 4/18/2017
PA        Pittsburgh          211 Forbes Ave                                           15222        3/26/2017 - 4/18/2017
PA        Pittsburgh          1720 Washington Road                                     15241        3/26/2017 - 4/18/2017
PA        Pittsburgh          1614 Cochran Road                                        15220        3/26/2017 - 4/18/2017
PA        Pittsburgh          1027 Freeport Road                                       15215        3/27/2017 - 4/18/2017



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  State               City                              Street Address                     Zip Code   Affected Time Period
PA        Plymouth Meeting    500 W. Germantown Pike                                     19462        3/25/2017 - 4/18/2017
PA        Reading             2733 Papermill Rd ste x-5                                  19610        3/26/2017 - 4/18/2017
PA        Shrewsbury          98 Sofia Drive, Suite E                                    17361        3/27/2017 - 4/18/2017
PA        Springfield         801 Baltimore Pike                                         19064        3/27/2017 - 4/18/2017
PA        Springfield         400 S. State Road                                          19064        3/27/2017 - 4/18/2017
PA        State College       116 Heister St                                             16801        3/26/2017 - 4/18/2017
PA        Trevose             3580 Horizon Blvd                                          19053        3/26/2017 - 4/18/2017
PA        Warrington          1513 Main Street Bldg.5 Suite 500A                         18976        3/25/2017 - 4/18/2017
PA        Wayne               309 East Lancaster Ave Store H                             19087        3/26/2017 - 4/18/2017
PA        Wayne               239 E. Swedesford Road                                     19087        4/11/2017 - 4/18/2017
PA        West Chester        101 Turner Lane                                            19380        3/26/2017 - 4/18/2017
PA        Wexford             11359 Perry Highway                                        15090        3/27/2017 - 4/18/2017
PA        Whitehall           837 Lehigh Lifestyle Center                                18052        3/26/2017 - 4/18/2017
PA        Wilkes Barre        280 Mundy Street, 1                                        18702        3/27/2017 - 4/18/2017
PA        Willow Grove        2618 Moreland Road                                         19090        3/25/2017 - 4/18/2017
PA        York                890 Loucks Road, Ste. 110                                  17404        4/11/2017 - 4/18/2017
PA        York                2801 Concord Road                                          17402        3/26/2017 - 4/18/2017
PA        York                1923 Springwood Rd.                                        17403        3/26/2017 - 4/18/2017
RI        Cranston            87 Hillside Rd.                                            2920         3/24/2017 - 4/18/2017
RI        Johnston            1386 Atwood Avenue                                         2919         3/27/2017 - 4/18/2017
RI        Middletown          11 East Main Road                                          2842         3/27/2017 - 4/18/2017
RI        Providence          235 Thayer Street                                          2906         3/26/2017 - 4/18/2017
RI        Smithfield          371 Putnam Pike, Suite O-195                               2917         3/26/2017 - 4/18/2017
RI        Warwick             969 Bald Hill Road                                         2886         3/24/2017 - 4/18/2017
RI        Warwick             1800 Post Road                                             2886          4/3/2017 - 4/18/2017
SC        Aiken               1941 Whiskey Road                                          29803        3/27/2017 - 4/18/2017
SC        Anderson            3556 Clemson Blvd., Suite 300                              29621        3/26/2017 - 4/18/2017
SC        Bluffton            1250 Fording Island Road, Suite A                          29910        4/11/2017 - 4/18/2017
SC        Charleston          374 King Street                                            29401        3/26/2017 - 4/18/2017
SC        Clemson             393 College Avenue                                         29631         4/2/2017 - 4/18/2017
SC        Columbia            619 Gervais Street                                         29201        3/27/2017 - 4/18/2017
SC        Columbia            6070 Garners Ferry Rd.                                     29209        3/27/2017 - 4/18/2017
SC        Columbia            276 Harbison Blvd, Unit 40                                 29212        3/26/2017 - 4/18/2017
SC        Florence            2617 David H McLeod Blvd                                   29501        3/27/2017 - 4/18/2017
SC        Forest Acres        4840 Forest Dr., Suite 16                                  29206        3/25/2017 - 4/18/2017
SC        Greenville          640 Haywood Road                                           29607        3/26/2017 - 4/18/2017
SC        Greenville          4 Market Point Dr, Ste C                                   29607        3/25/2017 - 4/18/2017
SC        Mt. Pleasant        1509 North Highway 17                                      29464        3/27/2017 - 4/18/2017
SC        Myrtle Beach        7955 N Kings Hwy, Suite 340                                29572        3/27/2017 - 4/18/2017



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  State               City                              Street Address                   Zip Code   Affected Time Period
SC        Myrtle Beach         1229 North Retail Court                                 29577        3/26/2017 - 4/18/2017
SC        Myrtle Beach         1000 S. Commons Drive, Unit #1                          29588        3/27/2017 - 4/18/2017
SC        North Charleston     7398 Rivers Ave., Suite 102                             29406        3/26/2017 - 4/18/2017
SC        North Charleston     4953 Centre Pointe Dr.                                  29418        3/27/2017 - 4/18/2017
SC        North Myrtle Beach   1502 Highway 17 N, Unit 1                               29582        3/27/2017 - 4/18/2017
SC        Spartanburg          1490 Wo Ezell Blvd                                      29301        3/26/2017 - 4/18/2017
TN        Brentwood            269 Franklin Road                                       37027         3/26/2017 - 4/8/2017
TN        Clarksville          625 Kennedy Lane                                        37040        3/26/2017 - 4/18/2017
TN        Cordova              695 North Germantown Parkway, 101                       38018        3/27/2017 - 4/18/2017
TN        Franklin             430 Cool Springs Blvd.                                  37067        3/26/2017 - 4/18/2017
TN        Knoxville            7600 Kingston Pike, Suite 1348A                         37919        3/27/2017 - 4/18/2017
TN        Knoxville            4829 N. Broadway St.                                    37918        3/27/2017 - 4/18/2017
TN        Knoxville            204 Advantage Place                                     37923        3/27/2017 - 4/18/2017
TN        Knoxville            1701 Cumberland Avenue                                  37916        3/26/2017 - 4/18/2017
TN        Knoxville            11380 Parkside Drive                                    37934         4/3/2017 - 4/18/2017
TN        Memphis              5865 US Highway 72, Suite 104                           38119        3/26/2017 - 4/18/2017
TN        Memphis              2760 N Germantown Pkwy, Suite 1230 and ST01             38133        3/26/2017 - 4/18/2017
TN        Murfreesboro         479 North Thompson Lane                                 37129        3/27/2017 - 4/18/2017
TN        Nashville            96 White Bridge Road, Ste 103                           37205        3/26/2017 - 4/18/2017
TN        Nashville            6838 Charlotte Pike                                     37209        3/27/2017 - 4/18/2017
TN        Nashville            400 21st Avenue South                                   37203        3/26/2017 - 4/18/2017
TN        Nashville            3900 Hillsboro Pike, Ste 28                             37215        3/24/2017 - 4/18/2017
TN        Nashville            2825 West End Avenue                                    37203        3/24/2017 - 4/18/2017
TN        Oak Ridge            433 South Illinois Ave, A                               37830        3/27/2017 - 4/18/2017
TN        Sevierville          1713 Parkway                                            37862        3/27/2017 - 4/18/2017
TX        Abilene              3800 S Clack St                                         79606        3/27/2017 - 4/18/2017
TX        Addison              3771 BELTLINE ROAD                                      75001         4/3/2017 - 4/18/2017
TX        Allen                103 Central Expressway North                            75013        3/25/2017 - 4/18/2017
TX        Amarillo             2414 South Georgia Street, Ste 200                      79109        3/26/2017 - 4/18/2017
TX        Arlington            5001 South Cooper Street, Suite 125                     76017        3/25/2017 - 4/18/2017
TX        Arlington            2151 North Collins St., Ste 111                         76011        3/25/2017 - 4/18/2017
TX        Arlington            1390 South Cooper Street                                76013        3/25/2017 - 4/18/2017
TX        Austin               9600 S. IH-35 Serv. RD SB, Ste. S-350                   78748        3/24/2017 - 4/18/2017
TX        Austin               801 Congress Avenue                                     78701        3/25/2017 - 4/18/2017
TX        Austin               6301 W. Parmer Ln., Building 2, Ste 201                 78729        3/24/2017 - 4/18/2017
TX        Austin               610 B East Stassney Lane^                               78745        3/27/2017 - 4/13/2017
TX        Austin               5400 Brodie Lane, Suite 1230                            78745        3/25/2017 - 4/18/2017
TX        Austin               4400 N. LAMAR BLVD #101                                 78756        3/25/2017 - 4/18/2017
TX        Austin               3300 Bee Caves Rd. #670                                 78746         3/25/2017 - 4/8/2017



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  State               City                              Street Address                    Zip Code   Affected Time Period
TX        Austin               2700 Anderson Lane, Suite 204                            78757        3/24/2017 - 4/18/2017
TX        Austin               2320 S Lamar                                             78704        3/27/2017 - 4/18/2017
TX        Austin               2230-32 Guadalupe                                        78705        3/25/2017 - 4/18/2017
TX        Austin               1920 East Riverside Drive, Ste E-150                     78741        3/27/2017 - 4/18/2017
TX        Austin               1700 W. Palmer Lane, Ste #262                            78727        3/25/2017 - 4/18/2017
TX        Austin               1201 Barbara Jordan Blvd. Bldg. 13                       78723        3/24/2017 - 4/18/2017
TX        Austin               11301 Lakeline Blvd Suite 230                            78717        3/24/2017 - 4/18/2017
TX        Austin               10515 North Mopac Expressway                             78759        3/24/2017 - 4/18/2017
TX        Baytown              4996 Garth Road                                          77521        3/27/2017 - 4/18/2017
TX        Beaumont             3905 Dowlen Road                                         77706        4/11/2017 - 4/18/2017
TX        Cedar Hill           398 E FM RD 1382                                         75104        3/26/2017 - 4/18/2017
TX        Cedar Park           909 East Whitestone Boulevard                            78613        3/27/2017 - 4/18/2017
TX        College Station      815 University Drive                                     77840        3/24/2017 - 4/18/2017
TX        College Station      1505 University Drive E                                  77840        3/26/2017 - 4/18/2017
TX        Conroe               1301 West Davis Street, Ste B                            77304        3/26/2017 - 4/18/2017
TX        Coppell              104 South Denton Tap Road, Ste 100                       75019        3/25/2017 - 4/18/2017
TX        Copperas Cove        3018 E US Highway 190, Ste 300                           76522        3/27/2017 - 4/18/2017
TX        Corpus Christi       4938 South Staples St., E-1                              78411        3/27/2017 - 4/18/2017
TX        Cypress              28920 Highway 290, H05^                                  77433        3/27/2017 - 4/13/2017
TX        Cypress              17400 Spring Cypress Rd                                  77429        3/27/2017 - 4/18/2017
TX        Dallas               8687 North Central Expressway, Suite 2396                75225        3/26/2017 - 4/18/2017
TX        Dallas               8301 WESTCHESTER                                         75225        3/25/2017 - 4/18/2017
TX        Dallas               7700 N. Central Expressway                               75206        3/25/2017 - 4/18/2017
TX        Dallas               5290 Belt Line Road Suite 102A                           75240        3/25/2017 - 4/18/2017
TX        Dallas               4502 Mckinney Ave                                        75205        3/25/2017 - 4/18/2017
TX        Dallas               4330 Lemmon Avenue                                       75219        3/25/2017 - 4/18/2017
TX        Dallas               3701 W. Northwest Hwy, Building 4, Ste 450               75220        3/27/2017 - 4/18/2017
TX        Dallas               2705 MCKINNEY AVE                                        75204        3/25/2017 - 4/18/2017
TX        Dallas               2201 Abrams Rd                                           75214        3/27/2017 - 4/18/2017
TX        Dallas               208 N. Market Street                                     75202        3/25/2017 - 4/18/2017
TX        Dallas               18152 Preston Rd Suite I-1                               75252        3/26/2017 - 4/18/2017
TX        Dallas               12747 Midway Rd, Suite 100                               75244         4/3/2017 - 4/18/2017
TX        Dallas               11930 PRESTON RD #106                                    75231        3/25/2017 - 4/18/2017
TX        Dallas               11613 N. Central Expressway Ste 100                      75243        3/24/2017 - 4/18/2017
TX        Denton               2735 West University Drive, Suite 1051                   76201        4/11/2017 - 4/18/2017
TX        Denton               1800 South Loop 288 Suite 101-1                          76205        3/25/2017 - 4/18/2017
TX        Denton               1224 W. Hickory St.                                      76201        3/26/2017 - 4/18/2017
TX        Edinburg             1620 West University Drive                               78539        3/27/2017 - 4/18/2017
TX        El Paso              8889 Gateway W. Blvd, Suite 2510                         79925        3/27/2017 - 4/18/2017



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  State              City                               Street Address                    Zip Code   Affected Time Period
TX        El Paso              6801 N Mesa St, Suite A-5                                79912         3/27/2017 - 4/8/2017
TX        El Paso              2900 N Mesa St Suite H-I                                 79902        3/25/2017 - 4/18/2017
TX        El Paso              1355 George Dieter, Suite 101                            79936        3/25/2017 - 4/18/2017
TX        El Paso              10771 Gateway South Boulevard, Bldg. M, Ste 101          79934        3/27/2017 - 4/18/2017
TX        Ennis                905 E. Ennis Avenue, 100                                 75119        3/27/2017 - 4/18/2017
TX        Euless               3010 Texas State Hwy 121, 800                            76039        3/26/2017 - 4/18/2017
TX        Flower Mound         6100 Long Prairie Road                                   75028        3/26/2017 - 4/18/2017
TX        Fort Bliss           1617 Pleasonton Road, Ste G-107                          79906         4/2/2017 - 4/18/2017
TX        Fort Worth           6370 Camp Bowie Blvd Suite 140                           76116        3/26/2017 - 4/18/2017
TX        Fort Worth           4484 Bryant Irvin Road Suite 101                         76102        3/25/2017 - 4/18/2017
TX        Fort Worth           3000 West 7th Street                                     76107        4/11/2017 - 4/18/2017
TX        Fort Worth           2901 Heritage Trace Pkwy, 101                            76177        3/27/2017 - 4/18/2017
TX        Fort Worth           1519 West Rosedale Street                                76104         3/27/2017 - 4/8/2017
TX        Fort Worth           3050 S. HULEN STREET, UNIT C                             76109        3/27/2017 - 4/18/2017
TX        Frisco               6111 Custer Rd., 100                                     75035        3/27/2017 - 4/18/2017
TX        Frisco               3401 PRESTON RD, #2                                      75034        3/24/2017 - 4/18/2017
TX        Garland              4170 Lavon Drive Suite 130                               75040        3/25/2017 - 4/18/2017
TX        Georgetown           900 North Austin Ave., #102                              78628        3/24/2017 - 4/18/2017
TX        Granbury             321 E. Hwy 377                                           76048        3/27/2017 - 4/18/2017
TX        Grand Prairie        4095 S Carrier Parkway #200                              75052         3/26/2017 - 4/8/2017
TX        Grapevine            2225 E. Grapevine Mills Circle                           76051        3/27/2017 - 4/18/2017
TX        Greenville           3118 I-30, Suite A                                       75402         3/27/2017 - 4/8/2017
TX        Harker Heights       201 E. Central Texas Expressway, Suite 1400              76548        3/24/2017 - 4/18/2017
TX        Harlingen            410 Dixieland Road                                       78552        3/27/2017 - 4/18/2017
TX        Houston              9202 Barker Cypress Road                                 77095        3/27/2017 - 4/18/2017
TX        Houston              9102 W. Sam Houston Pkwy , Ste 400                       77064        3/27/2017 - 4/18/2017
TX        Houston              909 Texas St., B                                         77022        3/25/2017 - 4/18/2017
TX        Houston              8505 S. Main ST, Suite 100                               77025        3/25/2017 - 4/18/2017
TX        Houston              8401 Westheimer Rd, Bldg A, Ste 110                      77063        3/24/2017 - 4/18/2017
TX        Houston              803 W. Sam Houston N. Pkwy, Suite 142                    77024        3/26/2017 - 4/18/2017
TX        Houston              7600 FM 1960 WEST                                        77070        3/24/2017 - 4/18/2017
TX        Houston              7457 Southwest Freeway, Suite 300                        77074        3/27/2017 - 4/18/2017
TX        Houston              6887 Highway 6 North                                     77095        3/27/2017 - 4/18/2017
TX        Houston              6600 Fannin St, Space A                                  77030        3/24/2017 - 4/18/2017
TX        Houston              5866 East Sam Houston Pkwy N, Ste F                      77049        3/26/2017 - 4/18/2017
TX        Houston              5600 KIRBY #N-1                                          77005        3/25/2017 - 4/18/2017
TX        Houston              5176 Richmond Ave                                        77056        3/25/2017 - 4/18/2017
TX        Houston              5015 Westheimer Road, A1285                              77056        3/27/2017 - 4/18/2017
TX        Houston              3819 Richmond Ave                                        77027        3/25/2017 - 4/18/2017



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TX        Houston             303 Memorial City Way, Ste 729                            77024        3/26/2017 - 4/18/2017
TX        Houston             2625 Lousiana Road, Suite K                               77006        3/26/2017 - 4/18/2017
TX        Houston             207 Heights Blvd                                          77007        3/26/2017 - 4/18/2017
TX        Houston             2027 South Shepard Road                                   77005        3/25/2017 - 4/18/2017
TX        Houston             13768 Northwest Freeway                                   77040        3/25/2017 - 4/18/2017
TX        Houston             13630 East Freeway, Ste 100                               77015        3/27/2017 - 4/18/2017
TX        Houston             13313 FM 1960                                             77065        3/25/2017 - 4/13/2017
TX        Houston             1260 Fry Road                                             77084        3/25/2017 - 4/18/2017
TX        Houston             1249 North Loop West                                      77008        3/26/2017 - 4/18/2017
TX        Houston             11805 Westheimer, #330                                    77077        3/25/2017 - 4/18/2017
TX        Houston             1120 Eldridge Parkway, Suite 100                          77077        3/26/2017 - 4/18/2017
TX        Houston             10905 Louetta Road                                        77070        3/25/2017 - 4/18/2017
TX        Humble              7418 FM-1960 East, Bldg A                                 77346        3/25/2017 - 4/18/2017
TX        Humble              10035 FM 1960 Bypass West                                 77338        3/25/2017 - 4/18/2017
TX        Huntsville          213 IH 45 South                                           77340        3/27/2017 - 4/18/2017
TX        Hurst               1316 Pipeline Rd.                                         76053        3/24/2017 - 4/18/2017
TX        Irving              8445 N. Beltline Rd, Ste 130                              75063        3/27/2017 - 4/18/2017
TX        Irving              7717 N. MacArthur Blvd.                                   75063        3/25/2017 - 4/18/2017
TX        Irving              2800 North Beltline Road*                                 75062        3/25/2017 - 4/18/2017
TX        Irving              118 E. John Carpenter Fwy, Ste 160                        75062        3/25/2017 - 4/18/2017
TX        Katy                1427 South Mason Road                                     77450        3/26/2017 - 4/18/2017
TX        Killeen             Clear Creek Shopping Center, Building 4250, Unit 105      76544        3/27/2017 - 4/18/2017
TX        Lake Worth          6547 Lake Worth Blvd, Ste 200                             76135        3/27/2017 - 4/18/2017
TX        Laredo              1211 Del Mar Blvd., Ste. 1                                78041        3/27/2017 - 4/18/2017
TX        Lewisville          722 West Main Street                                      75067        3/25/2017 - 4/18/2017
TX        Lewisville          5040 SH 121, Ste 100                                      75056         4/3/2017 - 4/18/2017
TX        Lewisville          2605 South Stemmons Freeway                               75067        3/25/2017 - 4/18/2017
TX        Longview            415 E Loop 281                                            75605        3/26/2017 - 4/18/2017
TX        Lubbock             8201 Quaker Ave, Suite 102                                79424        3/26/2017 - 4/18/2017
TX        Lubbock             2912 W. Loop 289, 102                                     79407        3/27/2017 - 4/18/2017
TX        Lubbock             2411 Glenna Goodacre Blvd                                 79401        3/26/2017 - 4/18/2017
TX        Lufkin              1813 Tulane Drive                                         75901        3/27/2017 - 4/18/2017
TX        Mansfield           1971 US Hwy 287                                           76063         4/3/2017 - 4/8/2017
TX        Mcallen             7300 N 10th Street, Ste 30                                78504        3/27/2017 - 4/18/2017
TX        Mcallen             3400 Expressway 83                                        78501        3/27/2017 - 4/18/2017
TX        Mckinney            2811 Craig Drive Suite 100                                75070        3/26/2017 - 4/18/2017
TX        Mckinney            2014 West University Dr.                                  75071        3/24/2017 - 4/18/2017
TX        Mesquite            1715 N. Town East Blvd.                                   75150        3/25/2017 - 4/18/2017
TX        Midland             2820 West Loop 250, North Suite 210                       79705        3/26/2017 - 4/18/2017



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TX        Missouri City          6245 Hwy 6 Suite 100                                       77459        3/26/2017 - 4/18/2017
TX        Murphy                 121 E FM 544, Ste 129*                                     75094        3/26/2017 - 4/18/2017
TX        New Braunfels          156 Highway 46                                             78130        3/26/2017 - 4/18/2017
TX        North Richland Hills   9127 Grapevine Highway                                     76180        3/24/2017 - 4/18/2017
TX        North Richland Hills   5100 Rufe Snow Drive                                       76180        3/27/2017 - 4/18/2017
TX        Odessa                 3810 E. 42nd Street                                        79762        3/27/2017 - 4/18/2017
TX        Pasadena               5759 Fairmont Parkway                                      77505        3/25/2017 - 4/13/2017
TX        Pearland               2680 Pearland Pkwy, Ste 100                                77581        3/27/2017 - 4/18/2017
TX        Pearland               10645 Broadway Street, Ste 118                             77584        3/26/2017 - 4/18/2017
TX        Pflugerville           2424 Hwy 685, Ste 300                                      78660        3/27/2017 - 4/18/2017
TX        Pharr                  500 N. Jackson, Suite N-1                                  78577        3/27/2017 - 4/18/2017
TX        Plano                  6202 W. Park Blvd., Suite A                                75093        3/26/2017 - 4/18/2017
TX        Plano                  5717 Legacy Drive, Suite 150                               75024        3/26/2017 - 4/18/2017
TX        Plano                  4901 W. Park, Ste 539                                      75093        3/25/2017 - 4/18/2017
TX        Plano                  1009 N. Central Expressway                                 75075        3/25/2017 - 4/18/2017
TX        Port Arthur            2780 Highway 365, Suite D                                  77640        3/27/2017 - 4/18/2017
TX        Richardson             283 West Campbell Road                                     75080        3/28/2017 - 4/18/2017
TX        Richardson             14715 Coit Rd, Suite 102                                   75254        3/26/2017 - 4/18/2017
TX        Rockwall               951 E. Interstate 30, Ste 109                              75032        3/24/2017 - 4/18/2017
TX        Round Rock             201 University Oaks Blvd, 1350 & 1360                      78664        3/26/2017 - 4/18/2017
TX        Round Rock             150 SUNDANCE SUITE 100                                     78681        3/25/2017 - 4/18/2017
TX        Rowlett                3109 Lakeview Pkwy, Suite 100                              75088        4/11/2017 - 4/18/2017
TX        San Antonio            849 East Commerce Street, 693                              78205        4/11/2017 - 4/18/2017
TX        San Antonio            8227 State Highway 151 Suite 105                           78245        3/25/2017 - 4/18/2017
TX        San Antonio            7322 Jones Maltsberger STE 206                             78209        3/25/2017 - 4/18/2017
TX        San Antonio            4727 Medical Drive, Suite 102                              78229         3/26/2017 - 4/8/2017
TX        San Antonio            438 NW 410, Ste 101                                        78216        3/24/2017 - 4/18/2017
TX        San Antonio            3928 Broadway Street                                       78209        3/25/2017 - 4/18/2017
TX        San Antonio            22106 North Highway 281, 101                               78258        3/27/2017 - 4/18/2017
TX        San Antonio            190 West Bitters Road                                      78216        3/27/2017 - 4/18/2017
TX        San Antonio            1201 N. Loop 1604 Suite 120                                78258        3/25/2017 - 4/18/2017
TX        San Antonio            11745 IH-10 West                                           78230        3/25/2017 - 4/18/2017
TX        San Antonio            11411 Bandera Road, Suite 101                              78250        3/24/2017 - 4/18/2017
TX        San Marcos             401 N. Lyndon B. Johnson                                   78666        3/24/2017 - 4/18/2017
TX        San Marcos             1020 Centerpoint Road, Suite 112                           78666        3/27/2017 - 4/18/2017
TX        Selma                  14540 Forum Parkway                                        78154        3/25/2017 - 4/18/2017
TX        Sherman                875 Northcreek Dr.                                         75090        3/25/2017 - 4/18/2017
TX        Southlake              3010 E. SOUTHLAKE BLVD                                     76092        3/24/2017 - 4/18/2017
TX        Southlake              2310 West Southlake Blvd, Ste 180                          76092        3/26/2017 - 4/18/2017



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  State               City                               Street Address                    Zip Code   Affected Time Period
TX        Spring               1600 Louetta Road, Ste A                                  77388        3/26/2017 - 4/18/2017
TX        Sugarland            2280 Lone Star Drive                                      77479        3/24/2017 - 4/18/2017
TX        Sugarland            19832 Southwest Fwy                                       77479        3/26/2017 - 4/18/2017
TX        Temple               3550 South General Bruce Dr., Bldg D, Suite 126           76504        3/25/2017 - 4/18/2017
TX        Texarkana            2502 Richmond Road                                        75503        3/27/2017 - 4/18/2017
TX        Tomball              14067 FM 2920 Road                                        77377        3/27/2017 - 4/18/2017
TX        Tyler                4751 South Broadway Ave                                   75703        3/26/2017 - 4/18/2017
TX        Victoria             7002 N. Navarro Road, Ste 100                             77904        3/27/2017 - 4/18/2017
TX        Waco                 721 S 4th Street                                          76706         4/3/2017 - 4/18/2017
TX        Waco                 1115 North Valley Mills Dr                                76710        3/25/2017 - 4/18/2017
TX        Watauga              7604 Denton Highway                                       76148        3/24/2017 - 4/18/2017
TX        Waxahachie           1440 N. Highway 77, Suite 10                              75165        3/27/2017 - 4/18/2017
TX        Weatherford          106 E IH 20                                               76086        3/27/2017 - 4/18/2017
TX        Webster              304 West Bay Area Blvd                                    77598        3/24/2017 - 4/18/2017
TX        Weslaco              1919 W US Expressway 83, 100                              78596        3/27/2017 - 4/18/2017
TX        Wichita Falls        3910 Wayne Ave, Ste 100                                   76308        3/26/2017 - 4/18/2017
TX        Woodlands            9595 Six Pines Drive Suite 1080                           77380        3/24/2017 - 4/18/2017
UT        American Fork        232 NW State Road, Ste 102                                84003        3/27/2017 - 4/18/2017
UT        Bountiful            135 North 500 West, Suite A                               84087        3/25/2017 - 4/18/2017
UT        Cottonwood Heights   6924 South Park Centre Drive                              84121        3/25/2017 - 4/18/2017
UT        Farmington           1026 West Park Lane                                       84025        3/27/2017 - 4/18/2017
UT        Layton               1035 West Antelope Drive, Unit 2                          84041        3/27/2017 - 4/18/2017
UT        Lehi                 3601 North Digital Drive, Suite 202                       84043        4/11/2017 - 4/18/2017
UT        Murray               5141 South State St.                                      84107        3/27/2017 - 4/18/2017
UT        Orem                 715 E. University Parkway                                 84097        3/27/2017 - 4/18/2017
UT        Saint George         231 Red Cliffs Dr., 22                                    84790         3/27/2017 - 4/8/2017
UT        Salt Lake City       10387 South State St., Ste A                              84070        3/28/2017 - 4/18/2017
UT        Salt Lake City       1011 East 2100 South                                      84106        3/25/2017 - 4/18/2017
VA        Alexandria           6770 Richmond Highway                                     22306        3/24/2017 - 4/18/2017
VA        Alexandria           6242 Little River Turnpike, Suite A                       22312        3/27/2017 - 4/18/2017
VA        Alexandria           601 KING STREET                                           22314        3/24/2017 - 4/18/2017
VA        Alexandria           5955 Kingstowne Center #160                               22315        3/25/2017 - 4/18/2017
VA        Alexandria           4531 Duke Street                                          22304        3/25/2017 - 4/18/2017
VA        Alexandria           3425 Jefferson Davis Highway, Suite B                     22305        3/26/2017 - 4/18/2017
VA        Arlington            4520 Lee Highway                                          22207        3/26/2017 - 4/18/2017
VA        Arlington            2231 CRYSTAL DRIVE #100                                   22202        3/25/2017 - 4/18/2017
VA        Arlington            1100 S. Hayes St.                                         22202        3/26/2017 - 4/18/2017
VA        Arlington            1002 S Glebe Road                                         22204        3/27/2017 - 4/18/2017
VA        Ashburn              43660 Yukon Drive                                         20147        3/24/2017 - 4/18/2017



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VA       Ashburn              19825 Belmont Chase Drive, 130                           20147        3/27/2017 - 4/13/2017
VA       Ballston             4300 Wilson Blvd. Suite 100                              22203        3/24/2017 - 4/18/2017
VA       Blacksburg           868 Prices Fork Road                                     24060         3/27/2017 - 4/8/2017
VA       Blacksburg           314 North Main Street                                    24060        3/26/2017 - 4/18/2017
VA       Bristow              10303 Bristow Center Drive                               20136        3/27/2017 - 4/18/2017
VA       Burke                5747 Burke Centre Parkway                                22015        3/24/2017 - 4/18/2017
VA       Centreville          6317A Multiplex Drive                                    20121        3/25/2017 - 4/18/2017
VA       Centreville          5049 Westfields Blvd                                     20120        3/25/2017 - 4/18/2017
VA       Chantilly            14416 Chantilly Crossing Lane                            20151        3/25/2017 - 4/18/2017
VA       Charlottesville      953 N. Emmet Street                                      22903        3/24/2017 - 4/18/2017
VA       Charlottesville      2040 Abbey Rd. Suite 101                                 22911         3/27/2017 - 4/8/2017
VA       Chesapeake           836 Eden Way North, Ste 147                              23320        3/26/2017 - 4/18/2017
VA       Chester              2423 W. Hundred Road                                     23831        3/26/2017 - 4/18/2017
VA       Colonial Heights     1901 Southpark Blvd                                      23834        3/26/2017 - 4/18/2017
VA       Culpeper             15335 Creativity Dr                                      22701        3/26/2017 - 4/18/2017
VA       Dulles               Washington Dulles Airport, Concourse B, Gate 52          20166        3/25/2017 - 4/18/2017
VA       Fairfax              9506 Main Street, Store No 22B                           22031        3/27/2017 - 4/18/2017
VA       Fairfax              13042 Fair Lakes Shopping Center                         22033        3/25/2017 - 4/18/2017
VA       Fairfax              11939 GRAND COMMONS AVE                                  22030        3/25/2017 - 4/18/2017
VA       Fairfax              11062 Lee Highway                                        22030        3/25/2017 - 4/18/2017
VA       Falls Church         8201 Strawberry Lane                                     22042        3/24/2017 - 4/18/2017
VA       Falls Church         6299 Seven Corners Center                                22044        3/25/2017 - 4/18/2017
VA       Falls Church         358 West Broad Street                                    22046        3/26/2017 - 4/18/2017
VA       Falls Church         3556B Jefferson Street                                   22041        3/27/2017 - 4/18/2017
VA       Fredericksburg       5420 Southpoint Plaza Way                                22407        3/24/2017 - 4/18/2017
VA       Fredericksburg       3051 Plank Rd. Fredericksburg                            22401        3/25/2017 - 4/18/2017
VA       Fredericksburg       28 South Gateway Drive, 109                              22406        3/27/2017 - 4/18/2017
VA       Fredericksburg       1601 Jefferson Davis Highway                             22401        3/27/2017 - 4/18/2017
VA       Gainesville          5025 Wellington Road                                     20155        3/28/2017 - 4/18/2017
VA       Glen Allen           1070 Virginia Center Parkway                             23059        3/24/2017 - 4/18/2017
VA       Glen Allen           10501 W. Broad Street                                    23060        3/24/2017 - 4/18/2017
VA       Hampton              3510 Von Schilling Dr                                    23666        3/25/2017 - 4/18/2017
VA       Harrisonburg         1615 Reservoir Street                                    22801        3/25/2017 - 4/18/2017
VA       Herndon              13354 Franklin Farm Road                                 20171        3/25/2017 - 4/18/2017
VA       Herndon              1144 Elden St                                            20170        3/24/2017 - 4/18/2017
VA       Leesburg             1001 Edwards Ferry Road NE                               20176        3/27/2017 - 4/18/2017
VA       Lorton               9447 Lorton Market St                                    22079          4/3/2017 - 4/8/2017
VA       Lynchburg            4010 Wards Road, Suite A                                 24502        3/26/2017 - 4/18/2017
VA       Manassas             9511 Liberia Ave                                         20111        3/24/2017 - 4/18/2017



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VA       Manassas             7311 Sudley Road                                        20109        3/24/2017 - 4/18/2017
VA       Mclean               7923 L Tysons Corner Center                             22102        3/26/2017 - 4/18/2017
VA       Mclean               6707 Old Dominion Drive                                 22101        3/26/2017 - 4/18/2017
VA       Midlothian           13300 Rittenhouse Drive^                                23113        3/25/2017 - 4/13/2017
VA       Newport News         12300 Jefferson Ave, Suite 200                          23602        3/25/2017 - 4/18/2017
VA       Norfolk              1501 Colley Avenue                                      23517        3/27/2017 - 4/18/2017
VA       Norfolk              1087 North Military Hwy., 100                           23502        3/27/2017 - 4/18/2017
VA       Oakton               2946 Chain Bridge Road*                                 22124        3/27/2017 - 4/18/2017
VA       Reston               12150 Sunset Hills Rd                                   20190        3/25/2017 - 4/18/2017
VA       Reston               11913 Freedom Drive, Suite 35                           20190        3/25/2017 - 4/18/2017
VA       Reston               11160 G2 South Lakes Drive                              20191        3/26/2017 - 4/13/2017
VA       Richmond             Short Pump Town Center 11728 West Broad St.             23233        3/24/2017 - 4/18/2017
VA       Richmond             9200 Stony Point Parkway, Space 146                     23235        3/25/2017 - 4/18/2017
VA       Richmond             8955 Staples Mill Road                                  23228        3/26/2017 - 4/18/2017
VA       Richmond             810 West Grace Street                                   23220        3/25/2017 - 4/18/2017
VA       Richmond             7106 Midlothian Turnpike, Suite A                       23225        3/26/2017 - 4/18/2017
VA       Richmond             7000 Forest Ave, Suite 900                              23230        3/27/2017 - 4/18/2017
VA       Richmond             4930 W Broad Street                                     23230        3/24/2017 - 4/18/2017
VA       Richmond             11440 Midlothian Turnpike Suite F                       23235        3/28/2017 - 4/18/2017
VA       Richmond             10 N Nansemond St., Tenant D                            23221        3/26/2017 - 4/18/2017
VA       Roanoke              2011 Colonial Ave SW                                    24015        3/26/2017 - 4/18/2017
VA       Rosslyn              1735 N. LYNN STREET UNIT 15                             22209        3/24/2017 - 4/18/2017
VA       Springfield          8066 Rolling Rd #9                                      22153        3/26/2017 - 4/18/2017
VA       Springfield          7108 Old Keene Mill Road                                22150        3/24/2017 - 4/18/2017
VA       Springfield          6500 Springfield Mall, Ste 6741                         22150        3/27/2017 - 4/18/2017
VA       Stafford             100 Prosperity Lane, Suite 101                          22556        3/27/2017 - 4/18/2017
VA       Sterling             21031 Tripleseven Rd, Suite 190                         20165        3/24/2017 - 4/18/2017
VA       Suffolk              6216 College Drive, Suite 101                           23435        3/26/2017 - 4/18/2017
VA       Vienna               213 Maple Avenue East^                                  22108        3/24/2017 - 4/13/2017
VA       Vienna               8461 Leesburg Pike, Suite A                             22182        3/26/2017 - 4/18/2017
VA       Virginia Beach       3380 Princess Anne Rd., 115                             23456        3/27/2017 - 4/18/2017
VA       Virginia Beach       300 Constitution Drive, Suite 103                       23462        3/24/2017 - 4/18/2017
VA       Virginia Beach       2701 N. Mall Dr, Suite 108                              23452        3/25/2017 - 4/18/2017
VA       Virginia Beach       2137 Upton Drive, Ste 328, 2002                         23454        3/27/2017 - 4/18/2017
VA       Virginia Beach       1724 Laskin Road                                        23451        3/27/2017 - 4/18/2017
VA       Warrenton            251 W. Lee Highway, Suite 243                           20186        3/26/2017 - 4/18/2017
VA       Williamsburg         1413 Richmond Rd.                                       23187        3/26/2017 - 4/18/2017
VA       Winchester           2012 Pleasant Valley Road                               22601        3/24/2017 - 4/18/2017
VA       Woodbridge           4269 Merchant Plaza                                     22192        3/26/2017 - 4/18/2017



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 State              City                                Street Address                    Zip Code   Affected Time Period
VA       Woodbridge           2457 Prince William Parkway                               22192        3/25/2017 - 4/18/2017
VA       Woodbridge           1926 Daniel Stuart Square                                 22191         4/6/2017 - 4/18/2017
VT       Burlington           580 Shelburne Street Ste 14B                              5401         3/26/2017 - 4/18/2017
WA       Bellevue             800 156th Ave NE                                          98008        3/25/2017 - 4/18/2017
WA       Bellevue             4000 Factoria Blvd SE                                     98006        3/27/2017 - 4/18/2017
WA       Bellevue             10503 NE 4th St. Unit 200                                 98004        3/25/2017 - 4/18/2017
WA       Bellingham           4 Bellis Fair Parkway                                     98226        3/25/2017 - 4/18/2017
WA       Burlington           1753 S. Burlington Blvd., Ste 106                         98233        3/25/2017 - 4/18/2017
WA       Everett              515 SE Everett Mall Way, Suite B                          98208        3/27/2017 - 4/18/2017
WA       Federal Way          31827 Pacific Hwy. South, Suite A                         98001        3/25/2017 - 4/18/2017
WA       Issaquah             775 NW Gilman Blvd. Suite A                               98027        3/25/2017 - 4/18/2017
WA       Kennewick            1102 N Columbia Center Blvd., Ste 102                     99336        3/27/2017 - 4/18/2017
WA       Kent                 512 Ramsay Way, Suite 101                                 98031        3/25/2017 - 4/18/2017
WA       Lacey                1177 Marvin Rd. NE                                        98516        3/27/2017 - 4/18/2017
WA       Lynnwood             4120 196th Street SW, Suite 150                           98036        3/24/2017 - 4/18/2017
WA       Lynnwood             3000 184th Street SW, Suite 850                           98037        3/25/2017 - 4/18/2017
WA       Olympia              625 Black Lake Blvd, Suite J-22                           98501        3/28/2017 - 4/18/2017
WA       Puyallup             12011 Meridian Ave. E                                     98373        3/25/2017 - 4/18/2017
WA       Redmond              17875 Redmond Way, Suite 170                              98052        3/25/2017 - 4/18/2017
WA       Renton               439 Rainier Ave. South, Suite B                           98057        3/25/2017 - 4/18/2017
WA       Sammamish            22704 SE 4th St, Suite 210                                98074        4/11/2017 - 4/18/2017
WA       Seattle              4730 California Ave SW, Suite A                           98116        3/27/2017 - 4/18/2017
WA       Seattle              4229 University Ave Way, NE                               98105        3/25/2017 - 4/18/2017
WA       Seattle              401 NE Northgate Way, Suite 1119                          98125        3/25/2017 - 4/18/2017
WA       Seattle              2626 NE 46th St.                                          98105        3/27/2017 - 4/18/2017
WA       Seattle              212 Westlake Ave N., Suite 101                            98109        3/25/2017 - 4/18/2017
WA       Seattle              1501 4th Ave., Ste 114                                    98101        3/25/2017 - 4/18/2017
WA       Seattle              1415 Broadway                                             98122        3/25/2017 - 4/18/2017
WA       Silverdale           11065 Pacific Crest Place NW, Suite B100                  98383        3/27/2017 - 4/18/2017
WA       Spokane              930 N. Division Street                                    99202        3/25/2017 - 4/18/2017
WA       Tacoma               4502 South Steele Street, #159                            98409        3/25/2017 - 4/18/2017
WA       Tukwila              633 Southcenter Mall, Ste 2600                            98188        3/25/2017 - 4/18/2017
WA       Tukwila              17250 Southcenter Pkwy., #108                             98188        3/25/2017 - 4/18/2017
WA       Vancouver            915 SE 164th Ave.                                         98683        3/25/2017 - 4/18/2017
WA       Vancouver            7715 NE 5th Ave., 109                                     98665        3/27/2017 - 4/18/2017
WA       Vancouver            4311 NE Thurston Way, Suite 200                           98662        3/27/2017 - 4/18/2017
WA       Vancouver            11600 S.E. Mill Plain Blvd, Ste 3A                        98684        3/27/2017 - 4/18/2017
WA       Woodinville          13780 NE 175th St., Ste 104                               98072        3/25/2017 - 4/18/2017
WA       Yakima               1905 South First Street, Ste 102                          98903        3/27/2017 - 4/18/2017



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 State               City                             Street Address                     Zip Code   Affected Time Period
WI       Appleton            W 3198 County Road KK, Suite A                            54915        3/27/2017 - 4/18/2017
WI       Ashwaubenon         2388 South Oneida Street, #300                            54304        3/26/2017 - 4/18/2017
WI       Brookfield          3705 N 124th Street, Ste 200                              53005        3/25/2017 - 4/18/2017
WI       Brookfield          15375 Bluemound Road Suite 170                            53005        3/25/2017 - 4/18/2017
WI       Eau Claire          4738 Golf Road                                            54701        3/26/2017 - 4/18/2017
WI       Grand Chute         111 North Mall Drive                                      54913        3/24/2017 - 4/18/2017
WI       Hales Corners       5792 South 108th Street                                   53130        3/25/2017 - 4/18/2017
WI       Hudson              1021 Pearson Drive                                        54016        3/25/2017 - 4/18/2017
WI       Janesville          3515 Milton Avenue, Suite 105                             53545        3/27/2017 - 4/18/2017
WI       Madison             658 State Street.                                         53703        3/25/2017 - 4/18/2017
WI       Madison             4628 East Washington Avenue                               53704        3/28/2017 - 4/18/2017
WI       Menomonee Falls     W176 N9360 Rivercrest Drive                               53051        3/27/2017 - 4/18/2017
WI       Middleton           8422 Old Sauk Rd                                          53562        3/25/2017 - 4/18/2017
WI       Milwaukee           600 E Ogden Ave.                                          53202        3/25/2017 - 4/18/2017
WI       Milwaukee           3232 South 27th Street                                    53215        3/25/2017 - 4/18/2017
WI       Pleasant Prairie    9370 B 76th Street                                        53158        3/27/2017 - 4/18/2017
WI       Racine              5720 Washington Ave.                                      53406        3/24/2017 - 4/18/2017
WI       Shorewood Hills     4000 University Avenue                                    53705        3/26/2017 - 4/18/2017
WI       Wauwatosa           2711A North Mayfair Road                                  53226         4/2/2017 - 4/18/2017
WV       Barboursville       18 East Mall Road                                         25504        3/27/2017 - 4/18/2017
WV       Charleston          2811 Mountaineer Blvd.                                    25309        3/27/2017 - 4/18/2017
WV       Huntington          2151 5th Ave                                              25703        3/26/2017 - 4/18/2017
WV       Martinsburg         927 Foxcroft Ave.                                         25401        3/27/2017 - 4/18/2017
WV       Morgantown          17 Chaplin Road                                           26501        3/27/2017 - 4/18/2017
WY       Casper              4910 East 2nd St.                                         82609         4/3/2017 - 4/8/2017
WY       Cheyenne            1508 Del Range Blvd.                                      82009        3/25/2017 - 4/18/2017




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                                                List of Affected Pizzeria Locale Stores

  State               City                         Street Address                       Zip Code   Affected Time Period
CO        Denver               550 Broadway St                                        80203         3/27/2017 - 4/8/2017
CO        Denver               3484 W 32nd Ave.                                       80211        3/27/2017 - 4/18/2017
KS        Overland Park        6455 W 135th St                                        66223        3/27/2017 - 4/18/2017
KS        Overland Park        11875 W. 95th St.                                      66214        3/27/2017 - 4/18/2017
MO        Kansas City          505 W 75th Street                                      64114        3/27/2017 - 4/18/2017
OH        Cincinnati           7800 Montgomery Rd                                     45236        3/27/2017 - 4/18/2017
OH        Mason                9540 Mason Montgomery Rd                               45040         4/3/2017 - 4/18/2017




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